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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


 ROLLIE BUCHANAN, DAVIN
 CARD, KIM AND FRED MARTIN                    Case No. 2:22-cv-02227-KM-JSA
 FERGUSON, KEVIN FLYNN,
 PHILIPPE GEYSKENS, ROBERT                    FIRST AMENDED CLASS ACTION
                                              COMPLAINT
 HOFFMAN, ERIC and MARIELA
 KOTOUN, ARTHUR KRICHEVSKY,                   JURY TRIAL DEMANDED
 ELSIE SAKS, STEVEN SALHANICK,
 MARK SILBER, ROBERT and TONI
 TUBBE, DONNA URBEN,
 CHRISTOPHER and MELISSA
 JOHNSON, and KIMBERLY
 MADEJA, individually and on behalf of
 all others similarly situated,

                     Plaintiffs,

              v.

 Volvo Car USA, LLC, Volvo Cars of
 North America, LLC, and Volvo
 Personvagnar AB, et al.,

                     Defendants.



                                   INTRODUCTION
      1.     Plaintiffs Rollie Buchanan, Davin Card, Kim and Fred Martin

Ferguson, Kevin Flynn, Philippe Geyskens, Robert Hoffman, Eric and Mariela

Kotoun, Arthur Krichevsky, Elsie Saks, Steven Salhanick, Mark Silber, Robert and

Toni Tubbe, Donna Urben, Christopher and Melissa Johnson, and Kimberly Madeja

(“Plaintiffs”) bring this action for themselves and on behalf of all similarly situated

persons ("Class Members") in the United States who purchased or leased any 2013-
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2016 Volvo vehicle equipped with 2.0L 4-cylinder or 2.5L 5-cylinder engines
(“Class Vehicles”) against Volvo Car USA, LLC (“VCUSA”), Volvo Cars of North

America, LLC (“VCNA”), and Volvo Personvagnar AB (“Volvo AB”) (collectively

"Volvo" or "Defendants"). The allegations herein are based on personal knowledge
as to Plaintiffs' own experiences and are made as to other matters based on an

investigation by counsel, including analysis of publicly available information.

      2.     This is a consumer class action concerning a failure to disclose material
facts and a safety concern to consumers.

      3.     Defendant Volvo AB designed and manufactured the Class Vehicles,

Defendant VCUSA imported, manufactured, distributed and marketed the Class

Vehicles, and Defendant VCNA imported, distributed, warranted, marketed, and

sold the Class Vehicles through its extensive network of authorized dealerships in

the United States. Defendant VCNA also provides service and maintenance for the
Class Vehicle at dealers and service providers nationwide, and trains dealers and

services providers, using information provided by Volvo AB.

      4.     Defendants sold, directly or indirectly, through their agent dealers and

other retail outlets, the Class Vehicles throughout the United States, without

disclosing that the Class Vehicles were equipped with defective 2.0L 4-cylinder or

2.5L 5-cylinders engines (“Subject Engines”).

      5.     Volvo wrongfully and intentionally concealed a defect in the design,

manufacture, and/or workmanship of the piston rings and/or pistons/piston heads in

the Subject Engines. Here, the piston rings cannot properly clear engine oil off the

side of the cylinder wall during the downstroke and instead push that oil up where it
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can coat the top of the piston head, enter the combustion chamber, and ignite (“Piston
Defect” or “Defect”). Specifically, the oil control ring, the lowest ring on the piston,

is defective and does not properly allow the oil from the cylinder wall to drain. Over

time, this continual burning of oil damages the piston rings and piston heads,
allowing even more oil to ignite, further destroying the piston head, the cylinder

head and other engine components. It also causes the vehicle to lose power, both

incrementally over time and catastrophically at one time, because some of the
oxygen usually ignited in the combustion chamber which powers the vehicle is being

used to burn the excess oil in the cylinder, and as the piston head and cylinder head

become damaged, power generated by the combustion is dissipated rather than being

used to spin the crankshaft to power the vehicle.

      6.     The Piston Defect causes the engine to consume an excessive amount

of oil because the pistons are pushing oil from the cylinder up into the combustion
chamber. It also causes the pistons and the engine itself to fail because the pistons

and other engine components that require oil to minimize friction are not adequately

lubricated. The Piston Defect also results in the shrapnel of the fragments of the

piston rings, as they degrade, and/or minute fragments of the piston head, to circulate

throughout the engine, damaging other engine components. For example, cylinder

scoring, which results in even more oil loss, is a frequent result of the Piston Defect.

As a result of the Piston Defect, Plaintiffs and Class Members incur out of pocket

costs to repair or replace the damaged engine parts or their entire engine. A

replacement of the piston rings and/or pistons costs thousands of dollars, and the

cost for replacing a Subject Engine is well over $10,000.
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      7.     The Piston Defect in the Subject Engines also presents a safety risk for
Plaintiffs and Class Members, because when a piston or pistons suddenly and

unexpectedly fail, the Class Vehicles immediately lose engine power. A sudden loss

of power poses a clear-cut safety risk - it can prevent the driver from accelerating,
maintaining speed, engaging the brakes and even adequately controlling the steering

wheel, all of which drastically increase the risk of collisions, and puts other drivers,

passengers and pedestrians in danger.
      8.     The Piston Defect also causes substantial damage. In addition to

destroying critical engine components, it causes further damage throughout the

powertrain of the Class Vehicles as shards of the pistons, piston heads and/or piston

rings are circulating throughout the engine and fuel system.

      9.     By way of explanation, in internal combustion engines, the piston is a

fast-moving metal component contained within a cylinder. Piston rings attached at
the piston head make the piston gas-tight. A piston's purpose is to transfer force from

expanding gas in the cylinder to the crankshaft via a piston rod and/or connecting

rod. In most, if not all, mass produced internal combustion car engines, the intake,

compression, combustion and exhaust processes take place above the piston in the

cylinder head, which forces the piston to move up and down within the cylinder,

thereby causing the crankshaft to turn. The piston is subjected to tremendous forces

and heat during normal engine operation.

      10.    Specifically, the piston rings and/or piston heads in the Class Vehicles'

Subject Engines are defective in that they cause excessive oil consumption and

crack, fracture, or splinter. The damage to the pistons causes immediate loss of
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compression within the engine cylinder and causes the remnants of the pistons to
circulate throughout the fuel system of the Class Vehicles. These failures often occur

before the engine reaches 75,000 miles, resulting in a lifespan well short of the class

members' expectations and the industry standard for similar engines. In fact, the
Subject Engines were designed to reach a minimum of 200,000 miles of use with

proper maintenance. As such, the integral engine components such as the piston

rings and piston heads, are designed and expected to last the lifetime of the engine.
      11.    The Piston Defect is inherent in each Class Vehicle and was present at

the time of sale.

      12.    Volvo undertook affirmative measures to conceal the Piston Defect

through, among other things, Technical Journals ("TJs") that VCNA issued to its

authorized repair facilities (but not to the class members themselves).

      13.    Volvo was sufficiently aware of the Piston Defect from: pre-production
testing; design failure mode analysis; aggregate purchases of replacement piston

rings, pistons, and engines; class member calls to its customer service hotline; and

customer complaints made directly to its agent dealers. However, this knowledge

and information was exclusively in the possession of Volvo and its network of

dealers who are Defendants' agents for repairs and, therefore, unavailable to

consumers.

      14.    The Piston Defect is material because it poses a serious safety concern.

As attested by Class Members in scores of complaints to the National Highway

Traffic Safety Administration (“NHTSA”), and other online forums, the Piston

Defect can impair any driver's ability to control his or her vehicle and greatly
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increase the risk of collision, and puts other drivers, passengers and pedestrians in
danger.

      15.    The Piston Defect is also material because consumers incur significant

and unexpected repair costs. Volvo’s failure to disclose, at the time of purchase, the
pistons' marked tendency to fail is material because no reasonable consumer expects

to spend hundreds, if not thousands, of dollars to repair or replace essential engine

components expected to last much longer than 75,000 miles of use.
      16.    Had Volvo disclosed the Piston Defect, Plaintiffs and Class Members

would not have purchased the Class Vehicles or would have paid less for them.

                                     PARTIES
Plaintiff Rollie Buchanan
      17.    Plaintiff Rollie Buchanan is a citizen of New York, domiciled in

Jamaica, New York.

      18.    On or about November 15, 2018, Plaintiff Buchanan purchased a

certified pre-owned 2015 Volvo S60 equipped with a 2.0L 4-cylinder engine with

engine code B4204T12 with approximately 34,500 miles on the odometer from Karp

Volvo Cars, an authorized Volvo dealership located in Rockville Centre, New York.

      19.    Plaintiff Buchanan purchased his vehicle primarily for personal, family,

or household use.

      20.    Passenger safety and reliability were important factors in Plaintiff

Buchanan’s decision to purchase his vehicle.        Before purchasing the vehicle,


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Plaintiff Buchanan conducted general research including on the CarMax and Kelly

Blue Book websites, viewed dealer advertisements and the dealership’s website,

reviewed the Monroney sticker (the “window sticker”) which listed the 2.0L engine

as a component, reviewed the sales documentation including a CarFax report, and

spoke to the authorized salesperson at the dealership. Plaintiff Buchanan also took

the vehicle for a test drive. Plaintiff Buchanan selected and ultimately purchased his

Class Vehicle because the vehicle was represented to be, and was marketed as, a

high-quality vehicle capable of providing safe, reliable transportation. The purchase

was made in part on the advertised safety, reliability, and quality of the vehicle and

its components, including its engine.

      21.    None of the information provided to Plaintiff Buchanan disclosed any

defects in the vehicle or its engine. Volvo’s omissions were material to Plaintiff

Buchanan.

      22.    Had Volvo disclosed its knowledge of the Piston Defect before he

purchased his vehicle, Plaintiff Buchanan would have seen and been aware of the

disclosures. Indeed, Volvo’s misstatements and omissions were material to Plaintiff

Buchanan. Like all members of the Class, Plaintiff Buchanan would not have

purchased his Class Vehicle, or would have paid less for the vehicle, had he known

of the Piston Defect.




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      23.    In addition, at the time of Plaintiff Buchanan’s vehicle purchase, and in

purchasing his vehicle, he relied upon Volvo and its authorized dealerships’

representations which he heard from the salesperson and in advertisements, that the

vehicle was fully functional, safe, durable, reliable, and that the engine operated

correctly and effectively. Plaintiff Buchanan relied on those representations and the

omission of, or failure to disclose, the Piston Defect, in purchasing the vehicle, and

absent those representations and omissions, would not have purchased the vehicle,

or would have paid less for it.

      24.    At the time of his purchase, Plaintiff Buchanan received from Volvo

several warranties, including: (1) the remainder of the bumper-to-bumper limited

warranty lasting for four years or 50,000 miles, whichever occurred first; and (2) a

limited certified pre-owned warranty lasting seven years or 100,000 miles,

whichever occurred first.

      25.    At all times during his possession of the vehicle, Plaintiff Buchanan has

properly maintained and serviced his Class Vehicle according to Volvo’s

recommended maintenance guidelines.

      26.    In the summer of 2020, Plaintiff Buchanan first observed the low oil

light illuminating in his vehicle. He began to add oil as needed and indicated by the

vehicle.




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      27.    In November 2020, Plaintiff Buchanan brought his vehicle to McGuire

Volvo Cars, an authorized Volvo dealership located in Ithaca, New York. The

dealership completed the 50,000 miles service on the vehicle at that time.

      28.    In the summer of 2021, the low oil light began to illuminate in his

vehicle again frequently. While helping his brother purchase a car from CarMax,

Plaintiff Buchanan was informed that his vehicle and others like it had an oil

consumption problem.

      29.    On or about September 23, 2021, Plaintiff Buchanan called Volvo Cars

of North America (“VCNA”) to complain about the Piston Defect in his vehicle.

VCNA arranged for his vehicle to be inspected at McGuire Volvo.

      30.    Soon after, Plaintiff Buchanan brought his vehicle to McGuire Volvo.

At the time, his vehicle had approximately 60,900 miles on the odometer. Plaintiff

Buchanan specifically requested an oil consumption test, per his conversation with

the VCNA representative. He was instead only given a quote for an oil consumption

test and told to make an appointment for a test.

      31.    Plaintiff Buchanan returned his vehicle to the dealership approximately

a week later in October 2021 for the oil consumption test and additional service on

his vehicle. Instead, the dealership claimed that they had no knowledge of an oil

consumption test. Plaintiff Buchanan allowed the dealership to perform some




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 service on the vehicle, but did not authorize any engine work. Despite that, the

 dealership changed the oil in his vehicle without his consent.

       32.    Plaintiff Buchanan’s vehicle continues to experience the Piston Defect

 and he has not received a repair to his vehicle despite requesting the repair within

 the time limitations of his certified pre-owned warranty.

       33.    To date, Plaintiff Buchanan’s vehicle remains subject to the Piston

 Defect and he puts a quart of oil into the car every 300 to 400 miles driven.

       34.    As a result of the Piston Defect, Plaintiff Buchanan has lost confidence

 in the ability of his Class Vehicle to provide safe and reliable transportation for

 ordinary and advertised purposes. Further, Plaintiff Buchanan will be unable to rely

 on Volvo’s advertising or labeling in the future, and so will not purchase or lease

 another vehicle from Volvo in the future, though he would like to do so.

       35.    At all times, Plaintiff Buchanan, like other class members, has

 attempted to drive his vehicle in a manner that was both foreseeable and in which it

 was intended to be used. At all times, he has not abused his vehicle or used it for

 purposes unintended by Volvo such as drag racing, for example. The Piston Defect

 has rendered his vehicle unsafe and unfit to be used as Volvo intended.


 Plaintiff Davin Card

       36.    Plaintiff Davin Card is a citizen of New York, domiciled in

 Schenectady, New York.

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         37.   On or about May 10, 2019, Plaintiff Card purchased a used 2016 XC90
 equipped with a 2.0L 4-cylinder engine with engine code B4204T27 with

 approximately 71,467 miles on the odometer from Mercedes Benz of Lancaster, a

 dealership located in East Petersburg, Pennsylvania.
         38.   Plaintiff Card purchased his vehicle primarily for personal, family, or

 household use.

         39.   Passenger safety and reliability were important factors in Plaintiff
 Card’s decision to purchase his vehicle. Before purchasing the vehicle, Plaintiff

 Card conducted general research including on the Kelly Blue Book website,

 reviewed dealer advertisements and the dealership’s website, reviewed the

 Monroney sticker (the “window sticker”) which listed the 2.0L engine as a

 component, reviewed the sales documentation including a CarFax report, and spoke

 to the authorized salesperson at the dealership. Plaintiff Card also took the vehicle
 for a test drive. Plaintiff Card selected and ultimately purchased his Class Vehicle

 because the vehicle was represented to be, and was marketed as, a high-quality

 vehicle capable of providing safe, reliable transportation. The purchase was made

 in part on the advertised safety, reliability, and quality of the vehicle and its

 components, including its engine.

         40.   None of the information provided to Plaintiff Card disclosed any

 defects in the vehicle or its engine. Volvo’s omissions were material to Plaintiff

 Card.

         41.   Had Volvo disclosed its knowledge of the Piston Defect before he

 purchased his vehicle, Plaintiff Card would have seen and been aware of the
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 disclosures. Indeed, Volvo’s misstatements and omissions were material to Plaintiff
 Card. Like all members of the Class, Plaintiff Card would not have purchased his

 Class Vehicle, or would have paid less for the vehicle, had he known of the Piston

 Defect.
       42.    In addition, at the time of Plaintiff Card’s vehicle purchase, and in

 purchasing his vehicle, he relied upon Volvo’s communications including the

 window sticker that the vehicle was fully functional, safe, durable, reliable, and that
 the engine operated correctly and effectively.       Plaintiff Card relied on those

 representations and the omission of, or failure to disclose, the Piston Defect, in

 purchasing the vehicle, and absent those representations and omissions, would not

 have purchased the vehicle, or would have paid less for it.

       43.    At all times during his possession of the vehicle, Plaintiff Card has

 properly maintained and serviced his Class Vehicle according to Volvo’s
 recommended maintenance guidelines.

       44.    When the vehicle had approximately 85,000 miles on the odometer, in

 2020, the low oil light illuminated in Plaintiff Card’s vehicle. Shortly thereafter, on

 or about March 2, 2020, he took the vehicle to Capital Volvo, an authorized Volvo

 dealership located in Albany, New York.         The dealership recommended an oil

 consumption test.

       45.    The dealership performed an oil consumption test, by changing the oil

 in Plaintiff Card’s vehicle and directing to him return after 1,000 were driven.

 Plaintiff Card returned after driving 1,000 miles, on approximately December 15,

 2020. At that time, the dealership informed him that his vehicle was consuming oil
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 and a piston ring replacement was needed, costing over $5,000. He was also charged
 a diagnostic fee of $300.

       46.    Plaintiff Card asked for the dealership or Volvo to cover the repair cost,

 due to the fact that this was a known issue with a repair designed by Volvo. He was
 first asked to provide proof that his vehicle had been serviced regularly, because he

 had gotten a single oil change at an independent shop. Plaintiff Card promptly

 provided this proof, but had to wait over a month before he received a response from
 the dealership.

       47.    After months of working with the dealership to have Volvo cover the

 repair, Plaintiff Card eventually reached out to VCNA directly to request coverage

 for the repair via email or about June 1, 2021. By that time, the vehicle had been

 sitting at Capital Volvo for approximately six weeks.

       48.    On June 3, 2021, VCNA informed Plaintiff Card that it would cover
 half the cost of the repair. Plaintiff Card requested more coverage, because this was

 a known issue to Volvo and because he had been a twenty-year customer of Volvo

 cars. VCNA denied his request shortly thereafter.

       49.    Plaintiff Card ultimately was charged approximately $3,200 for the

 piston ring replacement in his vehicle.

       50.    To date, Plaintiff Card’s vehicle remains subject to the Piston Defect

 and the damage the Defect had done to his vehicle.

       51.    As a result of the Piston Defect, Plaintiff Card has lost confidence in

 the ability of his Class Vehicle to provide safe and reliable transportation for

 ordinary and advertised purposes. Further, Plaintiff Card will be unable to rely on
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 Volvo’s advertising or labeling in the future, and so will not purchase or lease
 another vehicle from Volvo in the future, though he would like to do so.

       52.   At all times, Plaintiff Card, like other class members, has attempted to

 drive his vehicle in a manner that was both foreseeable and in which it was intended
 to be used. At all times, he has not abused his vehicle or used it for purposes

 unintended by Volvo such as drag racing, for example. The Piston Defect has

 rendered his vehicle unsafe and unfit to be used as Volvo intended.

 Plaintiffs Kim and Fred Martin Ferguson

       53.   Plaintiffs Kim Ferguson and Fred Martin Ferguson (“Fergusons”) are

 citizens of South Carolina, domiciled in Chapin, South Carolina.

       54.   On or about March 20, 2015, Plaintiffs Fergusons purchased a New

 2015 Volvo XC60 equipped with a 2.0L 4-cylinder engine with engine code

 B4204T11 from Dick Dyer and Associates, an authorized Volvo dealership located

 in Columbia, South Carolina.
       55.   Plaintiffs Fergusons purchased their vehicle primarily for personal,

 family, or household use.

       56.   Passenger safety and reliability were important factors in Plaintiffs

 Fergusons’ decision to purchase their vehicle. Before purchasing the vehicle,

 Plaintiffs Fergusons reviewed Volvo commercials, researched the vehicle generally

 on Google, reviewed the Monroney sticker (the “window sticker”) which listed the

 2.0L engine as a component, visited the dealership’s and manufacturer’s website,

 and spoke to the authorized salesperson at the dealership. Plaintiffs Fergusons also


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 took the vehicle for a test ride.     Plaintiffs Fergusons selected and ultimately
 purchased their Class Vehicle because the vehicle was represented to be, and was

 marketed as, a high-quality vehicle capable of providing safe, reliable transportation.

 The purchase was made in part on the advertised safety, reliability, and quality of
 the vehicle and its components, including its engine.

       57.    None of the information provided to Plaintiffs Fergusons disclosed any

 defects in the vehicle or its engine. Volvo’s omissions were material to Plaintiffs
 Fergusons.

       58.    Had Volvo disclosed its knowledge of the Piston Defect before they

 purchased their vehicle, Plaintiffs Fergusons would have seen and been aware of the

 disclosures. Indeed, Volvo’s misstatements and omissions were material to Plaintiffs

 Fergusons. Like all members of the Class, Plaintiffs Fergusons would not have

 purchased their Class Vehicle, or would have paid less for the vehicle, had they
 known of the Piston Defect.

       59.    In addition, at the time of Plaintiffs Fergusons’ vehicle purchase, and

 in purchasing their vehicle, they relied upon Volvo and its authorized dealerships’

 representations, dealership website, commercials, heard from the salesperson, and

 reviewed on the Monroney sticker, that the vehicle was fully functional, safe,

 durable, reliable, and that the engine operated correctly and effectively. Plaintiffs

 Fergusons relied on those representations and the omission of, or failure to disclose,

 the Piston Defect, in purchasing the vehicle, and absent those representations and

 omissions, would not have purchased the vehicle, or would have paid less for it.


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       60.    At the time of their purchase, Plaintiffs Fergusons’ received from Volvo
 several warranties, including: (1) bumper-to-bumper limited warranty lasting for

 four years or 50,000 miles, whichever occurred first; and (2) maintenance warranty

 lasting three years or 36,000 miles, whichever occurred first.
       61.    At all times during their possession of the vehicle, Plaintiffs Fergusons

 have properly maintained and serviced their Class Vehicle according to Volvo’s

 recommended maintenance guidelines.
       62.    When the vehicle had approximately 65,000 miles on the odometer, the

 low oil level light began to illuminate frequently. Twice, Plaintiff Kim Ferguson

 took the vehicle to Dick Dyer and Associates, where the dealership merely added

 oil. After, when the vehicle had 76,781 miles on the odometer, in June 2020,

 Plaintiffs Fergusons returned their vehicle to the dealership for a formal diagnostic.

 At that time, the dealership recommended a piston repair and quoted approximately
 $6,000 for that repair. Plaintiff Kim Ferguson spoke to the technician who worked

 on her vehicle, who informed her that there “is not a recall yet” for her vehicle and

 that she could simply continue driving the car and adding oil as needed as an

 alternative to the repair. Plaintiff Kim Ferguson was worried about these

 recommendations and contacted Volvo Cars of North America, LLC. A customer

 service representative recommended that she return to the dealership and monitor

 the oil level. Plaintiffs Fergusons began adding oil every 1,000 miles driven. In

 December 2021, their vehicle flashed a warning about an engine performance

 problem. They took their vehicle to Taylor’s Auto Service, a local mechanic, and

 discovered that the valves in their engine were burnt and that the engine was failing.
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 Plaintiffs Fergusons paid approximately $7,000 to replace the engine in their vehicle.
 In January 2022, the engine performance problem message again flashed on the

 vehicle’s dashboard. Plaintiffs Fergusons returned their vehicle to the mechanic,

 who added oil and called Dick Dyer and Associates for a recommendation. The
 authorized Volvo dealership recommended Plaintiff Kim Ferguson sell the car.

       63.    To date, Plaintiffs Fergusons’ vehicle remains subject to the Piston

 Defect.
       64.    As a result of the Piston Defect, Plaintiffs Fergusons have lost

 confidence in the ability of their Class Vehicle to provide safe and reliable

 transportation for ordinary and advertised purposes.

       65.    At all times, Plaintiffs Fergusons, like other class members, have

 attempted to drive their vehicle in a manner that was both foreseeable and in which

 it was intended to be used. At all times, they have not abused their vehicle or used it
 for purposes unintended by Volvo such as drag racing, for example. The Piston

 Defect has rendered their vehicle unsafe and unfit to be used as Volvo intended.

 Plaintiff Kevin Flynn

       66.    Plaintiff Kevin Flynn is a citizen of Massachusetts, domiciled in

 Springfield, Massachusetts.

       67.    On or about October of 2013, Plaintiff Flynn purchased a new 2013

 Volvo S60 equipped with a 2.5L 5-cylinder engine with engine code B5254T12 from

 Fathers and Son Volvo, an authorized Volvo dealership located in West Springfield,

 Massachusetts.


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       68.    Plaintiff Flynn purchased his vehicle primarily for personal, family, or
 household use.

       69.    Passenger safety and reliability were important factors in Plaintiff

 Flynn’s decision to purchase his vehicle. Before purchasing the vehicle, Plaintiff
 Flynn conducted general online research using search engines such as Google and

 Kelley Blue Book, visited the dealership’s websites, reviewed the Monroney sticker

 (the “window sticker”) which listed the 2.5L engine as a component, reviewed the
 sales documentation, and spoke to the authorized salesperson at the dealership.

 Plaintiff Flynn also took the vehicle for a test drive. Plaintiff Flynn selected and

 ultimately purchased his Class Vehicle because the vehicle was represented to be,

 and was marketed as, a high-quality vehicle capable of providing safe, reliable

 transportation. The purchase was made in part on the advertised safety, reliability,

 and quality of the vehicle and its components, including its engine.
       70.    None of the information provided to Plaintiff Flynn disclosed any

 defects in the vehicle or its engine. Volvo’s omissions were material to Plaintiff

 Flynn.

       71.    Had Volvo disclosed its knowledge of the Piston Defect before he

 purchased his vehicle, Plaintiff Flynn would have seen and been aware of the

 disclosures. Indeed, Volvo’s misstatements and omissions were material to Plaintiff

 Flynn. Like all members of the Class, Plaintiff Flynn would not have purchased his

 Class Vehicle, or would have paid less for the vehicle, had he known of the Piston

 Defect.


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       72.    In addition, at the time of Plaintiff Flynn’s vehicle purchase, and in
 purchasing his vehicle, he relied upon Volvo and its authorized dealerships’

 representations which he heard from the salesperson, viewed on the dealership’s

 websites, and commercials, that the vehicle was fully functional, safe, durable,
 reliable, and that the engine operated correctly and effectively. Plaintiff Flynn relied

 on those representations and the omission of, or failure to disclose, the Piston Defect,

 in purchasing the vehicle, and absent those representations and omissions, would not
 have purchased the vehicle, or would have paid less for it.

       73.    At the time of his purchase, Plaintiff Flynn received from Volvo several

 warranties, including: (1) bumper-to-bumper limited warranty lasting for four years

 or 50,000 miles, whichever occurred first; and (2) maintenance warranty lasting

 three years or 36,000 miles, whichever occurred first.

       74.    At all times during his possession of the vehicle, Plaintiff Flynn has
 properly maintained and serviced his Class Vehicle according to Volvo’s

 recommended maintenance guidelines.

       75.    In December 2020, when the vehicle had approximately 60,000 miles

 on the odometer, Plaintiff Flynn was driving on the Massachusetts Turnpike when

 the “no oil” light illuminated on the dashboard. This immediately prompted Plaintiff

 Flynn to pull over and check his engine oil. He discovered that his engine indeed

 had no oil in it. He borrowed a colleague’s car to purchase 2 quarts of oil for his

 vehicle, and then drove his vehicle to Fathers and Sons Volvo for diagnosis and

 repair. The dealership did not diagnose or repair the vehicle, but instead


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 recommended that he increase the frequency of oil changes from 10,000 mile
 intervals, as per the vehicle’s manuals, to 5,000 mile intervals.

       76.    Plaintiff Flynn followed the dealership’s instructions and took his

 vehicle to the dealership for oil changes every 5,000 miles. In 2021, when the vehicle
 had less than 80,000 miles on the odometer, Plaintiff Flynn took his vehicle to the

 dealership for another oil change. The technician recommended replacing the piston

 rings in his vehicle, a repair which would cost thousands of dollars because it
 requires the engine to be torn down and rebuilt.

       77.    Plaintiff Flynn has since taken his vehicle for diagnosis and

 maintenance to an independent mechanic who has significant experience with

 Volvos. There, Plaintiff Flynn was informed that the oil consumption issue is a

 known problem in Volvos. Plaintiff Flynn has spent $500 in extra oil changes due

 to the Defect.
       78.    To date, Plaintiff Flynn’s vehicle remains subject to the Piston Defect.

       79.    As a result of the Piston Defect, Plaintiff Flynn has lost confidence in

 the ability of his Class Vehicle to provide safe and reliable transportation for

 ordinary and advertised purposes. Further, Plaintiff Flynn will be unable to rely on

 Volvo’s advertising or labeling in the future, and so will not purchase or lease

 another vehicle from Volvo in the future, though he would like to do so.

       80.    At all times, Plaintiff Flynn, like other class members, has attempted to

 drive his vehicle in a manner that was both foreseeable and in which it was intended

 to be used. At all times, he has not abused his vehicle or used it for purposes


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 unintended by Volvo such as drag racing, for example. The Piston Defect has
 rendered his vehicle unsafe and unfit to be used as Volvo intended.


 Plaintiff Philippe Geyskens

        81.    Plaintiff Phillip Geyskens is a citizen of Illinois, domiciled in Evanston,

 Illinois.

        82.    On or about March 1, 2018, Plaintiff Geyskens purchased a pre-owned
 2016 Volvo S60 equipped with a 2.0L 4-cylinder engine code B4204T12 with

 approximately 35,000 miles from Volvo Cars Lisle, an authorized Volvo dealership

 located in Lisle, Illinois.

        83.    Plaintiff Geyskens purchased his vehicle primarily for personal, family,

 or household use.

        84.    Passenger safety and reliability were important factors in Plaintiff
 Geyskens’s decision to purchase his vehicle. Before purchasing the vehicle, Plaintiff

 Geyskens conducted general online research using search engines such as Google,

 KBB, Edmunds and TrueCar, visited the dealership’s and manufacturer’s websites,
 which listed the 2.0L engine as a component, reviewed the sales documentation, and

 spoke to the authorized salesperson at the dealership. Plaintiff Geyskens also took

 the vehicle for a test drive. Plaintiff Geyskens selected and ultimately purchased his

 Class Vehicle because the vehicle was represented to be, and was marketed as, a

 high-quality vehicle capable of providing safe, reliable transportation. The purchase

 was made in part on the advertised safety, reliability, and quality of the vehicle and

 its components, including its engine.

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       85.    None of the information provided to Plaintiff Geyskens disclosed any
 defects in the vehicle or its engine. Volvo’s omissions were material to Plaintiff

 Geyskens.

       86.    Had Volvo disclosed its knowledge of the Piston Defect before he
 purchased his vehicle, Plaintiff Geyskens would have seen and been aware of the

 disclosures. Indeed, Volvo’s misstatements and omissions were material to Plaintiff

 Geyskens. Like all members of the Class, Plaintiff Geyskens would not have
 purchased his Class Vehicle, or would have paid less for the vehicle, had he known

 of the Piston Defect.

       87.    In addition, at the time of Plaintiff Geyskens’s vehicle purchase, and in

 purchasing his vehicle, he relied upon Volvo and its authorized dealerships’

 representations which he heard from the salesperson, and viewed on the dealership’s

 and manufacturer’s websites, that the vehicle was fully functional, safe, durable,
 reliable, and that the engine operated correctly and effectively. Plaintiff Geyskens

 relied on those representations and the omission of, or failure to disclose, the Piston

 Defect, in purchasing the vehicle, and absent those representations and omissions,

 would not have purchased the vehicle, or would have paid less for it.

       88.    At the time of his purchase, Plaintiff Geyskens received from Volvo

 several warranties, including: (1) the remainder of the bumper-to-bumper limited

 warranty lasting for four years or 50,000 miles, whichever occurred first; and (2) a

 limited certified pre-owned warranty lasting seven years or 100,000 miles,

 whichever occurred first.


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       89.    At all times during his possession of the vehicle, Plaintiff Geyskens has
 properly maintained and serviced his Class Vehicle according to Volvo’s

 recommended maintenance guidelines.

       90.    In December 2019, Plaintiff Geyskens was driving his vehicle when the
 low oil light illuminated. At the time, his vehicle had just over 60,000 miles on the

 odometer. He took the vehicle to E & J Foreign Cars, an independent mechanic in

 Chicago, Illinois, which diagnosed the vehicle as having excessive oil consumption.
 The mechanic recommended he follow up with Volvo.

       91.    In January 2020, Plaintiff Geyskens took his vehicle to Volvo Cars

 Lisle, which initiated an oil consumption test, telling him to return when the low oil

 light illuminated. In or around March 2020, Plaintiff Geyskens returned his vehicle

 to the dealership when the low oil light illuminated, after driving approximately

 3,000 miles. He was informed that Volvo had issued a new technical service bulletin
 regarding oil consumption testing and that a new test would have to done. Plaintiff

 Geyskens contacted Volvo customer service directly and verified that this was

 accurate.

       92.    In or around July 2020, the low oil light illuminated again, after

 Plaintiff Geyskens had driven approximately another 3,000 miles. He took his

 vehicle to the dealership, where the firepan was replaced. After driving another

 3,000 miles, the low oil light illuminated again. Plaintiff Geyskens again returned

 his vehicle to the dealership for diagnosis and repair. At that time, the dealership

 replaced the oil sensor.


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       93.    After driving another 3,000 miles, the low oil light illuminated again.
 Plaintiff Geyskens returned his vehicle to the dealership again for diagnosis and

 repair. The dealership technician told Plaintiff Geyskens to drive another 1,200 miles

 and if the vehicle had the same level of oil consumption, the dealership would make
 a case to Volvo for a free repair of his engine. Plaintiff Geyskens called the

 dealership after he had driven another 1,200 miles and was told he had to make an

 appointment, the soonest being in 2 months.
       94.    Two months later, Plaintiff Geyskens returned his vehicle to the

 dealership for the appointment, expecting a repair. Instead, he was told that all the

 metrics were in the expected range. In frustration, Plaintiff Geyskens reached out to

 Volvo customer service again on or about October 30, 2021. Volvo customer service

 directed him to a dealership for an oil consumption test, then when informed he had

 done so repeatedly, told him that being one quart low was within specifications.
 Volvo further stated that the test results were “proprietary” to the dealership. At no

 time did Plaintiff Geyskens’ vehicle receive a repair for the Piston Defect.

       95.    To date, Plaintiff Geyskens’ vehicle remains subject to the Piston

 Defect.

       96.    As a result of the Piston Defect, Plaintiff Geyskens has lost confidence

 in the ability of his Class Vehicle to provide safe and reliable transportation for

 ordinary and advertised purposes. Further, Plaintiff Geyskens will be unable to rely

 on Volvo’s advertising or labeling in the future, and so will not purchase or lease

 another vehicle from Volvo in the future, though he would like to do so.


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       97.    At all times, Plaintiff Geyskens, like other class members, has
 attempted to drive his vehicle in a manner that was both foreseeable and in which it

 was intended to be used. At all times, he has not abused his vehicle or used it for

 purposes unintended by Volvo such as drag racing, for example. The Piston Defect
 has rendered his vehicle unsafe and unfit to be used as Volvo intended.

 Plaintiff Robert Hoffman

       98.    Plaintiff Robert Hoffman is a citizen of Pennsylvania, domiciled in

 Pittsburg, Pennsylvania.

       99.    On or about September 1, 2016, Plaintiff Hoffman purchased a new

 2016 Volvo XC70 equipped with a 2.5L 5-cylinder engine with engine code

 B5254T12 from Star Volvo (currently Delaney Volvo), an authorized Volvo

 dealership located in Greensburg, Pennsylvania.

       100. Plaintiff Hoffman purchased his vehicle primarily for personal, family,

 or household use.
       101. Passenger safety and reliability were important factors in Plaintiff

 Hoffman’s decision to purchase his vehicle. Before purchasing the vehicle, Plaintiff

 Hoffman conducted general online research using search engines such as Google

 and Edumunds.com, visited the dealership’s websites, reviewed the Monroney

 sticker (the “window sticker”) which listed the 2.5L engine as a component,

 reviewed the sales documentation, and spoke to the authorized salesperson at the

 dealership. Plaintiff Hoffman also took the vehicle for a test ride. Plaintiff Hoffman

 selected and ultimately purchased his Class Vehicle because the vehicle was


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 represented to be, and was marketed as, a high-quality vehicle capable of providing
 safe, reliable transportation. The purchase was made in part on the advertised safety,

 reliability, and quality of the vehicle and its components, including its engine.

       102. None of the information provided to Plaintiff Hoffman disclosed any
 defects in the vehicle or its engine. Volvo’s omissions were material to Plaintiff

 Hoffman.

       103. Had Volvo disclosed its knowledge of the Piston Defect before he
 purchased his vehicle, Plaintiff Hoffman would have seen and been aware of the

 disclosures. Indeed, Volvo’s misstatements and omissions were material to Plaintiff

 Hoffman. Like all members of the Class, Plaintiff Hoffman would not have

 purchased his Class Vehicle, or would have paid less for the vehicle, had he known

 of the Piston Defect.

       104. In addition, at the time of Plaintiff Hoffman’s vehicle purchase, and in
 purchasing his vehicle, he relied upon Volvo and its authorized dealerships’

 representations which he heard from the salesperson, and viewed on the dealership’s

 websites, that the vehicle was fully functional, safe, durable, reliable, and that the

 engine operated correctly and effectively.       Plaintiff Hoffman relied on those

 representations and the omission of, or failure to disclose, the Piston Defect, in

 purchasing the vehicle, and absent those representations and omissions, would not

 have purchased the vehicle, or would have paid less for it.

       105. At the time of his purchase, Plaintiff Hoffman received from Volvo

 several warranties, including: (1) bumper-to-bumper limited warranty lasting for


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 four years or 50,000 miles, whichever occurred first; and (2) maintenance warranty
 lasting three years or 36,000 miles, whichever occurred first.

       106. At all times during his possession of the vehicle, Plaintiff Hoffman has

 properly maintained and serviced his Class Vehicle according to Volvo’s
 recommended maintenance guidelines.

       107. In September 2020, when the vehicle had approximately 66,500 miles

 on the odometer, the low oil level light illuminated on the dashboard. Plaintiff
 Hoffman checked the oil level and found that it was low. He added oil to the engine

 and made an appointment at Star Volvo. On October 6, 2020, the dealership initiated

 an oil consumption test and told Plaintiff Hoffman to return his vehicle after driving

 1,000 miles.

       108. On November 23, 2020, Plaintiff Hoffman returned his vehicle to the

 dealership, where he was informed that his vehicle was not exceeding the oil
 consumption rate that Volvo Cars of North America, LLC (“VCNA”) had deemed

 excessive. The dealership also informed Plaintiff Hoffman that they had seen similar

 problems on other vehicles and a potential fix for the issue would be replacement of

 the piston rings, a repair which would cost $4,800. Having been given conflicting

 information, Plaintiff Hoffman chose to monitor the oil level in his vehicle and made

 sure that the oil level remained above the recommended level by adding a quart of

 oil every thousand miles.

       109. On October 30, 2021, Plaintiff Hoffman was driving on I-95 in

 Connecticut when his vehicle experienced a sudden loss of power. In addition, the

 check engine light illuminated. Plaintiff Hoffman managed to drive his vehicle to
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 Bobby Rahal Volvo Cars South Hills, an authorized dealership located in
 McMurray, Pennsylvania for diagnosis and repair on November 4, 2021. At the time,

 his vehicle had 83,462 miles on the odometer. The dealership found that there was a

 loss of compression in cylinders #3 and #5, problems with the valve fuel injectors,
 and burnt exhaust valves. The dealership also agreed that the piston rings should be

 replaced. Ultimately, Plaintiff Hoffman paid $4,251.24 for the engine repair, as well

 as $64 in car rental fees.
       110. To date, Plaintiff Hoffman’s vehicle remains subject to the Piston

 Defect.

       111. As a result of the Piston Defect, Plaintiff Hoffman has lost confidence

 in the ability of his Class Vehicle to provide safe and reliable transportation for

 ordinary and advertised purposes. Further, Plaintiff Hoffman will be unable to rely

 on Volvo’s advertising or labeling in the future, and so will not purchase or lease
 another vehicle from Volvo in the future, though they would like to do so.

       112. At all times, Plaintiff Hoffman, like other class members, has attempted

 to drive his vehicle in a manner that was both foreseeable and in which it was

 intended to be used. At all times, he has not abused his vehicle or used it for purposes

 unintended by Volvo such as drag racing, for example. The Piston Defect has

 rendered his vehicle unsafe and unfit to be used as Volvo intended.

 Plaintiffs Eric and Mariela Kotoun

       113. Plaintiffs Eric Kotoun and Mariela Kotoun (“Kotoun”) are citizens of

 California, domiciled in Chula Vista, California.


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       114. In or around June 2016, Plaintiffs Kotoun purchased a pre-owned 2015
 Volvo XC60 equipped with a 2.0L 4-cylinder engine with engine code B4204T11

 with approximately 14,00 miles from Start Motor Cars Volvo (now known as Volvo

 Cars Southwest Houston), an authorized Volvo dealership located in Houston,
 Texas.

       115. Plaintiffs Kotoun purchased their vehicle primarily for personal,

 family, or household use.
       116. Passenger safety and reliability were important factors in Plaintiffs

 Kotouns’ decision to purchase their vehicle.         Before purchasing the vehicle,

 Plaintiffs Kotoun reviewed Volvo commercials, researched the vehicle generally on

 Google and KBB, reviewed the vehicle’s Carfax report, reviewed the Monroney

 sticker (the “window sticker”) which listed the 2.0L engine as a component, visited

 the dealership’s website, and spoke to the authorized salesperson at the dealership.
 Plaintiffs Kotoun selected and ultimately purchased their Class Vehicle because the

 vehicle was represented to be, and was marketed as, a high-quality vehicle capable

 of providing safe, reliable transportation. The purchase was made in part on the

 advertised safety, reliability, and quality of the vehicle and its components, including

 its engine.

       117. None of the information provided to Plaintiffs Kotoun disclosed any

 defects in the vehicle or its engine. Volvo’s omissions were material to Plaintiffs

 Kotoun.

       118. Had Volvo disclosed its knowledge of the Piston Defect before they

 purchased their vehicle, Plaintiffs Kotoun would have seen and been aware of the
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 disclosures. Indeed, Volvo’s misstatements and omissions were material to Plaintiffs
 Kotoun. Like all members of the Class, Plaintiffs Kotoun would not have purchased

 their Class Vehicle, or would have paid less for the vehicle, had they known of the

 Piston Defect.
       119. In addition, at the time of Plaintiffs Kotouns’ vehicle purchase, and in

 purchasing their vehicle, they relied upon Volvo and its authorized dealerships’

 representations, dealership website, commercials, heard from the salesperson, and
 reviewed on the Monroney sticker, that the vehicle was fully functional, safe,

 durable, reliable, and that the engine operated correctly and effectively. Plaintiffs

 Kotoun relied on those representations and the omission of, or failure to disclose,

 the Piston Defect, in purchasing the vehicle, and absent those representations and

 omissions, would not have purchased the vehicle, or would have paid less for it.

       120. At the time of their purchase, Plaintiffs Kotoun received from Volvo
 several warranties, including the remainder of the: (1) bumper-to-bumper limited

 warranty lasting for four years or 50,000 miles, whichever occurred first; and (2)

 maintenance warranty lasting three years or 36,000 miles, whichever occurred first.

       121. At all times during their possession of the vehicle, Plaintiffs Kotoun

 have properly maintained and serviced their Class Vehicle according to Volvo’s

 recommended maintenance guidelines.

       122. In or around March 2020, while Plaintiff Eric Kotoun was stationed in

 Japan during the course of his military service, Mariela Kotoun reported to him that

 that the low oil light on the dashboard was illuminating every 1,000 to 1,100 miles.

 At the time, the vehicle had approximately 75,000 miles on the odometer. She was
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 adding oil each time. When Plaintiff Eric Kotoun returned from his overseas military
 service in the fall of 2020, he called Volvo Cars of San Diego, an authorized Volvo

 dealership located in San Diego, California. The dealership scheduled his vehicle for

 an oil consumption test and cautioned Plaintiffs Kotoun not to add oil to the car
 before the test in approximately three weeks from the date of the call. During this

 three-week period, the low oil light illuminated but Plaintiffs Kotoun did not add oil.

 The dealership performed the oil consumption test and confirmed the oil
 consumption and inspected the cylinders. The dealership found that piston ring

 failure had caused cylinder scoring and recommended that Plaintiffs Kotoun replace

 the short block for $14,000. The service representative reached out to Volvo on

 Plaintiffs Kotoun’s behalf and ultimately, they had to pay $7,150 for the engine

 rebuild.

       123. To date, Plaintiffs Kotoun’s vehicle remains subject to the Piston
 Defect.

       124. As a result of the Piston Defect, Plaintiffs Kotoun have lost confidence

 in the ability of their Class Vehicle to provide safe and reliable transportation for

 ordinary and advertised purposes. Further, Plaintiffs Kotoun will be unable to rely

 on Volvo’s advertising or labeling in the future, and so will not purchase or lease

 another vehicle from Volvo in the future, though they would like to do so.

       125. At all times, Plaintiffs Kotoun, like other class members, have

 attempted to drive their vehicle in a manner that was both foreseeable and in which

 it was intended to be used. At all times, they have not abused their vehicle or used it


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 for purposes unintended by Volvo such as drag racing, for example. The Piston
 Defect has rendered their vehicle unsafe and unfit to be used as Volvo intended.

 Plaintiff Arthur Yakov Krichevsky

       126. Plaintiff Arthur Yakov Krichevsky is a citizen of Missouri, domiciled

 in St. Louis, Missouri.
       127. On or about August 26, 2016, Plaintiff Krichevsky purchased a

 preowned 2015 Volvo V60 equipped with a 2.0L 4-cylinder engine with engine code

 B4204T11 with approximately 28,446 miles on the odometer from Suntrup West

 County Volvo (now known as Volvo Cars West County), an authorized Volvo

 dealership located in Manchester, Missouri.

       128. Plaintiff Krichevsky purchased his vehicle primarily for personal,

 family, or household use.

       129. Passenger safety and reliability were important factors in Plaintiff

 Krichevsky’s decision to purchase his vehicle. Before purchasing the vehicle,
 Plaintiff Krichevsky conducted general online research using search engines such as

 Google, viewed several television commercials, visited the manufacturer’s and

 dealership’s websites, reviewed the brochures and the Monroney sticker (the

 “window sticker”) which listed the 2.0L engine as a component, reviewed the sales

 documentation, and spoke to the authorized salesperson at the dealership. Plaintiff

 Krichevsky also took the vehicle for a test drive. Plaintiff Krichevsky selected and

 ultimately purchased his Class Vehicle because the vehicle was represented to be,

 and was marketed as, a high-quality vehicle capable of providing safe, reliable


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 transportation. The purchase was made in part on the advertised safety, reliability,
 and quality of the vehicle and its components, including its engine.

        130. None of the information provided to Plaintiff Krichevsky disclosed any

 defects in the vehicle or its engine. Volvo’s omissions were material to Plaintiff
 Krichevsky.

        131. Had Volvo disclosed its knowledge of the Piston Defect before he

 purchased his vehicle, Plaintiff Krichevsky would have seen and been aware of the
 disclosures. Indeed, Volvo’s misstatements and omissions were material to Plaintiff

 Krichevsky. Like all members of the Class, Plaintiff Krichevsky would not have

 purchased his Class Vehicle, or would have paid less for the vehicle, had he known

 of the Piston Defect.

        132. In addition, at the time of Plaintiff Krichevsky’s vehicle purchase, and

 in purchasing his vehicle, he relied upon Volvo and its authorized dealerships’
 representations which he heard from the salesperson, viewed on both the

 dealership’s and manufacturer’s websites, and commercials, that the vehicle was

 fully functional, safe, durable, reliable, and that the engine operated correctly and

 effectively. Plaintiff Krichevsky relied on those representations and the omission

 of, or failure to disclose, the Piston Defect, in purchasing the vehicle, and absent

 those representations and omissions, would not have purchased the vehicle, or would

 have paid less for it.

        133. At the time of his purchase, Plaintiff Krichevsky received from Volvo

 several warranties, including the remainder of the: (1) bumper-to-bumper limited


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 warranty lasting for four years or 50,000 miles, whichever occurred first; and (2)
 maintenance warranty lasting three years or 36,000 miles, whichever occurred first.

       134. At all times during his possession of the vehicle, Plaintiff Krichevsky

 has properly maintained and serviced his Class Vehicle according to Volvo’s
 recommended maintenance guidelines.

       135. During the first year of ownership of his vehicle, Plaintiff Krichevsky

 changed the oil in his vehicle approximately every two to three months, based on
 prompts from the vehicle indicating the oil level was low. Late in 2017, he learned

 from an independent auto mechanic that his vehicle should not need such frequent

 oil changes. The mechanic recommended that Plaintiff Krichevsky contact Volvo.

       136. In 2018, Plaintiff Krichevsky contacted both Volvo corporate offices

 and West County Volvo. Volvo’s corporate customer service line told him to bring

 his vehicle to an authorized dealership. On or about January 24, 2018, when the
 vehicle had approximately 50,101 miles on the odometer, Plaintiff Krichevsky took

 his vehicle to West County Volvo for diagnosis and repair of the oil consumption

 issue, based on Volvo’s direction. The dealership replaced the fuel pressure sensor

 and the spark plugs, but did not perform an oil consumption test or attempt a repair

 related to that symptom.

       137. The Piston Defect has continued to get worse in Plaintiff Krichevsky’s

 vehicle since that time. Specifically, on July 23, 2020, Plaintiff Krichevsky took his

 vehicle back to the dealership to complain about the oil consumption. The dealership

 provided him with an oil change and changed the breather box on the vehicle and

 indicated the vehicle “made new more,” but provided no additional repairs.
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       138. On or about March 3, 2021, Plaintiff Krichevsky contacted West
 County Volvo about a new oil consumption test Volvo had designed to diagnose the

 Defect. West County Volvo informed him that they “did not have experience with

 these recent oil consumption protocols” and that he would have to pay for the test
 on his own. Based on the dealership’s remarks, Plaintiff Krichevsky has declined to

 take his vehicle to them again and is now putting oil into his vehicle every four

 weeks. His vehicle currently consumes about five quarts in twenty-five days.
       139. To date, Plaintiff Krichevsky’s vehicle remains subject to the Piston

 Defect.

       140. As a result of the Piston Defect, Plaintiff Krichevsky has lost

 confidence in the ability of his Class Vehicle to provide safe and reliable

 transportation for ordinary and advertised purposes. Further, Plaintiff Krichevsky

 will be unable to rely on Volvo’s advertising or labeling in the future, and so will
 not purchase or lease another vehicle from Volvo in the future, though he would like

 to do so.

       141. At all times, Plaintiff Krichevsky, like other class members, has

 attempted to drive his vehicle in a manner that was both foreseeable and in which it

 was intended to be used. At all times, he has not abused his vehicle or used it for

 purposes unintended by Volvo such as drag racing, for example. The Piston Defect

 has rendered his vehicle unsafe and unfit to be used as Volvo intended.




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 Plaintiffs Elise Saks and Steven Salhanick

       142. Plaintiffs Elise Saks and Steven Salhanick (“Saks and Salhanick”) are

 citizens of Massachusetts, domiciled in Andover, Massachusetts.

       143. On or about May 11, 2016, Plaintiffs Saks and Salhanick purchased a

 new 2015 Volvo S60 equipped with a 2.5L 5-cylinder engine with engine code
 B5254T12 from Volvo Village of Danvers, an authorized Volvo dealership located

 in Danvers, Massachusetts.

       144. Plaintiffs Saks and Salhanick purchased their vehicle primarily for

 personal, family, or household use.

       145. Passenger safety and reliability were important factors in Plaintiffs

 Saks and Salhanick’ decision to purchase their vehicle. Before purchasing the

 vehicle, Plaintiffs Saks and Salhanick reviewed the Monroney sticker (the “window

 sticker”) which listed the 2.5L engine as a component, researched the vehicle on

 Consumer Reports and KBB, and spoke to the authorized salesperson at the
 dealership. Plaintiffs Saks and Salhanick also took the vehicle for a test drive.

 Plaintiffs Saks and Salhanick selected and ultimately purchased their Class Vehicle

 because the vehicle was represented to be, and was marketed as, a high-quality

 vehicle capable of providing safe, reliable transportation. The purchase was made

 in part on the advertised safety, reliability, and quality of the vehicle and its

 components, including its engine.

       146. None of the information provided to Plaintiffs Saks and Salhanick

 disclosed any defects in the vehicle or its engine. Volvo’s omissions were material

 to Plaintiffs Saks and Salhanick.

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       147. Had Volvo disclosed its knowledge of the Piston Defect before they
 purchased their vehicle, Plaintiffs Saks and Salhanick would have seen and been

 aware of the disclosures. Indeed, Volvo’s misstatements and omissions were

 material to Plaintiffs Saks and Salhanick. Like all members of the Class, Plaintiffs
 Saks and Salhanick would not have purchased their Class Vehicle, or would have

 paid less for the vehicle, had they known of the Piston Defect.

       148. In addition, at the time of Plaintiffs Saks and Salhanick’ vehicle
 purchase, and in purchasing their vehicle, they relied upon Volvo and its authorized

 dealerships’ representations, heard from the salesperson, and reviewed on the

 Monroney sticker, that the vehicle was fully functional, safe, durable, reliable, and

 that the engine operated correctly and effectively. Plaintiffs Saks and Salhanick

 relied on those representations and the omission of, or failure to disclose, the Piston

 Defect, in purchasing the vehicle, and absent those representations and omissions,
 would not have purchased the vehicle, or would have paid less for it.

       149. At the time of their purchase, Plaintiffs Saks and Salhanick received

 from Volvo several warranties, including: (1) bumper-to-bumper limited warranty

 lasting for four years or 50,000 miles, whichever occurred first; and (2) maintenance

 warranty lasting three years or 36,000 miles, whichever occurred first.

       150. At all times during their possession of the vehicle, Plaintiffs Saks and

 Salhanick has properly maintained and serviced their Class Vehicle according to

 Volvo’s recommended maintenance guidelines.

       151. On or around May 29, 2020, Plaintiff Salhanick took the vehicle for an

 oil change. The technician at Valvoline Instant Oil Change in North Reading,
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 Massachusetts warned him that the oil level seemed low and to keep an eye on it in
 the future. At the time, the vehicle had approximately 72,000 miles on the odometer.

 Several months after, the low oil level light illuminated on the vehicle’s dashboard.

 Plaintiff Salhanick added oil to the engine.
       152. In or around August 2021, Plaintiff Salhanick was driving the vehicle

 on the highway when it made a grinding noise and stopped. He had the vehicle towed

 to Volvo Cars Exeter, an authorized Volvo dealership located in Exeter, New
 Hampshire. Plaintiff Salhanick informed the dealership’s technician of the oil

 consumption issues. The technician diagnosed the vehicle needing the cylinder

 heads rebuilt. Plaintiffs paid approximately $3,500 for this repair. This did not

 remedy the Piston Defect.

       153. Over the next few months, the engine continued to consume oil, with

 Plaintiff Salhanick adding a quart every 300 miles. In or around November 2021,
 Plaintiff Salhanick took the vehicle to the dealership where it was purchased and

 asked for a diagnosis and repair. The dealership recommended an oil consumption

 test, which would not be completed until 2,000 miles were driven. Plaintiffs were

 worried that their vehicle would fail before the test was completed. Plaintiffs then

 took the vehicle to an independent mechanic, who examined the vehicle and

 recommended they sell the vehicle.

       154. After experiencing several misfires, on or about February 3, 2022,

 Plaintiffs took their vehicle back to the independent mechanic who completed a

 compression test and recommended Plaintiffs change the ignition coils and spark


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 plugs. This repair cost Plaintiffs $663.25. This repair failed to correct the Piston
 Defect and the mechanic advised that the vehicle needs a new engine.

       155. Plaintiffs called the dealership. The service manager agreed to “do

 [them] a favor” to evaluate the vehicle for oil consumption issues on February 23,
 2022. Before Plaintiffs could bring their vehicle in for that appointment, the service

 manager at the dealership cancelled the appointment via email. Plaintiff Elise Saks

 called the dealership and the service manager told her that he was angry that she had
 complained about their encounter in November 2021. The service manager further

 stated that he had no obligation to service the vehicle or to disclose any defects,

 including at the time of sale.

       156. On or about February 25, 2022, Plaintiff Salhanick was attempting to

 drive the vehicle when it suddenly lost power and shook violently when at idle. After

 calling several Volvo dealerships in order to schedule diagnosis and repair without
 success, Plaintiff Saks called VCNA. VCNA provided a tow to a Jaffarian Volvo,

 an authorized dealership located in Haverhill, Massachusetts. Jaffarian Volvo

 rebuilt the cylinder heads, a repeat of the repair done by Exeter Volvo. This repair

 cost Plaintiffs $1,780.98, in addition to the cost of a rental vehicle from February 28,

 2022 to March 11, 2022.

       157. On March 29, 2022, Plaintiffs brought their vehicle back to Jaffarian

 Volvo, complaining that the vehicle continued to idly roughly, had stalled several

 times, and that the check engine light periodically illuminated. At that time, a

 suction hose was replaced. This did not repair the Piston Defect, as the vehicle


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 continues to idly roughly and the check engine light comes on intermittently.
 Plaintiffs have also added 3 quarts of oil to the engine since March 11, 2022.

       158. To date, Plaintiffs Saks and Salhanick’s vehicle remains subject to the

 Piston Defect.
       159. As a result of the Piston Defect, Plaintiffs Saks and Salhanick have lost

 confidence in the ability of their Class Vehicle to provide safe and reliable

 transportation for ordinary and advertised purposes. Further, Plaintiffs Saks and
 Salhanick will be unable to rely on Volvo’s advertising or labeling in the future, and

 so will not purchase or lease another vehicle from Volvo in the future, though they

 would like to do so.

       160. At all times, Plaintiff Saks and Salhanick, like other class members,

 have attempted to drive their vehicle in a manner that was both foreseeable and in

 which it was intended to be used. At all times, they have not abused their vehicle or
 used it for purposes unintended by Volvo such as drag racing, for example. The

 Piston Defect has rendered their vehicle unsafe and unfit to be used as Volvo

 intended.

 Plaintiff Mark Silber

       161. Plaintiff Mark Silber is a citizen of Maine, domiciled in Summer,

 Maine.

       162. On or about February 22, 2018, Plaintiff Silber purchased a pre-owned

 2016 Volvo XC70 equipped with a 2.5L 5-cylinder engine with engine code




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 B5254T12 with approximately 17,684 miles from New Country BMW, a dealership
 located in Hartford, Connecticut.

       163. Plaintiff Silber purchased his vehicle primarily for personal, family, or

 household use.
       164. Passenger safety and reliability were important factors in Plaintiff

 Silber’s decision to purchase his vehicle. Before purchasing the vehicle, Plaintiff

 Silber conducted general online research and to search for recalls, using search
 engines such as Google, KBB, and CarGurus, visited the dealership’s websites,

 reviewed the Monroney sticker (the “window sticker”) which listed the 2.5L engine

 as a component, reviewed the sales documentation, and spoke to the authorized

 salesperson at the dealership. Plaintiff Silber also took the vehicle for a test drive.

 Plaintiff Silber selected and ultimately purchased his Class Vehicle because the

 vehicle was represented to be, and was marketed as, a high-quality vehicle capable
 of providing safe, reliable transportation. The purchase was made in part on the

 advertised safety, reliability, and quality of the vehicle and its components, including

 its engine.

       165. None of the information provided to Plaintiff Silber disclosed any

 defects in the vehicle or its engine. Volvo’s omissions were material to Plaintiff

 Silber.

       166. Had Volvo disclosed its knowledge of the Piston Defect before he

 purchased his vehicle, Plaintiff Silber would have seen and been aware of the

 disclosures. Indeed, Volvo’s misstatements and omissions were material to Plaintiff

 Silber. Like all members of the Class, Plaintiff Silber would not have purchased his
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 Class Vehicle, or would have paid less for the vehicle, had he known of the Piston
 Defect.

        167. In addition, at the time of Plaintiff Silber’s vehicle purchase, and in

 purchasing his vehicle, he relied upon Volvo, that the vehicle was fully functional,
 safe, durable, reliable, and that the engine operated correctly and effectively.

 Plaintiff Silber relied on those representations and the omission of, or failure to

 disclose, the Piston Defect, in purchasing the vehicle, and absent those
 representations and omissions, would not have purchased the vehicle, or would have

 paid less for it.

        168. At the time of his purchase, Plaintiff Silber received from Volvo several

 warranties, including the remainder of the: (1) bumper-to-bumper limited warranty

 lasting for four years or 50,000 miles, whichever occurred first; and (2) maintenance

 warranty lasting three years or 36,000 miles, whichever occurred first.
        169. At all times during his possession of the vehicle, Plaintiff Silber has

 properly maintained and serviced his Class Vehicle according to Volvo’s

 recommended maintenance guidelines.

        170. At the vehicle’s 50,000-mile servicing in January 2020, the technician

 observed that the oil seemed low. At the vehicle’s 60,000-mile servicing on

 December 4, 2020, the technician at Expert Volvo, located in Lisbon, Maine,

 informed him that there was a significant amount of oil loss. His vehicle had

 consumed 4 quarts of oil between oil changes. The technician recommended a flush,

 that Plaintiff Silber change the oil in his vehicle every 5,000 miles rather than 10,000

 miles and carry extra oil in the car at all times.
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       171. Plaintiff Silber had to add a quart of oil every 2,500 miles in order to
 maintain proper oil levels. He began to research the problem and found a Volvo

 Technical Journal describing oil consumption issues in his vehicle. On July 28, 2021,

 Plaintiff Silber contacted Volvo’s customer service directly via email, where he was
 directed to take his vehicle to Goodwin’s Volvo for an oil consumption test. The

 dealership confirmed that the engine was consuming oil but informed Plaintiff Silber

 that the consumption was within specifications. At Plaintiff Silber’s request,
 Goodwin’s Volvo quoted between $4,000 and $5,000 to rebuild the engine to change

 the piston rings. Expert Volvo quoted over $7,000 for the repair. To date, Plaintiff

 Silber has paid for oil consumption tests, additional oil changes, and additional oil

 for his vehicle.

       172. To date, Plaintiff Silber’s vehicle remains subject to the Piston Defect.

       173. As a result of the Piston Defect, Plaintiff Silber has lost confidence in
 the ability of his Class Vehicle to provide safe and reliable transportation for

 ordinary and advertised purposes. Further, Plaintiff Silber will be unable to rely on

 Volvo’s advertising or labeling in the future, and so will not purchase or lease

 another vehicle from Volvo in the future, though they would like to do so.

       174. At all times, Plaintiff Silber, like other class members, has attempted to

 drive his vehicle in a manner that was both foreseeable and in which it was intended

 to be used. At all times, he has not abused his vehicle or used it for purposes

 unintended by Volvo such as drag racing, for example. The Piston Defect has

 rendered his vehicle unsafe and unfit to be used as Volvo intended


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 Plaintiffs Toni and Robert Tubbe

       175. Plaintiffs Toni Tubbe and Robert Tubbe (“Tubbes”) are citizens of

 Texas, domiciled in Trinity, Texas.

       176. On or about June 20, 2020, Plaintiffs Tubbes purchased a certified pre-

 owned 2015 Volvo XC60 equipped with a 2.0L 4-cylinder engine with engine code
 B4204T9 with approximately 60,000 miles on the odometer from DeMontrond

 Automotive Group, d/b/a DeMontrond Volvo Cars, an authorized Volvo dealership

 located in Houston, Texas.

       177. Plaintiffs Tubbes purchased their vehicle primarily for personal, family,

 or household use.

       178. Passenger safety and reliability were important factors in Plaintiffs

 Tubbes’ decision to purchase their vehicle. Before purchasing the vehicle, Plaintiffs

 Tubbes reviewed Volvo commercials, researched the vehicle generally on Youtube

 and Google, reviewed the Monroney sticker (the “window sticker”) which listed the
 2.0L engine as a component, visited the dealership’s website, and spoke to the

 authorized salesperson at the dealership. Plaintiffs Tubbes also took the vehicle for

 a test ride. Plaintiffs Tubbes selected and ultimately purchased their Class Vehicle

 because the vehicle was represented to be, and was marketed as, a high-quality

 vehicle capable of providing safe, reliable transportation. The purchase was made

 in part on the advertised safety, reliability, and quality of the vehicle and its

 components, including its engine.




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       179. None of the information provided to Plaintiffs Tubbes disclosed any
 defects in the vehicle or its engine. Volvo’s omissions were material to Plaintiffs

 Tubbes.

       180. Had Volvo disclosed its knowledge of the Piston Defect before they
 purchased their vehicle, Plaintiffs Tubbes would have seen and been aware of the

 disclosures. Indeed, Volvo’s misstatements and omissions were material to Plaintiffs

 Tubbes. Like all members of the Class, Plaintiffs Tubbes would not have purchased
 their Class Vehicle, or would have paid less for the vehicle, had they known of the

 Piston Defect.

       181. In addition, at the time of Plaintiffs Tubbes’ vehicle purchase, and in

 purchasing their vehicle, they relied upon Volvo and its authorized dealerships’

 representations, dealership website, commercials, heard from the salesperson, and

 reviewed on the Monroney sticker, that the vehicle was fully functional, safe,
 durable, reliable, and that the engine operated correctly and effectively. Plaintiffs

 Tubbes relied on those representations and the omission of, or failure to disclose, the

 Piston Defect, in purchasing the vehicle, and absent those representations and

 omissions, would not have purchased the vehicle, or would have paid less for it.

       182. At the time of their purchase, Plaintiffs Tubbes received an unlimited

 warranty from the dealership, provided they complete all service at the selling

 dealership.

       183. At all times during their possession of the vehicle, Plaintiffs Tubbes has

 properly maintained and serviced their Class Vehicle according to Volvo’s

 recommended maintenance guidelines. In particular, Plaintiffs Tubbes brought their
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 vehicle to the selling dealership for all maintenance. Further, the previous owners
 also had the vehicle exclusively serviced at authorized Volvo dealerships, including

 the selling dealership.

       184. Within a month of their purchase, Plaintiffs Tubbes noticed the low oil
 level light illuminated on the dashboard, prompting Plaintiff Robert Tubbe to add a

 quart of oil every two weeks thereafter. In or around August 2020, Plaintiff Tubbes

 returned the vehicle to the dealership, which initiated an oil consumption test, only
 for the Tubbes to be informed at the conclusion that the oil consumption rate was

 normal.

       185. Weeks later, the low oil level light illuminated again, and Plaintiff

 Robert Tubbe contacted VCNA regarding the oil consumption issue. Plaintiff Robert

 Tubbe was directed to take the vehicle back to the dealership, where a second oil

 consumption test was run. Plaintiffs Robert and Toni Tubbe were charged for this
 test, which the dealership told them did not show excessive oil consumption.

       186. Plaintiffs Robert and Toni Tubbe contacted VCNA once more, which

 directed them to return their car to the dealership for another test. On or about

 November 15, 2021, Plaintiffs Robert and Toni Tubbe were informed by the

 dealership that the engine was consuming oil and that cylinder #3 had scoring down

 the cylinder wall, necessitating a new engine. The repair order states that new engine

 was installed and that the dealership “reassembled old engine.” To date, however,

 Plaintiffs Robert and Toni Tubbe cannot get confirmation via serial number that a

 new engine was installed in their vehicle from the dealership or VCNA.

       187. To date, Plaintiffs Tubbes’ vehicle remains subject to the Piston Defect.
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       188. As a result of the Piston Defect, Plaintiffs Tubbes have lost confidence
 in the ability of their Class Vehicle to provide safe and reliable transportation for

 ordinary and advertised purposes. Further, Plaintiffs Tubbes will be unable to rely

 on Volvo’s advertising or labeling in the future, and so will not purchase or lease
 another vehicle from Volvo in the future, though they would like to do so.

       189. At all times, Plaintiffs Tubbes, like other class members, have

 attempted to drive their vehicle in a manner that was both foreseeable and in which
 it was intended to be used. At all times, they have not abused their vehicle or used it

 for purposes unintended by Volvo such as drag racing, for example. The Piston

 Defect has rendered their vehicle unsafe and unfit to be used as Volvo intended.

 Plaintiff Donna Urben
       190. Plaintiff Donna Urben is a citizen of Pennsylvania, domiciled in Butler,

 Pennsylvania.

       191. On or about September 18, 2015, Plaintiff Urben purchased a new 2015

 Volvo V60 equipped with a 2.5L 5-cylinder engine with engine code B5254T12

 from Bobby Rahal Volvo, an authorized Volvo dealership located in Wexford,

 Pennsylvania.

       192. Plaintiff Urben purchased her vehicle primarily for personal, family, or

 household use.

       193. Passenger safety and reliability were important factors in Plaintiff

 Urben’s decision to purchase her vehicle. Before purchasing the vehicle, Plaintiff

 Urben conducted general research, viewed dealer advertisements, reviewed the

 Monroney sticker (the “window sticker”) which listed the 2.5L engine as a

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 component, reviewed the sales documentation, and spoke to the authorized
 salesperson at the dealership. Plaintiff Urben also took the vehicle for a test drive.

 Plaintiff Urben selected and ultimately purchased her Class Vehicle because the

 vehicle was represented to be, and was marketed as, a high-quality vehicle capable
 of providing safe, reliable transportation. The purchase was made in part on the

 advertised safety, reliability, and quality of the vehicle and its components, including

 its engine.
       194. None of the information provided to Plaintiff Urben disclosed any

 defects in the vehicle or its engine. Volvo’s omissions were material to Plaintiff

 Urben.

       195. Had Volvo disclosed its knowledge of the Piston Defect before she

 purchased her vehicle, Plaintiff Urben would have seen and been aware of the

 disclosures. Indeed, Volvo’s misstatements and omissions were material to Plaintiff
 Urben. Like all members of the Class, Plaintiff Urben would not have purchased her

 Class Vehicle, or would have paid less for the vehicle, had she known of the Piston

 Defect.

       196. In addition, at the time of Plaintiff Urben’s vehicle purchase, and in

 purchasing her vehicle, she relied upon Volvo and its authorized dealerships’

 representations which she heard from the salesperson and in advertisements, that the

 vehicle was fully functional, safe, durable, reliable, and that the engine operated

 correctly and effectively. Plaintiff Urben relied on those representations and the

 omission of, or failure to disclose, the Piston Defect, in purchasing the vehicle, and


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 absent those representations and omissions, would not have purchased the vehicle,
 or would have paid less for it.

       197. At the time of her purchase, Plaintiff received from Volvo several

 warranties, including: (1) bumper-to-bumper basic warranty lasting for four years or
 50,000 miles, whichever occurred first; and (2) maintenance warranty lasting three

 years or 36,000 miles, whichever occurred first.

       198. At all times during her possession of the vehicle, Plaintiff Urben has
 properly maintained and serviced her Class Vehicle according to Volvo’s

 recommended maintenance guidelines.

       199. In the summer of 2020, the low oil level light illuminated frequently.

 On August 3, 2020, Plaintiff Urben called Bobby Rahal Volvo to discuss the oil

 consumption issue in her vehicle and brought her vehicle in for diagnosis and repair

 the next day. The dealership did not repair her vehicle and blamed any oil
 consumption issue on the high mileage of the vehicle, which was approximately

 100,000 miles.

       200. On August 17, 2020, Plaintiff Urben called VCNA to complain about

 the issue in her vehicle and the dealership’s response. VCNA arranged for the

 dealership to inspect and repair her vehicle. On August 27, 2020, Plaintiff Urben

 provided the complete service records of her vehicle to the dealership to prove she

 had properly maintained the vehicle.

       201. On September 11, 2020, the dealership replaced all the piston rings in

 her vehicle at VCNA’s direction. In July 2021, while traveling in North Carolina,

 the low oil level light illuminated again, and her vehicle hesitated when she
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 attempted to accelerate. Plaintiff Urben ultimately called Bobby Rahal Volvo after
 she returned home, which recommended her vehicle be towed to the dealership for

 diagnosis and repair. The dealership performed an oil consumption test in August

 and September 2021 and informed Plaintiff Urben that her vehicle was functioning
 normally. VCNA also called Plaintiff Urben, because it had noticed she had taken

 her vehicle in again to Bobby Rahal Volvo for oil consumption issues. Since that

 time, Plaintiff Urben’s vehicle continues to hesitate, the check engine light
 illuminates intermittently, and she fears that the oil consumption issue has not been

 adequately repaired.

       202. To date, Plaintiff Urben’s vehicle remains subject to the Piston Defect.

       203. As a result of the Piston Defect, Plaintiff Urben has lost confidence in

 the ability of her Class Vehicle to provide safe and reliable transportation for

 ordinary and advertised purposes. Further, Plaintiff Urben will be unable to rely on
 Volvo’s advertising or labeling in the future, and so will not purchase or lease

 another vehicle from Volvo in the future, though she would like to do so.

       204. At all times, Plaintiff Urben, like other class members, has attempted

 to drive her vehicle in a manner that was both foreseeable and in which it was

 intended to be used. At all times, she has not abused her vehicle or used it for

 purposes unintended by Volvo such as drag racing, for example. The Piston Defect

 has rendered her vehicle unsafe and unfit to be used as Volvo intended.




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 Plaintiffs Christopher and Melissa Johnson

       205. Plaintiffs Christopher and Melissa Johnson (“Johnson”) are citizens of

 Florida, domiciled in Land O’ Lakes, Florida.

       206. In or around December 2015, Plaintiffs Johnson purchased a new

 (demo) 2015 Volvo S60 with approximately 6,000 miles on the odometer and
 equipped with a 2.0L 4-cylinder engine with engine code B4204T11 from Volvo of

 Tampa Bay, an authorized Volvo dealership located in Tampa Bay, Florida.

       207. Plaintiffs Johnson purchased their vehicle primarily for personal,

 family, or household use.

       208. Passenger safety and reliability were important factors in Plaintiffs

 Johnsons’ decision to purchase their vehicle.        Before purchasing the vehicle,

 Plaintiffs Johnson researched the vehicle generally through Google; reviewed the

 Monroney sticker (the “window sticker”) which listed the 2.0L engine as a

 component, visited Volvo’s website and the dealership’s website, spoke to the
 authorized salesperson at the dealership, and test-drove the vehicle. Plaintiffs

 Johnson selected and ultimately purchased their Class Vehicle because the vehicle

 was represented to be, and was marketed as, a high-quality vehicle capable of

 providing safe, reliable transportation. The purchase was made in part on the

 advertised safety, reliability, and quality of the vehicle and its components, including

 its engine.

       209. None of the information provided to Plaintiffs Johnson disclosed any

 defects in the vehicle or its engine. Volvo’s omissions were material to Plaintiffs

 Johnson.

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        210. Had Volvo disclosed its knowledge of the Piston Defect before they
 purchased their vehicle, Plaintiffs Johnson would have seen and been aware of the

 disclosures. Indeed, Volvo’s misstatements and omissions were material to Plaintiffs

 Johnson.     Like all members of the Class, Plaintiffs Johnson would not have
 purchased their Class Vehicle, or would have paid less for the vehicle, had they

 known of the Piston Defect.

        211. In addition, at the time of Plaintiffs Johnsons’ vehicle purchase, and in
 purchasing their vehicle, they relied upon Volvo and its authorized dealerships’

 representations that the vehicle was fully functional, safe, durable, reliable, and that

 the engine operated correctly and effectively, which they heard or saw from Volvo’s

 website, the dealership website, the dealership salesperson, and the Monroney

 sticker.. Plaintiffs Johnson relied on those representations and the omission of, or

 failure to disclose, the Piston Defect, in purchasing the vehicle, and absent those
 representations and omissions, would not have purchased the vehicle, or would have

 paid less for it.

        212. At the time of their purchase, Plaintiffs Johnson received from Volvo

 several warranties, including the remainder of the: (1) bumper-to-bumper limited

 warranty lasting for four years or 50,000 miles, whichever occurred first; and (2)

 maintenance warranty lasting three years or 36,000 miles, whichever occurred first.

        213. At all times during their possession of the vehicle, Plaintiffs Johnson

 have properly maintained and serviced their Class Vehicle according to Volvo’s

 recommended maintenance guidelines.


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       214. On or around December 13, 2021, Christopher Johnson took the vehicle
 to a local mechanic, Tire Choice, after noticing that the low oil light on the dashboard

 illuminated. At the time, the vehicle had approximately 76,000 miles on the

 odometer. The mechanic at Tire Choice determined that the Johnsons’ Class Vehicle
 had many error codes, prompting Christopher Johnson to contact Volvo of Tampa

 Bay, the authorized Volvo dealership that sold the vehicle to the Johnsons. The

 dealership paid to have the Johnsons’ Class Vehicle towed to the dealership, which
 diagnosed the vehicle with a piston ring issue. The dealership attempted to reseal the

 rings by flushing the system with “sea foam” and replaced spark plugs, charging the

 Johnsons $696.99 in out-of-pocket costs. The dealership informed Christopher

 Johnson that if this repair did not resolve the issue, the piston rings would likely need

 to be repaired at a cost of approximately $6,800 to $7,500. On or around March 24,

 2022, at approximately 78,500 miles on the odometer, the vehicle’s low oil light
 illuminated again, and continued to intermittently turn on and off. On or around

 April 25, 2022, the low oil light illuminated and remained on, prompting Plaintiff

 Johnson to return the vehicle to Volvo of Tampa Bay to report the problems and

 request repairs. The dealership added two quarts of oil to the vehicle for which they

 charged $113.93, reconfirmed that the vehicle’s piston rings were failing, and stated

 that fixing the piston rings would cost the Plaintiffs Johnson approximately $9,600.

       215. To date, Plaintiffs Johnson’s vehicle remains subject to the Piston

 Defect.

       216. As a result of the Piston Defect, Plaintiffs Johnson have lost confidence

 in the ability of their Class Vehicle to provide safe and reliable transportation for
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 ordinary and advertised purposes. Further, Plaintiffs Johnson will be unable to rely
 on Volvo’s advertising or labeling in the future, and so will not purchase or lease

 another vehicle from Volvo in the future, though they would like to do so.

       217. At all times, Plaintiffs Johnson, like other class members, have
 attempted to drive their vehicle in a manner that was both foreseeable and in which

 it was intended to be used. At all times, they have not abused their vehicle or used it

 for purposes unintended by Volvo such as drag racing, for example. The Piston
 Defect has rendered their vehicle unsafe and unfit to be used as Volvo intended.

 Plaintiff Kimberly Madeja

       218. Plaintiff Kimberly Madeja is a citizen of Maryland, domiciled in

 Eldersburg, Maryland.

       219. In or around September 2015, Plaintiff Kim Madeja ordered a new 2016

 Volvo XC90 equipped with a 2.0L 4-cylinder engine with engine code B4204T27

 from Volvo via Ourisman Volvo of Frederick, an authorized Volvo dealership
 located in Frederick, Maryland. She took delivery of this vehicle and completed the

 purchase in November 2015.

       220. Plaintiff Madeja purchased her vehicle primarily for personal, family,

 or household use.

       221. Passenger safety and reliability were important factors in Plaintiff

 Madeja’s decision to purchase her vehicle. Before purchasing the vehicle, Plaintiff

 Madeja conducted general research, researched the vehicle on Google, viewed dealer

 advertisements, viewed the vehicle information on Volvo’s website, viewed internet


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 advertisements for the vehicle, reviewed the Monroney sticker (the “window
 sticker”), which listed the 2.5L engine as a component, and reviewed the sales

 documentation. Plaintiff Madeja visited two dealerships, Koons Volvo, located in

 White Marsh, Maryland, and Ourisman Volvo of Frederick, where she spoke to
 authorized salespersons and test drove the vehicle at each dealership. Plaintiff

 Madeja selected and ultimately purchased her Class Vehicle because the vehicle was

 represented to be, and was marketed as, a high-quality vehicle capable of providing
 safe, reliable transportation. The purchase was made in part on the advertised safety,

 reliability, and quality of the vehicle and its components, including its engine.

       222. None of the information provided to Plaintiff Madeja disclosed any

 defects in the vehicle or its engine. Volvo’s omissions were material to Plaintiff

 Madeja.

       223. Had Volvo disclosed its knowledge of the Piston Defect before she
 purchased her vehicle, Plaintiff Madeja would have seen and been aware of the

 disclosures. Indeed, Volvo’s misstatements and omissions were material to Plaintiff

 Madeja. Like all members of the Class, Plaintiff Madeja would not have purchased

 her Class Vehicle, or would have paid less for the vehicle, had she known of the

 Piston Defect.

       224. In addition, at the time of Plaintiff Madeja’s vehicle purchase, and in

 purchasing her vehicle, she relied upon Volvo and its authorized dealerships’

 representations, which she heard from the salesperson and in advertisements, that

 the vehicle was fully functional, safe, durable, reliable, and that the engine operated

 correctly and effectively. Plaintiff Madeja relied on those representations and the
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 omission of, or failure to disclose, the Piston Defect, in purchasing the vehicle, and
 absent those representations and omissions, would not have purchased the vehicle,

 or would have paid less for it.

       225. At the time of her purchase, Plaintiff received from Volvo several
 warranties, including: (1) bumper-to-bumper basic warranty lasting for four years or

 50,000 miles, whichever occurred first; and (2) maintenance warranty lasting three

 years or 36,000 miles, whichever occurred first.
       226. At all times during her possession of the vehicle, Plaintiff Madeja has

 properly maintained and serviced her Class Vehicle according to Volvo’s

 recommended maintenance guidelines.

       227. Beginning in 2019, when the vehicle had approximately 50,000 miles

 on the odometer, the low oil level light would illuminate frequently, and Plaintiff

 Madeja was forced to add oil in between oil changes. She complained to the
 dealership about this issue, but the dealership and its service advisors consistently

 dismissed her concerns and did not provide a diagnosis or attempt a repair.

       228. In the summer of 2021, the dealership acknowledged that Plaintiff

 Madeja’s vehicle was consuming excessive amounts of oil. Ourisman Volvo had

 possession of Plaintiff Madeja’s vehicle from November 2021 to February 2022,

 during which time the engine was partially rebuilt per Volvo’s explicit instructions,

 including a replacement of the piston heads.

       229. However, during that repair, Volvo did not authorize changing the

 spark plugs. As a result, in April 2022, the check engine light illuminated and her

 vehicle became sluggish. Plaintiff Madeja had the vehicle towed to the Ourisman
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 Volvo, which diagnosed the problem as a bad spark plug and explicitly informed her
 that Volvo had made the decision that the prior repair did not require new spark

 plugs.

          230. Plaintiff Madeja lost the use of her vehicle for over three months and
 has spent approximately $300 in out-of-pocket costs on the repair. Further, she has

 spent hundreds of dollars on oil during the two years the dealership refused to

 acknowledge the excessive oil consumption of her vehicle’s engine.
          231. To date, Plaintiff Madeja’s vehicle remains subject to the Piston Defect.

          232. As a result of the Piston Defect, Plaintiff Madeja has lost confidence in

 the ability of her Class Vehicle to provide safe and reliable transportation for

 ordinary and advertised purposes. Further, Plaintiff Madeja will be unable to rely

 on Volvo’s advertising or labeling in the future, and so will not purchase or lease

 another vehicle from Volvo in the future, though she would like to do so.
          233. At all times, Plaintiff Madeja, like other class members, has attempted

 to drive her vehicle in a manner that was both foreseeable and in which it was

 intended to be used. At all times, she has not abused her vehicle or used it for

 purposes unintended by Volvo such as drag racing, for example. The Piston Defect

 has rendered her vehicle unsafe and unfit to be used as Volvo intended.

 Defendants

          234. Defendant VCUSA an entity incorporated in Delaware with its

 principal place of business and headquarters at 1800 Volvo Pl, Mahwah, NJ 07430.




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 At this facility, VCUSA coordinates many of the United States operations of the
 Volvo brand, as well the activities of its nearly 1,000 employees.

       235. Defendant VCUSA, through its various entities, manufactures,

 markets, and distributes Volvo-branded vehicles and parts for those automobiles,
 including the Class Vehicles, in multiple locations across the United States,

 including Connecticut, Illinois, Massachusetts, Missouri, New Jersey, New York,

 Pennsylvania, South Carolina, and Texas.
       236. In order to sell vehicles to the general public, VCUSA enters into

 agreements with authorized dealerships who engage in retail sales, lease, and

 subscription contracts with consumers such as Plaintiffs. In return for the exclusive

 right to sell new and certified pre-owned Volvo-branded vehicles, authorized

 dealerships are also permitted to service and repair these vehicles under the

 warranties VCUSA’s affiliated companies provide directly to consumers who
 purchased, lease, or subscribed to new vehicles from authorized dealerships. All

 service and repair at an authorized dealership are completed according to VCUSA,

 VCNA, and Volvo AB’s instructions, issued through service manuals, technical

 bulletins knowns as “Technical Journals” (“TJs”), and other documents. Per the

 agreements between VCUSA and the authorized dealers, consumers such as

 Plaintiffs are able to receive services under the VCNA and Volvo AB-issued

 warranties at dealer locations that are convenient to them. Similarly, the agreements

 between the authorized dealership and VCUSA explicitly name the dealerships as

 VCUSA’s agents with regard to the subscription program. These agreements

 provide VCUSA with a significant amount of control over the actions of the
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 authorized dealerships, of which there are approximately 291 in the United States.
 VCUSA has contractually retained the unilateral ability to terminate the dealership’s

 agreements at any time.

         237. VCUSA is also listed as a manufacturer of Volvo-branded vehicles at
 NHTSA and is responsible for all communication with NHTSA as a result. VCUSA

 thus files TJs with NHTSA, monitors NHTSA complaints, and is the Volvo-entity

 responsible for compliance with United States automobile regulations. VCUSA also
 holds the United States copyrights for Volvo intellectual property, including

 brandings and logos. VCUSA also develops and disseminated the advertisements

 and other promotional materials relating to the Class Vehicles, as well as the content

 of the Monroney stickers and other stickers affixed to the vehicles to advertise their

 features at authorized dealerships.

         238. VCNA is an entity incorporated in Delaware with its principal place of
 business and headquarters in Rockleigh, New Jersey. At this facility, VCNA

 provides marketing, sales, parts, servicing, training to authorized dealerships in the

 United States, and also warrants the Class Vehicles.1 VCNA also oversees the

 Volvo-brand operations in Canada and Mexico.

         239. VCNA is also listed as a manufacturer of Volvo-branded vehicles at

 NHTSA along with VCUSA, one of the entities responsible for recalls. VCNA,

 along with Volvo AB, is also the issuer of the warranty given to purchasers, lessees,

 and subscribers of Volvo-branded vehicles in the United States.           VCNA, in


 1
     In vehicles which post-date the Class Vehicles, VCUSA is the named warranter.
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 conjunction with Volvo AB and VCUSA is also responsible for drafting and
 disseminating the TJs and other technical materials to Volvo dealerships in the

 United States.

       240. Defendant Volvo AB, also known as Volvo Car Corporation in the
 United States, is an entity incorporated in and registered to do business in Sweden

 with its principal place of business at Karossvagen 2 Goteborg, 418 78 Sweden.

 Goteborg, also written as Gothenburg, is also home to several of Volvo’s AB
 facilities, as well as a new gigafactory for its fully-electric cars. The engines in the

 Class Vehicles were manufactured by Volvo AB at facilities in Skovde, Sweden.

 Altogether, Volvo AB employs approximately 40,000 people. Volvo AB designs,

 engineers, manufactures, tests, markets, supplies, markets, warrants, sells, and

 distributes Volvo-branded cars and parts for those cars worldwide, including in the

 United States. Volvo AB produces and distributes over 650,000 vehicles a year. Its
 gross revenues are about $27.7 billion per year from these activities.

       241. Volvo AB is the parent corporation of VCUSA and VCNA, which are

 each wholly owned subsidiaries. For all its United States subsidiaries, including

 VCUSA and VCNA, Volvo AB provides all the technical information for the

 purpose of manufacturing, servicing, and repairing the Class Vehicles. Volvo AB

 selected Delaware as place of incorporation for its subsidiaries and chose New Jersey

 as the location of the headquarters.

       242. Volvo is deliberately opaque with the roles and responsibilities of the

 various entities. For example, both Volvo AB and VCNA are listed as warrantors

 in the warranties issued to Plaintiffs and Class Members. Both Volvo AB and
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 VCUSA are listed as copyright holders on VolvoCars.com/us. Both VCNA and
 VCUSA are listed as manufacturers and communicate with NHTSA regarding the

 safety of Volvo cars in the United States.      As such, it is extremely difficult for

 Plaintiffs and Class Members to further distinguish the roles of the three Volvo
 defendant entities.

                                   JURISDICTION
       243. This Court has original diversity jurisdiction pursuant to the Class
 Action Fairness Act, 28 U.S.C. § 1332(d)(2) (“CAFA”).

       244. This is a class action.

       245. Plaintiffs and members of the proposed Class are citizens of states

 different from the home state of Defendants.

       246. The aggregate claims of individual Class Members exceed

 $5,000,000.00 in value, exclusive of interest and costs.
       247. Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332(d).

                                       VENUE
       248. Defendants, through their business of distributing, selling, and leasing

 the Class Vehicles, have established sufficient contacts in this district such that

 personal jurisdiction is appropriate. As such, Defendants are deemed to reside in this

 district pursuant to 28 U.S.C. § 1391(c)-(d).

       249. In addition, a substantial part of the events or omissions giving rise to

 these claims took place in this District because VCUSA and VCNA both have their

 principal place of business in this District. Venue is proper in this Court pursuant to

 28 U.S.C. § 1391(b).
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                             FACTUAL ALLEGATIONS
       250. For years, Volvo has designed, manufactured, distributed, sold, and

 leased the Class Vehicles. Volvo has sold, directly or indirectly, through dealers and

 other retail outlets, thousands of Class Vehicles in New Jersey and nationwide.
 Volvo warrants and services the Class Vehicles through its nationwide network of

 authorized dealers and service providers.

       251. The engines in Class Vehicles are either 4-cylinder or 5-cylinder
 engines. The 5-cylinder engines are part of the Volvo Modular engine family and

 feature aluminum block, cylinder head, and pistons, as well as forged steel

 connecting rods. The Volvo Modular engine is related to the Ford EcoBoost engine

 and shares some components with that engine. In contrast, the 4-cylinder engines

 are part of the Volvo Engine Architecture (“VEA”) family. It also shares certain

 components with the Volvo Modular engine family, including having the same
 pistons and piston rings.

       252. As with most internal combustion engines, the pistons in these engines

 slide into the cylinder bore of an engine block, transferring the force from expanding

 gas in the cylinder to the crankshaft via the crankpin. See Figure 1 below. Pistons,

 such as the ones in the Subject Engines, are cast aluminum alloy pieces which

 conduct and transfer heat. Because aluminum expands when heated, both the piston

 and the cylinder bore must be manufactured precisely so that the piston can move

 freely without allowing the force of the combusting gas to escape.




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                                      FIGURE 1




       253. The piston head is the top of the piston, closest to the cylinder head.

 Piston rings, which are settled into the piston grooves, seal the combustion chamber,

 transfer heat to the cylinder wall, and control oil consumption. As with the piston

 itself, the piston rings must be manufactured to precise specifications, so that they

 can provide a radial fit between the cylinder wall and the piston.

       254. The Class Vehicles contain one or more design, manufacturing, and/or

 workmanship defects, including but not limited to defects to the piston rings and/or

 pistons/piston heads. Here, the piston rings cannot properly clear engine oil off the


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 side of the cylinder wall during the downstroke and instead push that oil up where it
 can coat the top of the piston head, enter the combustion chamber, and ignite. Over

 time, this continual burning of oil damages the piston rings and piston heads,

 allowing more oil to ignite and causing the power created by the combustion to be
 lost in the Subject Engines. The Piston Defect is caused by a problem in which the

 oil control ring, the lowest piston ring, does not properly allow the oil from the

 cylinder wall to drain.
         255. Specifically, the lowest piston ring – the oil control ring – has small

 holes which allow the oil scraped from the cylinder wall to drain back down into the

 oil pan. If that is ring is fit incorrectly, or if the small holes become clogged, it will

 leave a significant amount of oil on the cylinder wall, which the top piston ring – the

 compression ring, will push up the cylinder toward the piston head during the

 compression stroke and into the combustion chamber, where the oil ignites. This
 will burn and thereby fragment the piston head. Figure 22 below is a picture of a

 piston from a 4-cylinder example of the Subject Engine which shows the burnt piston

 head.




 2
  Figures 2 through 7 are screen-captures from “The Reason Some Volvo Engines
 Burn Oil Volvo Problem,” by The Volvo Guy, available at
 https://www.youtube.com/watch?v=8yJoHgwiwio (last visited April 14, 2022).
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                                     FIGURE 2




       256.   Figure 3 below is a set of pictures of a piston from a 5-cylinder example

 of the Subject Engines, again showing the burnt piston head.

                                     FIGURE 3




       257. The Piston Defect is in significant part related to the small holes in the

 lowest piston ring that can easily become clogged with carbon deposits, as shown in

 Figure 4 below. When combined with the relatively long oil change interval which

 Volvo recommends in Class Vehicles – that of 10,000 miles between oil changes –
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 this leads to significant carbon build-up which prevents oil from the cylinder wall
 from draining appropriately.

                                       FIGURE 4




       258. Minute carbon deposits are expected in the operation of an internal
 combustion engine. A properly designed and manufactured piston ring and piston

 head will take into account the accumulation of these carbon deposits in the

 circulating engine oil, which increases with the engine oil’s age. In a properly
 designated and manufactured piston set up, the lowest ring scraps the side of the

 cylinder wall, pushing the oil towards the holes. The oil then drains through those

 holes to the back of the piston ring, as shown in Figure 5 below, and is directed to
 larger holes on the piston itself which allow the oil to drain into the oil pan.

                                       FIGURE 5




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       259. Halfway through 2016, Volvo changed the piston rings and pistons, but
 did not initiate a recall. The new piston has a significantly wider bottom groove, to

 accommodate the new oil control ring that has more and much larger oil draining

 holes. See Figure 6 (piston) and Figure 7 (redesigned oil control ring). The old oil
 control ring was a slimmer, two-part piece consisting of a thin band and spring in

 the back, whereas the new oil control ring was a three-part piece, consisting of two

 rings with a shaped band in the middle providing significantly more and wider
 drainage points.

                                     FIGURE 6




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                                     FIGURE 7




       260. One result of the Piston Defect is that the engine consumes excessive

 amounts of oil. Furthermore, the damage to the piston causes immediate loss of

 compression within the engine cylinder. Over time, the consistent burning can

 damage the piston and piston rings, allowing minutes pieces of these components to

 break off and circulate throughout the fuel system of the Class Vehicles, damaging

 other engine components.
       261. Volvo acquired its knowledge of the Piston Defect within the Subject

 Engines through sources not available to Plaintiffs or Class Members, including but

 not limited to pre-release testing data, the use of the same or materially similar

 components in earlier engines which developed the Piston Defect, early consumer

 complaints about the Piston Defect to Volvo and its dealers about the Class Vehicles

 as well as other earlier model year versions of such vehicles, testing conducted in

 response to those complaints, aggregate data from Volvo’s dealers, aggregate sales



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 data of replacement piston rings, pistons, and engines, and from other internal
 sources.

       262. Presently, the Subject Engines in the Class Vehicles has caused Volvo

 to become aware of the Piston Defect through many customers’ complaints of loss
 of compression within an engine cylinder, scoring along the cylinder wall, and/or

 other forms of engine failure. All of these failures or sequelae of failures ultimately

 cause the catastrophic failure of the engine, many of them before 75,000 miles. As
 such, many customers have had to completely replace their engines prematurely.

       263. Specifically, the Subject Engines’ piston rings and pistons were

 defectively designed and/or manufactured failing to allow for proper and necessarily

 oil drainage from the cylinders, which in turn causes the piston rings and/or piston

 heads to crack, splinter, shatter, fracture, and/or break off into pieces within the

 engine cylinder when exposed to continually burning oil. In turn, this causes loss of
 compression in one or more cylinders, triggering a “check engine light” for cylinder

 misfire due to loss of engine performance. Additionally, the pistons’ constant

 engagement to tremendous forces and heat during normal engine operation will

 cause the piston head and/or piston rings to become faulty or fail, leading to

 excessive oil consumption, engine knock and/or pre-ignition, which can lead to

 undesirable pressure within the engine resulting in poor performance and engine

 damage, and oftentimes catastrophic damage.

 I.    The Piston Defect Poses a Serious Safety Concern

       264. As discussed supra, when a piston or piston suddenly and unexpectedly

 fail, the Class Vehicles immediately lose partial or total engine power. When a
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 vehicle loses partial engine power, it prevents the driver from accelerating or
 maintaining speed. If a vehicle loses total engine power, it will stall, prevent the

 driver from being able to adequately control the steering wheel and/or engaging the

 brakes properly. All of these situations drastically increase the risk of collisions,
 particularly at intersections and on highways, and puts other drivers, passengers and

 pedestrians in danger.

 II.   The Warranties Provided by Volvo for the Class Vehicles

       265. The “Volvo organization” provides warranties directly to Plaintiffs and

 consumers. This New Vehicle Limited Warranty covers “defects in material and

 workmanship,” and is limited to “four (4) years or 50,000 miles[], whichever occurs

 first.” This coverage includes the piston rings, pistons, and the engine and its other

 components.

       266. Volvo also provides a maintenance warranty, the Complimentary

 Factor Scheduled Maintenance Program, which provides that all new vehicles will

 have “the first three (3) regularly scheduled maintenance services at 10,000, 20,000

 and 30,000 miles for the first three (3) years or up to 36,000 miles provided free of

 charge.”

       267. These warranties, to the extent they have not expired, continue to

 customers who purchased previously owned Volvo vehicles.

       268. Volvo also provides a limited certified pre-owned warranty lasting

 seven years or 100,000 miles, whichever occurs first, for vehicles purchased certified

 pre-owned at an authorized Volvo dealership.


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        269. The copyright to the warranty terms is held by Volvo Car Corporation,
 the American business name for Defendant Volvo AB. In the United States,

 customers are directed to contact VCNA for customer support and assistance related

 to service and maintenance. As such, the warranty booklets provided to Plaintiffs
 and consumers by VCNA are done so with the explicit permission of Volvo AB.

        270. The full warranty terms are not presented to consumers when

 considering a Volvo purchase. Instead, the warranties are presented on a take-or-
 leave-it basis.

 III.   Volvo Had Superior and Exclusive Knowledge of the Piston Defect

        271. Since 2011, Volvo has designed, manufactured, distributed, sold, and

 leased the Class Vehicles. Because Volvo has been making the Volvo Modular

 engines since 1990, and has been designing the VEA engines since 2007, with initial

 production only beginning in 2013, Volvo was acutely aware of the engine’s

 defective pistons and piston rings that caused oil consumption well before the Class

 Vehicles were offered for sale on the market.

        272. Volvo had superior and exclusive knowledge of the Piston Defect and

 knew or should have known that the defect was not known or reasonably

 discoverable by Plaintiffs and Class Members before they purchased or leased the

 Class Vehicles.

        273. Well before Plaintiffs’ purchases of their vehicles, Volvo knew about

 the Piston Defect through sources not available to consumers, including pre-release

 testing data, early consumer complaints to Volvo and its dealers, testing conducted

 in response to those consumer complaints, high failure rates of the pistons within the
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 engines, the data demonstrating the inordinately high volume of replacement part
 sales, and other aggregate data from Volvo dealers about the problem.

       274. Volvo is experienced in the design and manufacture of consumer

 vehicles. As an experienced manufacturer, Volvo conducts tests, including pre-sale
 durability testing, on incoming components, including the pistons, to verify the parts

 are free from defect and align with Volvo’s specifications.3 Thus, Volvo knew or

 should have known the pistons within the engines were defective and prone to put
 drivers in a dangerous position due to the inherent risk of the Piston Defect.

       275. Specifically, Volvo has a robust pre-production testing process. The

 process of mass-manufacturing a vehicle begins 40 months before the first vehicle

 to be sold rolls off the manufacturing plant line. Pre-production testing takes place

 between 30 months and 12 months before. Volvo builds the first full prototype 24

 months before the start of production, a verification prototype is built at the plant
 where the vehicle is be manufactured 12 months before the start of production, and

 a pilot production vehicle is built at the same plant 3 months before the start of

 production. This last prototype verifies that the vehicle is ready for production and

 the proper after sales support processes are in place.4


 3
   Akweli Parker, How Car Testing Works, HOWSTUFFWORKS.COM,
 http://auto.howstuffworks.com/car-driving-safety/safety-regulatory-devices/car-
 testing.htm (“The idea behind car testing is that it allows manufactures to work out
 all the kinks and potential problems of a model before it goes into full
 production.”) (last viewed June 5, 2019).
 4
   See Volha Bordyk, “Analysis of software and hardware configuration
 management for pre-production vehicles – A case study at Volvo Car
 Corporation,” at 2, Chalmer University of Technology (January 2012),
 https://publications.lib.chalmers.se/records/fulltext/156295.pdf (last visited
 March 21, 2022).
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        276. Pre-production testing includes vigorous testing of the vehicle
 components, as well on-road testing of vehicles. As such, this testing would have

 revealed that the piston heads and piston rings were not adequately preventing oil

 from entering the combustion chamber, and thus, Volvo would have become aware
 of the Piston Defect.

        277. Critically, Volvo also redesigned both the piston rings and the piston

 head for the engines in Class Vehicles. These newly designed components were
 integrated into Volvo vehicles beginning in the middle of the 2016 model year, to

 prevent new vehicles from having the Piston Defect.          However, previously

 manufactured and sold vehicles were not recalled to have the new components

 installed.

        278. Instead, Volvo released numerous Technical Journals to its network of

 authorized dealership, describing the oil consumption symptom of the Piston Defect
 in affected vehicles and instructing dealerships to replace the piston rings and

 pistons.

        279. Specifically, in February 2016, Volvo issued TJ 31216, entitled “Drive-

 E: Low oil level message in Driver Information Module (DIM). This TJ was updated

 repeatedly to add additional model years and models, with updates issued in June

 2017, July 2017, November 2017, May 2019, June 2019, and January 2020. The TJ

 addresses high oil consumption in 2014-2016 S60, 2016 S60L, 2014-2016 S80,

 2015-2016 V40, 2014-2016 V60, 2014-2016 V70, 2014-2016 XC60, and 2016

 XC90 vehicles with engine codes B4204T9, B4204T10, B4204T11, B4204T12,

 B4204T19, B4204T27, B4204T15, B4204T37, and B4204T38. The TJ instructs
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 dealerships to replace the pistons and piston rings with new, differently designed
 components. The TJ explicitly states: “Note! If there are scratches in the cylinder

 bore, which are confirmed by feeling with the nail, the engine must be replaced.”

       280. Notably, TJ 31216 also warns dealerships that the pistons and piston
 rings are only to be replaced when other, less expensive fixes have been tried,

 including changing spark plugs.       The TJ references other TJs specifically to

 encourage dealerships to try the less expensive fixes which do not remedy the Piston
 Defect.

       281. In March 2019, Volvo also issued TJ 34588, entitled “High oil

 consumption. Engine 61.” This TJ addressed high oil consumption and a low oil

 pressure light illuminated with no external leakage on the B5254T12 engine. This

 engine was installed in 2013-2016 S60, 2016 S60 Cross County, 2016 S60L, 2013-

 2014 S80, 2014-2016 V60, 2015-2016 V60 Cross County, 2015-2016 XC60, and
 2016 XC70 vehicles. The TJ instructed dealerships to change the piston rings in the

 vehicles. This TJ was also issued in April 2019, June 2019, and February 2020.

       282. Volvo also would have been made aware of problems with the piston

 rings and piston because the same issue with the same or similar oil control rings

 appeared in the Si6 engines starting with model year 2010. Volvo began issuing TJs

 regarding oil consumption soon after, and eventually, had to redesign the piston rings

 to solve the problem. The redesign period of those piston rings coincides with the

 use of the faulty oil control rings in the Subject Engines.

       283. Additionally, Defendants should have learned of this widespread defect

 from the sheer number of reports received from dealerships. Volvo’s customer
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 relations department, which interacts with individual dealerships to identify
 potential common defects, has received numerous reports regarding the Piston

 Defect, even in other engines which use the same defective components. Volvo’s

 customer relations department also collects and analyzes field data including, but
 not limited to, repair requests made at dealerships, technical reports prepared by

 engineers who have reviewed vehicles for which warranty coverage is being

 requested, parts sales reports, and warranty claims data.
       284. VCNA’s warranty department similarly analyzes and collects data

 submitted by its dealerships to identify warranty trends in its vehicles. It is VCNA’s

 policy that when a repair is made under warranty the dealership must provide VCNA

 with detailed documentation of the problem and a complete disclosure of the repairs

 employed to correct it. Dealerships have an incentive to provide detailed information

 to Defendants, because they will not be reimbursed for any repairs unless the
 justification for reimbursement is sufficiently detailed. As a result of analyzing the

 requests for warranty repairs, Defendants would have learned about the ongoing

 nature of the Piston Defect.

       285. Federal law requires automakers like Volvo to be in close contact with

 NHTSA regarding potential auto defects, including imposing a legal requirement

 (backed by criminal penalties) compelling the confidential disclosure of defects and

 related data by automakers to NHTSA, including field reports, customer complaints,

 and warranty data. See TREAD Act, Pub. L. No. 106-414, 114 Stat.1800 (2000).

       286. Automakers have a legal obligation to identify and report emerging

 safety-related defects to NHTSA under the Early Warning Report requirements. Id.
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 Similarly, automakers monitor NHTSA databases for consumer complaints
 regarding their automobiles as part of their ongoing obligation to identify potential

 defects in their vehicles, including those which are safety-related. Id. Thus, Volvo

 knew or should have known of the many complaints about the Piston Defect logged
 by NHTSA ODI. The content, consistency, and disproportionate number of those

 complaints alerted, or should have alerted, Volvo to the Piston Defect in the Subject

 Engine as early as 2014.
       287. With respect solely to the Class Vehicles, Exhibit A, attached to this

 Complaint, contains a representative sampling of the many complaints concerning

 the   Piston   Defect      which   are   available   through   NHTSA’s      website,

 www.NHTSA.gov. Many of the complaints reveal that Volvo, through its network

 of dealers and repair technicians, had been made aware of the Piston Defect. In

 addition, the complaints indicate that despite having knowledge of the Piston Defect
 and even armed with knowledge of the exact vehicles affected, Volvo often refused

 to diagnose the defect or otherwise attempt to repair it while Class Vehicles were

 still under warranty, instead changing spark plugs and coil packs, significantly less

 expensive repairs.

       288. In addition to Volvo’s review of NHTSA complaints, discovery will

 show that Volvo’s internal consumer relations department and/or online reputation

 management services routinely monitor the internet for complaints about its

 products, including complaints posted on consumer forums and other social media

 websites. The fact that so many customers made similar complaints put Volvo on

 notice of the Piston Defect. Exhibit B, attached to the Complaint, contains some
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 examples of complaints regarding the Pistons Defect on consumer boards (errors in
 original).

         289. A significant portion of Volvo’s technical instructions to dealerships

 are only available on proprietary Volvo software and systems.              Dealership
 technicians are instructed by VCNA-given trainings how to use this software, which

 provides guided, step-by-step instructions on diagnosing, repairing, and

 communicating with consumers about problems with their vehicles. Technicians at
 Volvo authorized dealerships are also routinely instructed to open technical cases

 with VCNA regarding certain repairs and to follow the instructions given by VCNA

 and/or VCUSA. As a result, discovery will show that that Volvo has hundreds, if

 not thousands of cases in its records showing consumer and dealer complaints about

 piston ring and/or piston failure, and that Volvo has instructed dealerships to replace

 the piston rings, the pistons, and even the engine block itself as a result of those
 failures.

         290. The existence of the Piston Defect is a material fact that a reasonable

 consumer would consider when deciding whether to purchase or lease a Class

 Vehicle. Had Plaintiffs and other Class Members known of the Piston Defect, they

 would have paid less for the Class Vehicles or would not have purchased or leased

 them.

         291. Reasonable consumers, like Plaintiffs, expect that a vehicle’s engine is

 safe, will function in a manner that will not pose a safety risk, and is free from

 defects. Plaintiffs and Class Members further reasonably expect that Volvo will not

 sell or lease vehicles with known safety defects, such as the Piston Defect, and will
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 disclose any such defects to its consumers when it learns of them. They did not
 expect Volvo to conceal and fail to disclose the Piston Defect to them, and fail to

 recall the defective piston rings and pistons once they were redesigned.

       292. Specifically, Volvo did not disclose its knowledge of the Piston Defect
 and its associated safety risk in commercials, brochures, or press release touting the

 Subject Engines or the Class Vehicles. Volvo further did not disclose the Piston

 Defect on the Monroney Stickers affixed to Plaintiffs’ and Class Members’ vehicles,
 even though Volvo touted its “Accolades” including whether the vehicle was

 Insurance Institute for Highway Safety (IIHS) Top Safety Pick such as the window

 sticker for Plaintiffs Fergusons’ vehicle. Even those vehicles which were not IIHS

 Top Safety Picks had window stickers with enough room to invite consumer to “join

 the conversation” about Volvo or purchase Volvo accessories for their vehicles yet

 did not reveal the Piston Defect, such as the sticker for Plaintiff Urben’s vehicle.
 See Figure 8, below.




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                                      FIGURE 8




       293. Instead, Volvo quietly redesigned the piston rings and pistons in the

 Subject Engines and failed to issue a recall.

 IV.   Volvo Has Actively Concealed the Piston Defect

       294. Despite its knowledge of the Piston Defect in the Class Vehicles, Volvo

 actively concealed the existence and nature of the defect from Plaintiffs and Class

 Members. Specifically, Volvo failed to disclose or actively concealed at and after

 the time of purchase, lease, or repair:




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             (a)    any and all known material defects or material nonconformity of
                    the Class Vehicles, including the defects pertaining to the pistons

                    within the Subject Engines;

             (b)    that the Class Vehicles, including the pistons, were not in good
                    in working order, were defective, and were not fit for their

                    intended purposes; and

             (c)    that the Class Vehicles and the pistons were defective, despite
                    the fact that Volvo learned of such defects as early as early 2012.

       295. When consumers present their Class Vehicles to an authorized Volvo

 dealer for piston related repairs, rather than repair the problem under warranty,

 Volvo dealers choose to inform consumers that their vehicles are functioning

 properly, conduct repairs that merely mask the Piston Defect, or fail to provide

 service stating that such damage is not covered under warranty. In this manner,
 Volvo avoids paying for warranty repairs and unlawfully transfers the cost of the

 Piston Defect to Plaintiffs and other consumers.

       296. In particular, Volvo explicitly informs dealerships that oil consumption

 tests are necessary to prove excessive oil consumption even when consumers report

 that the low oil light illuminates frequently before oil change intervals.        Oil

 consumption tests involve changing the oil in a vehicle and having the consumer

 drive it for thousands of miles before being measured, a time-consuming task that

 potentially further damages engines.

       297. Volvo has further informed dealerships that warranty replacement of

 piston rings and pistons will not be authorized until other potential fixes for
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 excessive oil consumption are tried, even though Volvo is well-aware of the Piston
 Defect and its cause and knows such fixes are useless. However, replacement of

 coil packs or spark plugs is significantly cheaper and Volvo hopes that the warranty

 duration will lapse before the consumer is aware that they did not receive a
 permanent fix.

       298. However, some technicians do acknowledge that the Piston Defect

 exists, as experienced by certain Plaintiffs. They say it is a “known defect.” Despite
 this, Volvo has not issued any communications to Class Members acknowledging

 the Piston Defect, continuing to allow vehicles with a known safety risk to remain

 on the road, and to expend their own monies fixing a problem that was solved by

 Volvo no later than mid-2016.

       299. Volvo has caused Class Members to expend money at its dealerships to

 diagnose, repair or replace the Class Vehicles’ pistons and/or related components,
 despite Volvo’s knowledge of the Piston Defect.

 V.    The Agency Relationship between VCNA and its Network of Authorized
       Dealerships

       300. In order to sell vehicles to the general public, VCNA and/or Volvo AB

 enters into agreements with its nationwide network of authorized dealerships to

 engage in retail sales with consumers such as Plaintiffs. Indeed, the warranties

 themselves refer to the dealerships as “retailers.” In return for the exclusive right to

 sell new, Volvo-branded vehicles, the authorized dealerships are also permitted

 under these agreements with Volvo to service and repair these vehicles under the

 warranties Volvo provides directly to consumers who purchased new vehicles from

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 the authorized dealerships. These agreements require a dealership to follow the rules
 and policies of Volvo in all aspects of the dealership’s business, including in

 appearance of the dealership itself, advertising, customer services, delivering

 Volvo’s warranties to consumers, and performing recalls and warranty repairs on
 Volvo’s behalf.     Authorized Volvo dealerships are told they are Volvo’s

 representatives to the consumer and are instructed to behave accordingly. Failure of

 the dealership to behave according to rules and policies of Volvo will result in Volvo
 terminating the relationship, which is permitted to do unilaterally.

       301. As such, Volvo’s authorized dealerships are Volvo’s agents, and the

 consumers who purchase or lease Volvo vehicles are the third-party beneficiaries of

 these dealership agreements, which allow the consumers to purchase and service

 their Volvo vehicles locally. Because Plaintiffs and members of the Class there are

 third-party beneficiaries of the dealership agreements which create the implied
 warranty, they may avail themselves of the implied warranty. This is true because

 third-party beneficiaries to contracts between other parties that create an implied

 warranty of merchantability may avail themselves of the implied warranty. See In re

 Toyota Motor Corp. Unintended Acceleration Mktg., Sales Practices, & Prod. Liab.

 Litig., 754 F. Supp. 2d 1145, 1185 (C.D. Cal. 2010).

       302. Further, Plaintiffs and each of the members of the Class are the intended

 beneficiaries of Volvo’s express and implied warranties. The dealers were not

 intended to be the ultimate consumers of the Class Vehicles, and they have no rights

 under the warranty agreements provided by Volvo. Volvo’s warranties were

 designed for and intended to benefit the consumers only. The consumers are the true
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 intended beneficiaries of Volvo’s express and implied warranties, and the consumers
 may therefore avail themselves of those warranties.

       303. Volvo issued the express warranty to the Plaintiffs and the Class

 members. Volvo also developed and disseminated the owner’s manual and warranty
 booklets, advertisements, and other promotional materials relating to the Class

 Vehicles. Volvo also is responsible for the content of the Moroney Stickers on

 Volvo-branded vehicles. Because Volvo issues the express warranty directly to the
 consumers, the consumers are in direct privity with Volvo with respect to the

 warranties.

       304. In promoting, selling, and repairing its defective vehicles, Volvo acts

 through numerous authorized dealers who act, and represent themselves to the

 public, as exclusive Volvo representatives and agents. That the dealers act as

 Volvo’s agents is demonstrated by the following facts:
               (a)   The authorized Volvo dealerships complete all service and repair

                     according to Volvo’s instructions, which Volvo issues to its

                     authorized dealerships through service manuals, technical

                     service bulletins (“TSBs”), and other documents, often only

                     accessible via Volvo’s proprietary computer systems referenced

                     in many of the TSBs;

               (b)   Consumers are able to receive services under Volvo’s issued

                     New Vehicle Limited Warranty only at Volvo’s authorized

                     dealerships, and they are able to receive these services because

                     of the agreements between Volvo and the authorized dealers.
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                   These agreements provide Volvo with a significant amount of
                   control over the actions of the authorized dealerships;

             (c)   The warranties provided by Volvo for the defective vehicles

                   direct consumers to take their vehicles to authorized dealerships
                   for repairs or services;

             (d)   Volvo dictates the nature and terms of the purchase contracts

                   entered into between its authorized dealers and consumers;
             (e)   Volvo controls the way in which its authorized dealers can

                   respond to complaints and inquiries concerning defective

                   vehicles, and the dealerships are able to perform repairs under

                   warranty only with Volvo’s authorization;

             (f)   Volvo has entered into agreements and understandings with its

                   authorized dealers pursuant to which it authorizes and exercises
                   substantial control over the operations of its dealers and the

                   dealers' interaction with the public;

             (g)   Volvo implemented its express and implied warranties as they

                   relate to the defects alleged herein by instructing authorized

                   Volvo dealerships to address complaints of the Defect by

                   prescribing and implementing the relevant TJs cited herein; and

             (h)   Volvo’s authorized dealerships are able to bind Volvo into the

                   terms of the express warranties by selling vehicles to the public,

                   by reviewing the quality of used Volvo vehicles and certifying


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                    their worthiness to receive Volvo’s Certified Pre-Owned
                    Warranties.

              (i)   Indeed, Volvo’s warranty booklets make it abundantly clear that

                    Volvo’s authorized dealerships are Volvo’s agents for vehicle
                    sales, service, and to receive repairs from Volvo under the

                    warranties it provides directly to consumers such as Plaintiffs.

                    The booklets, which are plainly written for the consumers, not
                    the dealerships, tell the consumers repeatedly to seek repairs and

                    assistance at its “your retailer.” For example, the booklets state,

                    “[s]hould you have any questions concerning service of your

                    Volvo’s performance, your retailer will be happy to answer them

                    for you.”

              (j)   Further, warranty repairs “will be performed by an authorized
                    Volvo retailer” and “[t]o obtain repairs under warranty, contact

                    an authorized Volvo retailer and explain the condition.”

       305. The booklets direct Plaintiffs and class members, should they believe a

 situation has not been addressed to their satisfaction, to first “[d]iscuss the matter

 with the appropriate department manager at the retail facility” before “discuss[ing]

 the matter with the General Manager.” Next, Plaintiffs and class members are

 directed to contact Volvo directly through Volvo’s Customer Care Center.

       306. Accordingly, as the above paragraphs demonstrate, the authorized

 dealerships are agents of Volvo. Plaintiffs and each of the members of the Class have

 had sufficient direct dealings with either Volvo or its agent dealerships to establish
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 privity of contract between Volvo, on one hand, and Plaintiffs and each of the
 members of the Class, on the other hand. This establishes privity with respect to the

 express and implied warranty between Plaintiffs and Volvo.

 VI.   Volvo Has Unjustly Retained A Substantial Benefit

       307. Volvo unlawfully failed to disclose the Piston Defect to induce Plaintiff

 sand other Class Members to purchase or lease the Class Vehicles.
       308. Volvo thus engaged in deceptive acts or practices pertaining to all

 transactions involving the Class Vehicles, including Plaintiffs’.

       309. Volvo unlawfully induced Plaintiffs and class members to purchase

 their respective Class Vehicles by concealing a material fact (the defective

 pistons/piston rings within the Subject Engines). Had Plaintiffs and class members

 known of the subject defect, they would have paid less for the Class Vehicles or

 would or not have purchased them at all.

       310. Accordingly, Volvo’s ill-gotten gains, benefits accrued in the form of

 increased sales and profits resulting from the material omissions that did - and likely

 will continue to - deceive consumers, should be disgorged.

               TOLLING OF THE STATUTE OF LIMITATIONS
       311. Any applicable statute(s) of limitations have been tolled by Volvo’s

 knowing and active concealment and denial of the facts alleged herein. Plaintiff and

 members of the Class could not have reasonably discover the true, latent nature of

 the Piston Defect until shortly before this action was commenced.

       312. In addition, even after Class Members contacted Defendant VCNA

 and/or its authorized agent dealerships for vehicle repairs within the statute of
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 limitations for repairs concerning the Piston Defect and its symptoms, they were
 routinely told that the Class Vehicles were not defective, that oil consumption was

 normal, and/or given illusory repairs.

       313. Defendants were and remain under a continuing duty to disclose
 Plaintiff and Class Members the true character, quality, and nature of the Class

 Vehicles because they had superior knowledge of the Piston Defect and its

 associated safety risk, provided partial disclosures about the functionality and ability
 of the Class Vehicles to provide safe, reliable transportation, and the facts about the

 Piston Defect were not reasonably discoverable by Plaintiff and the Class.

                         CLASS ACTION ALLEGATIONS
       314. Plaintiffs bring this lawsuit as a class action on behalf of themselves

 and all others similarly situated as members of the proposed Class pursuant to

 Federal Rules of Civil Procedure 23(a) and 23(b)(3). This action satisfies the
 numerosity, commonality, typicality, adequacy, predominance, and superiority

 requirements of those provisions.

       315. The Class and Sub-Class are defined as:
              Class: All individuals in the United States who purchased or leased
              any 2013-2016 Volvo vehicle equipped with the Subject Engines
              (“Class Vehicles.”)
              Connecticut Sub-Class: All members of the Class who purchased a
              Class Vehicle in the State of Connecticut.
              Florida Sub-Class: All members of the Class who purchased a Class
              Vehicle in the State of Florida.
              Illinois Sub-Class: All members of the Class who purchased a Class
              Vehicle in the State of Illinois.


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              Maryland Sub-Class: All members of the Class who purchased a Class
              Vehicle in the State of Maryland.
              Massachusetts Sub-Class: All members of the Class who purchased a
              Class Vehicle in the Commonwealth of Massachusetts.
              Missouri Sub-Class: All members of the Class who purchased a Class
              Vehicle in the State of Missouri.
              New York Sub-Class: All members of the Class who purchased a Class
              Vehicle in the State of New York.
              Pennsylvania Sub-Class: All members of the Class who purchased a
              Class Vehicle in the Commonwealth of Pennsylvania.
              South Carolina Sub-Class: All members of the Class who purchased
              a Class Vehicle in the State of South Carolina.
              Texas Sub-Class: All members of the Class who purchased a Class
              Vehicle in the State of Texas.

       316. Excluded from the Class and Sub-Classes are: (1) Defendants, any

 entity or division in which Defendants have a controlling interest, and their legal

 representatives, officers, directors, assigns, and successors; (2) the Judge to whom
 this case is assigned and the Judge’s staff; (3) any Judge sitting in the presiding state

 and/or federal court system who may hear an appeal of any judgment entered; and

 (4) those persons who have suffered personal injuries as a result of the facts alleged

 herein. Plaintiffs reserve the right to amend the Class and Sub-Class definitions if

 discovery and further investigation reveal that the Class and Sub-Class should be

 expanded or otherwise modified.

       317. Numerosity:         Although the exact number of Class Members is

 uncertain, and can only be ascertained through appropriate discovery, the number is

 easily in the multiple thousands and thus significant enough such that joinder is

 impracticable. The disposition of the claims of these Class Members in a single
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 action will provide substantial benefits to all parties and to the Court. The Class
 Members are readily identifiable from information and records in Defendants’

 possession, custody, or control, as well as from records kept by the Department of

 Motor Vehicles.
       318. Typicality: Plaintiffs’ claims are typical of the claims of the Class in

 that Plaintiffs, like all Class Members, purchased or leased a Class Vehicle designed,

 manufactured, and distributed by Volvo. The representative Plaintiffs, like all Class
 Members, have been damaged by Defendants’ misconduct in that they have incurred

 or will incur the cost of repairing or replacing the defective piston rings and/or

 pistons, as well as other engine components damaged by the defective parts. Repairs

 for the Piston Defect average between $4,000 and $14,000. Furthermore, the factual

 bases of Volvo’s misconduct are common to all Class Members and represent a

 common thread resulting in injury to the Class.
       319. Commonality: There are numerous questions of law and fact common

 to Plaintiffs and the Class that predominate over any question affecting Class

 Members individually. These common legal and factual issues include the

 following:

              (a)   Whether Class Vehicles suffer from defects relating to the

                    pistons within the Subject Engines;

              (b)   Whether the defects relating to the pistons in the Subject Engines

                    constitute an unreasonable safety risk;




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             (c)   Whether Defendants knew about the defects pertaining to the
                   pistons and/or piston rings in the Subject Engines and, if so, how

                   long Defendants have known of the defect;

             (d)   Whether the defective nature of the pistons constitutes a material
                   fact;

             (e)   Whether Defendants have had an ongoing duty to disclose the

                   defective nature of the pistons in the Subject Engines to Plaintiff
                   and Class Members;

             (f)   Whether Plaintiffs and the other Class Members are entitled to

                   equitable relief, including a preliminary and/or a permanent

                   injunction;

             (g)   Whether Defendants knew or reasonably should have known of

                   the defects pertaining to the pistons within the Subject Engines
                   before it sold and leased Class Vehicles to Class Members;

             (h)   Whether Defendants should be declared financially responsible

                   for notifying the Class Members of problems with the Class

                   Vehicles and for the costs and expenses of repairing and

                   replacing the defective pistons within the Subject Engines and/or

                   its components;

             (i)   Whether Defendants are obligated to inform Class Members of

                   their right to seek reimbursement for having paid to diagnose,

                   repair, or replace their defective pistons and/or its components;


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              (j)    Whether VCNA and/or Volvo AB breached their express
                     warranties under UCC section 2301;

              (k)    Whether VCNA and/or Volvo AB breached its express warranty

                     under the laws of Connecticut, Florida, Illinois, Maryland,
                     Massachusetts, Missouri, New York, Pennsylvania, South

                     Carolina, and Texas;

              (l)    Whether Defendants breached their implied warranties under the
                     laws of Connecticut, Florida, Illinois, Maryland, Massachusetts,

                     Missouri, New York, Pennsylvania, South Carolina, and Texas;

                     and

              (m)    Whether Defendants breached the consumer protection laws of

                     Connecticut,    Florida,    Illinois,   Maryland,   Massachusetts,

                     Missouri, New York, Pennsylvania, South Carolina, and Texas.
       320. Adequate Representation:             Plaintiffs will fairly and adequately

 protect the interests of the Class Members. Plaintiffs have retained attorneys

 experienced in the prosecution of class actions, including consumer and product

 defect class actions, and Plaintiffs intend to vigorously prosecute this action.

       321. Predominance and Superiority: Plaintiffs and Class Members have

 all suffered, and will continue to suffer, harm and damages as a result of Defendants’

 unlawful and wrongful conduct. A class action is superior to other available methods

 for the fair and efficient adjudication of the controversy. Absent a class action, most

 Class Members would likely find the cost of litigating their claims prohibitively high

 and would therefore have no effective remedy. Because of the relatively small size
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 of the individual Class Members’ claims, it is likely that only a few Class Members
 could afford to seek legal redress for Defendants’ misconduct. Absent a class action,

 Class Members will continue to incur damages, and Defendants’ misconduct will

 continue unabated without remedy or relief. Class treatment of common questions
 of law and fact would also be a superior method to multiple individual actions or

 piecemeal litigation in that it will conserve the resources of the courts and the

 litigants and promote consistency and efficiency of adjudication.

                                    COUNT I
                Violation of the Magnuson-Moss Warranty Act
                           (15 U.S.C. § 2301, et seq.)
       (On Behalf of the Class, or Alternatively, all Sub-Classes against All
                                   Defendants)

       322. Plaintiffs repeat and re-allege each and every allegation contained

 above in paragraphs 1 through 314 above as if fully set forth herein.

       323. Plaintiffs brings this count on behalf of themselves and the Class, or

 alternatively, on behalf of all Sub-Classes, or on behalf of Plaintiffs individually

 against all Defendants.

       324. Plaintiffs are "consumers" within the meaning of the Magnuson-Moss

 Warranty Act, 15 U.S.C. § 2301(3).

       325. Volvo is a "supplier" and "warrantor" within the meaning of the

 Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).

       326. The Class Vehicles are "consumer products" within the meaning of the

 Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).

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       327. 15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer

 who is damaged by the failure of a warrantor to comply with a written or implied

 warranty.

       328. Defendants’ implied warranty is an "implied warranty" within the

 meaning of 15 U.S.C. § 2301(7).

       329. Defendants’ express warranty is a "written warranty" within the

 meaning of 15 U.S.C. §2301(6).

       330. Defendants breached the implied warranty and the express warranty by

 virtue of the above-described acts.

       331. Plaintiffs and the other Class Members notified Defendants of the

 breach within a reasonable time and/or were not required to do so. Volvo was also

 on notice of the Defect from, among other sources, the complaints and service

 requests it received from Class Members and its dealers.

       332. Defendants’ breach of the implied warranty and express warranty

 deprived Plaintiff and Class Members of the benefits of their bargains.

       333. Privity is not required here because Plaintiffs and each of the other

 Class Members are intended third-party beneficiaries of contracts between Volvo

 and its dealers, and specifically, of Volvo’s implied warranties. The dealers were not

 intended to be the ultimate consumers of the Class Vehicles and have no rights under




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 the warranty agreements provided with the Class Vehicles; the warranty agreements

 were designed for and intended to benefit the consumer only.

       334. Volvo breached these warranties, as described in more detail above.

 Without limitation, the Class Vehicles contain a Defect that puts vehicle occupants’

 safety in jeopardy. The Class Vehicles share a common defect in that they are

 manufactured with defective materials and/or with poor workmanship. Contrary to

 Volvo's representations about its vehicles, the Class Vehicles are defective in

 manufacture, materials and/or workmanship and are unsafe. The Class Vehicles

 share a common defect.

       335. Affording Volvo a reasonable opportunity to cure its breach of written

 warranties would be unnecessary and futile here. Indeed, Volvo has long been on

 notice of the claims of Plaintiffs and Class members and has refused to provide a

 remedy, instead placing the blame on customers or refusing to acknowledge the

 existence of the defect.

       336. At the time of sale or lease of each Class Vehicle, Volvo knew, should

 have known, or was reckless in not knowing of its misrepresentations and omissions

 concerning the Class Vehicles’ Defect and inability to perform as warranted, but

 nonetheless failed to rectify the situation and/or disclose the Defect. Under the

 circumstances, the remedies available under any informal settlement procedure

 would be inadequate and any requirement that Plaintiffs resort to an informal dispute

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 resolution procedure and/or afford Volvo a reasonable opportunity to cure its breach

 of warranties is excused and thereby deemed satisfied.

       337. Plaintiffs and the other Class members would suffer economic hardship

 if they returned their Class Vehicles but did not receive the return of all payments

 made by them. Because Volvo is refusing to acknowledge any revocation of

 acceptance and return immediately any payments made, Plaintiffs and the other

 Class members have not re-accepted their Class Vehicles by retaining them.

       338. Plaintiffs provided notice to Volvo of their intent to pursue class claims

 under the MMWA via letters dated February 10, 2022; February 16, 2022; February

 18, 2022; February 25, 2022; March 2, 2022; and March 9, 2022.

       339. The amount in controversy of Plaintiffs' individual claims meets or

 exceeds the sum of $25. The amount in controversy of this action exceeds the sum

 of $50,000, exclusive of interest and costs, computed on the basis of all claims to be

 determined in this lawsuit.

       340. Plaintiffs, individually and on behalf of all members of the Class, seek

 all damages permitted by law, in an amount to be proven at trial.


                                    COUNT II
                              Fraudulent Omission
       (On Behalf of the Class, or Alternatively, all Sub-Classes against All
                                   Defendants)

       341. Plaintiffs repeat and re-allege each and every allegation contained

 above in paragraphs 1 through 314 above as if fully set forth herein.
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       342. Plaintiffs brings this count on behalf of themselves and the Class, or

 alternatively, on behalf of all Sub-Classes, or on behalf of Plaintiffs individually

 against all Defendants.

       343. Volvo knew that the Class Vehicles suffered from an inherent Defect,

 were defectively designed and/or manufactured and were not suitable for their

 intended use.

       344. Defendants concealed from and failed to disclose to Plaintiffs and Class

 Members the defective nature of the Class Vehicles.

       345. Defendants were under a duty to Plaintiffs and Class Members to

 disclose the defective nature of the Class Vehicles because:

             a. Defendants were in a superior position to know the true state of facts

                 about the safety defect contained in the Class Vehicles;

             b. The omitted facts were material because they directly impact the

                 safety of the Class Vehicles;

             c. Defendants knew the omitted facts regarding the Defect were not

                 known to or reasonably discoverable by Plaintiffs and Class

                 Members;

             d. Defendants made partial disclosures about the quality of the Class

                 Vehicles without revealing their true defective nature; and,

             e. Defendants actively concealed the defective nature of the Class

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                 Vehicles from Plaintiffs and Class Members.

       346. The facts concealed or not disclosed by Defendants to Plaintiffs and the

 other Class Members are material in that a reasonable person would have considered

 them to be important in deciding whether to purchase or lease Defendants’ Class

 Vehicles or pay a lesser price for them. Whether a vehicle’s engine is defective,

 which can cause excessive oil consumption causing sudden shut off, premature

 engine wear, damage, and failure, is a material safety concern. Had Plaintiffs and

 Class Members known about the defective nature of the Class Vehicles, they would

 not have purchased or leased the Class Vehicles or would have paid less for them.

       347. Defendants concealed or failed to disclose the true nature of the design

 and/or manufacturing defects contained in the Class Vehicles to induce Plaintiffs

 and Class Members to act thereon. Plaintiffs and the other Class Members justifiably

 relied on Defendants’ omissions to their detriment. This detriment is evident from

 Plaintiffs' and Class Members' purchase or lease of Defendants’ defective Class

 Vehicles.

       348. Defendants continued to conceal the defective nature of the Class

 Vehicles even after Class Members began to report the problems. Indeed,

 Defendants continues to cover up and conceal the true nature of the problem today.

       349. As a direct and proximate result of Defendants’ misconduct, Plaintiffs

 and Class Members have suffered and will continue to suffer actual damages.

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 Plaintiffs and the Class reserve their right to elect either to (a) rescind their purchase

 or lease of the Defective Vehicles and obtain restitution or (b) affirm their purchase

 or lease of the Defective Vehicles and recover damages.

       350. Defendants’ acts were done maliciously, oppressively, deliberately,

 with intent to defraud, and in reckless disregard of Plaintiffs’ and the Class’s rights

 and well-being to enrich Defendants. Defendants’ conduct warrants an assessment

 of punitive damages in an amount sufficient to deter such conduct in the future,

 which amount is to be determined according to proof.


 Claims on Behalf of the Connecticut Sub-Class
                                   COUNT III
                          Breach of Express Warranty
                Conn. Gen. Stat. Ann. §§ 42a-2-313 and 42a-2A-503
                 (On Behalf of the Connecticut Sub-Class against
                        Defendants VCNA and Volvo AB)

       351. Plaintiffs repeat and re-allege each and every allegation contained

 above in paragraphs 1 through 314 above as if fully set forth herein.

       352. Plaintiff Mark Silber (“Connecticut Plaintiff”) brings this count

 individually and on behalf the Connecticut Sub-Class against Defendants VCNA

 and Volvo AB.

       353. Defendants VCNA and Volvo AB are and were at all relevant times

 “merchants” with respect to motor vehicles under Conn. Gen. Stat. Ann. §42a-2-




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 104(1) and “merchant lessees” under Conn. Gen. Stat. Ann. § 42a-2A-102(a)(27),

 and “sellers” of motor vehicles under Conn. Gen. Stat. Ann. § 42a-2-103(1)(c).

       354. With respect to leases, Defendants VCNA and Volvo AB are and were

 at all relevant times “lessors” of motor vehicles under Conn. Gen. Stat. Ann. § 42a-

 2A-102(a)(23).

       355. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of Conn. Gen. Stat. Ann. § 42a-2-105(1) and Conn. Gen. Stat. Ann. §

 42a-2A-102(a)(15).

       356. The engines were manufactured and/or installed in the Class Vehicles

 by Volvo and are covered by the express warranty.

       357. Defendants VCNA and Volvo AB provided all purchasers and lessees

 of the Class Vehicles with an express warranty described herein, which became a

 material part of the bargain. Accordingly, Defendants VCNA and Volvo AB’s

 express warranty is an express warranty under Connecticut state law.

       358. In a section entitled “Warranty Repairs,” Defendants VCNA and Volvo

 AB’s express warranty (or New Vehicle Limited Warranty (“NVLW”)) provides in

 relevant part that “[w]arranty repairs which are required as a result of defects in

 material or workmanship, and are brought to the attention of an authorized Volvo

 retailer by an owner, will be performed by an authorized Volvo retailer only at no

 charge during the warranty period.”

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       359. According to Volvo, the NVLW coverage is for “4 years/50,000

 miles[.]”

       360. Defendants VCNA and Volvo AB also provide a maintenance

 warranty, the Complimentary Factor Scheduled Maintenance Program (“Factory

 Maintenance Program”), which provides that all new vehicles will have “the first

 three (3) regularly scheduled maintenance services at 10,000, 20,000 and 30,000

 miles for the first three (3) years or up to 36,000 miles provided free of charge.”

       361. Defendants VCNA and Volvo AB’s NVLW, Factory Maintenance

 Program, and other warranties regarding the Class Vehicles formed a basis of the

 bargain that was breached when Connecticut Plaintiff and members of the

 Connecticut Sub-Class purchased or leased the Class Vehicles with the defective

 engine and/or related components.

       362. Connecticut Plaintiff and members of the Connecticut Sub-Class

 experienced defects within the warranty period. Despite the existence of the NVLW,

 Defendants VCNA and Volvo AB failed to inform Connecticut Plaintiff and

 members of the Connecticut Sub-Class that the Class Vehicles were equipped with

 defective engines and related components. When providing repairs under the

 express warranty, these repairs were ineffective and incomplete and did not provide

 a permanent repair for the Defect.




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       363. Defendants VCNA and Volvo AB breached the express warranty

 through the acts and omissions described above, including by promising to repair or

 adjust defects in materials or workmanship of any part supplied by Volvo and then

 failing to do so. Defendants VCNA and Volvo AB have not repaired or adjusted,

 and have been unable to repair or adjust, the Class Vehicles materials and

 workmanship defects.

       364. Connecticut Plaintiff and members of the Connecticut Sub-Class have

 had sufficient direct dealings with either Defendants VCNA and Volvo AB or their

 agents (i.e., dealerships and technical support) to establish privity of contract

 between Defendants VCNA and Volvo AB, on one hand, and Connecticut Plaintiff

 and each member of the Connecticut Sub-Class on the other hand. Nonetheless,

 privity is not required here because Connecticut Plaintiff and members of the

 Connecticut Sub-Class are intended third-party beneficiaries of contracts between

 Defendants VCNA and Volvo AB and their distributors and dealers, and

 specifically, of Defendants VCNA and Volvo AB’s express warranties, including

 the NVLW, the Powertrain Warranties, and any warranties provided with certified

 pre-owned vehicles. The dealers were not intended to be the ultimate consumers of

 the Class Vehicles and have rights under the warranty agreements provided with the

 Class Vehicles; the warranty agreements were designed for and intended to benefit

 the consumer only.

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         365. Any attempt by Defendants VCNA and Volvo AB to disclaim or limit

 recovery to the terms of the express warranty is unconscionable and unenforceable

 here.    Specifically, the warranty limitation is unenforceable because Volvo

 knowingly sold or leased defective products without informing consumers about the

 Defect. The time limits are unconscionable and inadequate to protect Connecticut

 Plaintiff and the members of the Connecticut Sub-Class. Among other things,

 Connecticut Plaintiff and members of the Connecticut Sub-Class did not determine

 these time limitations and/or did not know of other limitations not appearing in the

 text of the warranties, the terms of which were drafted by Defendants VCNA and

 Volvo AB and unreasonable favored Defendants VCNA and Volvo AB. A gross

 disparity in bargaining power and knowledge of the extent, severity, and safety risk

 of the Defect existed between Defendants VCNA and Volvo AB and members of

 the Connecticut Sub-Class.

         366. Further, the limited warranty promising to repair and/or correct a

 manufacturing or workmanship defect fails of its essential purpose because the

 contractual remedy is insufficient to make Connecticut Plaintiff and the members of

 the Connecticut Sub-Class whole, because Defendants VCNA and Volvo AB have

 failed and/or have refused to adequately provide the promised remedies, i.e., a

 permanent repair, within a reasonable time.




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       367. Connecticut Plaintiff was not required to notify Defendants VCNA and

 Volvo AB of the breach because affording Defendants VCNA and Volvo AB a

 reasonable opportunity to cure their breach of written warranty would have been

 futile. Defendants VCNA and Volvo AB were also on notice of the Defect from the

 complaints and service requests it received from Class Members, including those

 formal complaints submitted to NHTSA, and through other internal sources.

       368. Nonetheless, Connecticut Plaintiff and members of the Connecticut

 Sub-Class provided notice to Defendants VCNA and Volvo AB of the breach of

 express warranties when they took their vehicles to Volvo-authorized providers of

 warranty repairs. Connecticut Plaintiff also provided notice to Defendants VCNA

 and Volvo AB of their breach of express warranty by letter dated February 16, 2022.

       369. As a result of Defendants VCNA and Volvo AB’s breach of the

 applicable express warranties, owners and/or lessees of the Class Vehicles suffered,

 and continue to suffer, an ascertainable loss of money, property, and/or value of their

 Class Vehicles.

       370. As a direct and proximate result of Defendants VCNA and Volvo AB’s

 breach of express warranties, Connecticut Plaintiff and members of the Connecticut

 Sub-Class have been damaged in an amount to be determined at trial.

       371. As a result of Defendants VCNA and Volvo AB’s breach of the express

 warranty, Connecticut Plaintiff and Connecticut Sub-Class Members are entitled to

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 legal and equitable relief against Volvo, including actual damages, specific

 performance, attorney’s fees, costs of suit, and other relief as appropriate.


                                  COUNT IV
              Breach of the Implied Warranty of Merchantability
              Conn. Gen. Stat. Ann. §§ 42a-2-314 and 42a-2A-504
         (On Behalf of the Connecticut Sub-Class against all Defendants)
       372. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 as if fully set forth herein.
       373. Connecticut Plaintiff brings this count individually and on behalf of the

 Connecticut Sub-Class against all Defendants.

       374. Volvo is and was at all relevant times a “merchant” with respect to

 motor vehicles under Conn. Gen. Stat. Ann. §42a-2-104(1) and a “merchant lessee”

 under Conn. Gen. Stat. Ann. § 42a-2A-102(a)(27), and a “seller” of motor vehicles

 under Conn. Gen. Stat. Ann. § 42a-2-103(1)(c).
       375. With respect to leases, Volvo is and was at all relevant times a “lessor”

 of motor vehicles under Conn. Gen. Stat. Ann. § 42a-2A-102(a)(23).

       376. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of Conn. Gen. Stat. Ann. § 42a-2-105(1) and Conn. Gen. Stat. Ann. §

 42a-2A-102(a)(15).

       377. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under

 Conn. Gen. Stat. Ann. § 42a-2-314 and Conn. Gen. Stat. Ann. § 42a-2A-504.

       378. Volvo knew or had reason to know of the specific use for which the

 Class Vehicles were purchased or leased. Volvo directly sold and marketed Class

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 Vehicles to customers through authorized dealers, like those from whom
 Connecticut Plaintiff and members of the Connecticut Sub-Class bought or leased

 their vehicles, for the intended purpose of consumers purchasing the vehicles. Volvo

 knew that the Class Vehicles would and did pass unchanged from the authorized
 dealers to Connecticut Plaintiff and members of the Connecticut Sub-Class, with no

 modification to the defective Class Vehicles.

       379. Volvo provided Connecticut Plaintiff and members of the Connecticut
 Sub-Class with an implied warranty that the Class Vehicles and their components

 and parts are merchantable and fit for the ordinary purposes for which they were

 sold. However, the Class Vehicles are not fit for their ordinary purpose of providing

 reasonably reliable and safe transportation because, inter alia, the Class Vehicles

 and their engine suffered from an inherent defect at the time of sale and thereafter

 and are not fit for their particular purpose of providing safe and reliable
 transportation.

       380. This implied warranty included, among other things: (i) a warranty that

 the Class Vehicles that were manufactured, supplied, distributed, and/or sold by

 Volvo were safe and reliable for providing transportation; and (ii) a warranty that

 the Class Vehicles would be fit for their intended use while the Class Vehicles were

 being operated.

       381. Contrary to the applicable implied warranties, the Class Vehicles at the

 time of sale and thereafter were not fit for their ordinary and intended purpose of

 providing Plaintiffs and Class Members with reliable, durable, and safe

 transportation. Instead, the Class Vehicles were and are defective at the time of sale
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 or lease and thereafter as more fully described above. Volvo knew of this defect at
 the time these sale or lease transactions occurred.

       382. As a result of Volvo’s breach of the applicable implied warranties,

 Connecticut Plaintiff and members of the Connecticut Sub-Class suffered an
 ascertainable loss of money, property, and/or value of their Class Vehicles.

 Additionally, as a result of the Defect, Connecticut Plaintiff and members of the

 Connecticut Sub-Class were harmed and suffered actual damages in that the Class
 Vehicles are substantially certain to fail before their expected useful life has run.

       383. Volvo’s actions, as complained of herein, breached the implied

 warranty that the Class Vehicles were of merchantable quality and fit for such use

 in violation of the Uniform Commercial Code and relevant state law.

       384. Connecticut Plaintiff and members of the Connecticut Sub-Class have

 complied with all obligations under the warranty, or otherwise have been excused
 from performance of said obligations as a result of Volvo’s conduct described

 herein.

       385. Connecticut Plaintiff and members of the Connecticut Sub-Class have

 had sufficient direct dealings with either Volvo or its agents (i.e., dealerships and

 technical support) to establish privity of contract between Volvo, on one hand, and

 Connecticut Plaintiff and members of the Connecticut Sub-Class on the other hand.

 Nonetheless, privity is not required here because Connecticut Plaintiff and members

 of the Connecticut Sub-Class are intended third-party beneficiaries of contracts

 between Volvo and its distributors and dealers, and specifically, of Volvo’s express

 warranties, including the NVLW, the Powertrain Warranties, and any warranties
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 provided with certified pre-owned vehicles. The dealers were not intended to be the
 ultimate consumers of the Class Vehicles and have rights under the warranty

 agreements provided with the Class Vehicles; the warranty agreements were

 designed for and intended to benefit the consumer only.
       386. Connecticut Plaintiff and members of the Connecticut Sub-Class were

 not required to notify Volvo of the breach because affording Volvo a reasonable

 opportunity to cure its breach of warranty would have been futile. Volvo was also
 on notice of the Defect from the complaints and service requests it received from

 Connecticut Plaintiff and the Class Members and through other internal sources.

       387. Nonetheless, Connecticut Plaintiff and members of the Connecticut

 Sub-Class provided notice to Volvo of the breach of express warranties when they

 took their vehicles to Volvo-authorized provider of warranty repairs. Connecticut

 Plaintiff also provided notice to Volvo of its breach of express warranty by letter
 dated February 16, 2022.

       388. As a direct and proximate cause of Volvo’s breach, Connecticut

 Plaintiff and members of the Connecticut Sub-Class suffered damages and continue

 to suffer damages, including economic damages at the point of sale or lease and

 diminution of value of their Class Vehicles. Additionally, Connecticut Plaintiff and

 members of the Connecticut Sub-Class have incurred or will incur economic

 damages at the point of repair in the form of the cost of repair as well as additional

 losses.




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       389. As a direct and proximate result of Volvo’s breach of the implied
 warranty of merchantability, Connecticut Plaintiff and members of the Connecticut

 Sub-Class have been damaged.

                                   COUNT V
           Violations of the Connecticut Unlawful Trade Practices Act
                        Conn. Gen. Stat. § 42-110A, et seq.
         (On Behalf of the Connecticut Sub-Class against all Defendants)
       390. Plaintiffs repeat and re-allege each and every allegation contained in
 paragraphs 1 through 314 above as if fully set forth herein.

       391. Connecticut Plaintiff brings this cause of action individually and on

 behalf of the members of the Connecticut Sub-Class against all Defendants.

       392. Volvo, Connecticut Plaintiff, and Connecticut Sub-Class members are

 “persons” within the meaning of Conn. Gen. Stat. § 42-110a(3) of the Connecticut

 Unfair Trade Practices Act (“Connecticut UTPA”).
       393. Volvo engaged in “trade” or “commerce” within the meaning of Conn.

 Gen. Stat. § 42-110a(4).

       394. The Connecticut UTPA provides: “No person shall engage in unfair
 methods of competition and unfair or deceptive acts or practices in the conduct of

 any trade or commerce.” Conn. Gen. Stat. § 42-110b(a). Volvo engaged in unlawful

 trade practices, and unfair or deceptive acts or practices that violated the Connecticut

 UTPA.

       395. Volvo participated in unfair or deceptive trade practices that violated

 the Connecticut UTPA. As described below and alleged throughout the Complaint,

 by failing to disclose the Defect, by concealing the Defect, by marketing its vehicles


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 as safe, reliable, well-engineered, and of high quality, and by presenting itself as a
 reputable manufacturer that valued safety, performance and reliability, and stood

 behind its vehicles after they were sold, Volvo knowingly and intentionally

 misrepresented and omitted material facts in connection with the sale or lease of the
 Class Vehicles. Volvo systematically misrepresented, concealed, suppressed, or

 omitted material facts relating to the Class Vehicles and the Defect in the course of

 its business.
       396. Volvo also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

 suppression or omission of any material fact with intent that others rely upon such

 concealment, suppression or omission, in connection with the sale of the Class

 Vehicles.

       397. Volvo’s unfair and deceptive acts or practices occurred repeatedly in
 Volvo’s trade or business, were capable of deceiving a substantial portion of the

 purchasing public, and imposed a serious safety risk on the public.

       398. Volvo knew that the Class Vehicles suffered from an inherent defect,

 were defectively designed and/or manufactured, and were not suitable for their

 intended use.

       399. Volvo knew or should have known that its conduct violated the

 Connecticut UTPA.

       400. Volvo was under a duty to Connecticut Plaintiff and the Connecticut

 Sub-Class Members to disclose the defective nature of the Class Vehicles because:


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              (a)   Volvo was in a superior position to know the true state of facts
                    about the safety defect in the Class Vehicles;

              (b)   Volvo made partial disclosures about the quality of the Class

                    Vehicles without revealing the defective nature of the Class
                    Vehicles; and

              (c)   Volvo actively concealed the defective nature of the Class

                    Vehicles from Connecticut Plaintiff and the Connecticut Sub-
                    Class Members at the time of sale and thereafter.

       401.   By failing to disclose the Defect, Volvo knowingly and intentionally

 concealed material facts and breached its duty not to do so.

       402. The facts concealed or not disclosed by Volvo to Connecticut Plaintiff

 and the Connecticut Sub-Class Members are material because a reasonable person

 would have considered them to be important in deciding whether or not to purchase
 or lease Volvo’s Class Vehicles, or to pay less for them. Whether an engine installed

 in a vehicle will exhibit excessive oil consumption causing sudden shut off,

 premature engine wear, damage, and failure, is a material safety concern. Had

 Connecticut Plaintiff and the Connecticut Sub-Class Members known that the Class

 Vehicles suffered from the Defect described herein, they would not have purchased

 or leased the Class Vehicles or would have paid less for them.

       403. Connecticut Plaintiff and the Connecticut Sub-Class Members are

 reasonable consumers who do not expect that their vehicles will suffer from the

 Defect. That is the reasonable and objective consumer expectation for vehicles.


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       404. As a result of Volvo’s misconduct, Connecticut Plaintiff and the
 Connecticut Sub-Class Members have been harmed and have suffered actual

 damages in that the Class Vehicles are defective and require repairs or replacement.

       405. As a direct and proximate result of Volvo’s unfair or deceptive acts or
 practices, Connecticut Plaintiff and the Connecticut Sub-Class Members have

 suffered and will continue to suffer actual damages.

       406. Volvo’s violations present a continuing risk to Connecticut Plaintiff
 and the Connecticut Sub-Class Members as well as to the general public. Volvo’s

 unlawful acts and practices complained of herein affect the public interest.

       407. Connecticut Plaintiff provided notice of his claims by letter dated

 February 16, 2022.

       408. Pursuant to Conn. Gen. Stat. § 42-110g, Connecticut Plaintiff and the

 Connecticut Sub-Class seek an order enjoining Volvo’s unfair and/or deceptive acts
 or practices, and awarding damages, punitive damages, attorneys’ fees and costs,

 and any other just and proper relief available under the Connecticut UTPA.


 Claims on Behalf of the Florida Sub-Class
                                   COUNT VI
                         Breach of Express Warranty
                         F.S.A. §§ 672.313 AND 680.21
                   (On Behalf of the Florida Sub-Class against
                       Defendants VCNA and Volvo AB)

       409. Plaintiffs repeat and re-allege each and every allegation contained

 above in paragraphs 1 through 314 above as if fully set forth herein.


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       410. Plaintiffs Christopher and Melissa Johnson (“Florida Plaintiffs”) brings

 this count on behalf of themselves and the Florida Sub-Class against Defendants

 VCNA and Volvo AB.

       411. Defendants VCNA and Volvo AB are and were at all relevant times

 “merchants” with respect to motor vehicles under F.S.A. §§ 672.104(1) and

 680.1031(3)(k), and a “seller” of motor vehicles under § 672.103(1)(d).

       412. With respect to leases, Defendants VCNA and Volvo AB are and were

 at all relevant times “lessors” of motor vehicles under F.S.A. § 680.1031(1)(p).

       413. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of F.S.A. §§ 672.105(1) and 680.1031(1)(h).

       414. The engines were manufactured and/or installed in the Class Vehicles

 by Volvo and are covered by the express warranty.

       415. Defendants VCNA and Volvo AB provided all purchasers and lessees

 of the Class Vehicles with an express warranty described herein, which became a

 material part of the bargain. Accordingly, Defendants VCNA and Volvo AB’s

 express warranty is an express warranty under Connecticut state law.

       416. In a section entitled “Warranty Repairs,” Defendants VCNA and Volvo

 AB’s express warranty (or New Vehicle Limited Warranty (“NVLW”)) provides in

 relevant part that “[w]arranty repairs which are required as a result of defects in

 material or workmanship, and are brought to the attention of an authorized Volvo

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 retailer by an owner, will be performed by an authorized Volvo retailer only at no

 charge during the warranty period.”

       417. According to Volvo, the NVLW coverage is for “4 years/50,000

 miles[.]”

       418. Defendants VCNA and Volvo AB also provide a maintenance

 warranty, the Complimentary Factor Scheduled Maintenance Program (“Factory

 Maintenance Program”), which provides that all new vehicles will have “the first

 three (3) regularly scheduled maintenance services at 10,000, 20,000 and 30,000

 miles for the first three (3) years or up to 36,000 miles provided free of charge.”

       419. Defendants VCNA and Volvo AB’s NVLW, Factory Maintenance

 Program, and other warranties regarding the Class Vehicles formed a basis of the

 bargain that was breached when Florida Plaintiffs and members of the Florida Sub-

 Class purchased or leased the Class Vehicles with the defective engine and/or related

 components.

       420. Florida Plaintiffs and members of the Florida Sub-Class experienced

 defects within the warranty period. Despite the existence of the NVLW, Defendants

 VCNA and Volvo AB failed to inform Florida Plaintiffs and members of the Florida

 Sub-Class that the Class Vehicles were equipped with defective engines and related

 components. When providing repairs under the express warranty, these repairs were

 ineffective and incomplete and did not provide a permanent repair for the Defect.

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       421. Defendants VCNA and Volvo AB breached the express warranty

 through the acts and omissions described above, including by promising to repair or

 adjust defects in materials or workmanship of any part supplied by Volvo and then

 failing to do so. Defendants VCNA and Volvo AB have not repaired or adjusted,

 and have been unable to repair or adjust, the Class Vehicles materials and

 workmanship defects.

       422. Florida Plaintiffs and members of the Florida Sub-Class have had

 sufficient direct dealings with either Defendants VCNA and Volvo AB or their

 agents (i.e., dealerships and technical support) to establish privity of contract

 between Defendants VCNA and Volvo AB, on one hand, and Florida Plaintiffs and

 each member of the Florida Sub-Class on the other hand. Nonetheless, privity is not

 required here because Florida Plaintiffs and members of the Florida Sub-Class are

 intended third-party beneficiaries of contracts between Defendants VCNA and

 Volvo AB and their distributors and dealers, and specifically, of Defendants VCNA

 and Volvo AB’s express warranties, including the NVLWs, the Powertrain

 Warranties, and any warranties provided with certified pre-owned vehicles. The

 dealers were not intended to be the ultimate consumers of the Class Vehicles and

 have rights under the warranty agreements provided with the Class Vehicles; the

 warranty agreements were designed for and intended to benefit the consumer only.




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          423. Any attempt by Defendants VCNA and Volvo AB to disclaim or limit

 recovery to the terms of the express warranty is unconscionable and unenforceable

 here.     Specifically, the warranty limitation is unenforceable because Volvo

 knowingly sold or leased defective products without informing consumers about the

 Defect. The time limits are unconscionable and inadequate to protect Florida

 Plaintiffs and the members of the Florida Sub-Class. Among other things, Florida

 Plaintiffs and members of the Florida Sub-Class did not determine these time

 limitations and/or did not know of other limitations not appearing in the text of the

 warranties, the terms of which were drafted by Defendants VCNA and Volvo AB

 and unreasonably favored Defendants VCNA and Volvo AB. A gross disparity in

 bargaining power and knowledge of the extent, severity, and safety risk of the Defect

 existed between Defendants VCNA and Volvo AB and members of the Florida Sub-

 Class.

          424. Further, the limited warranty promising to repair and/or correct a

 manufacturing or workmanship defect fails of its essential purpose because the

 contractual remedy is insufficient to make Florida Plaintiffs and the members of the

 Florida Sub-Class whole, because Defendants VCNA and Volvo AB have failed

 and/or have refused to adequately provide the promised remedies, i.e., a permanent

 repair, within a reasonable time.




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       425. Florida Plaintiffs were not required to notify Defendants VCNA and

 Volvo AB of the breach because affording Defendants VCNA and Volvo AB a

 reasonable opportunity to cure their breach of written warranty would have been

 futile. Defendants VCNA and Volvo AB were also on notice of the Defect from the

 complaints and service requests it received from Class Members, including those

 formal complaints submitted to NHTSA, and through other internal sources.

       426. Nonetheless, Florida Plaintiffs and members of the Florida Sub-Class

 provided notice to Defendants VCNA and Volvo AB of the breach of express

 warranties when they took their vehicles to Volvo-authorized providers of warranty

 repairs.

       427. As a result of Defendants VCNA and Volvo AB’s breach of the

 applicable express warranties, owners and/or lessees of the Class Vehicles suffered,

 and continue to suffer, an ascertainable loss of money, property, and/or value of their

 Class Vehicles.

       428. As a direct and proximate result of Defendants VCNA and Volvo AB’s

 breach of express warranties, Florida Plaintiffs and members of the Florida Sub-

 Class have been damaged in an amount to be determined at trial.

       429. As a result of Defendants VCNA and Volvo AB’s breach of the express

 warranty, Florida Plaintiffs and Florida Sub-Class Members are entitled to legal and




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 equitable relief against Volvo, including actual damages, specific performance,

 attorney’s fees, costs of suit, and other relief as appropriate.


                                   COUNT VII
               Breach of the Implied Warranty of Merchantability
                          F.S.A. §§ 672.314 AND 680.212
            (On Behalf of the Florida Sub-Class against all Defendants)
       430. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 as if fully set forth herein.
       431. Florida Plaintiffs brings this count on behalf of themselves and the

 Florida Sub-Class against all Defendants.

       432. Volvo is and was at all relevant times a “merchant” with respect to

 motor vehicles under F.S.A. §§ 672.104(1) and 680.1031(3)(k), and a “seller” of

 motor vehicles under § 672.103(1)(d).

       433. With respect to leases, Volvo is and was at all relevant times a “lessor”
 of motor vehicles under F.S.A. § 680.1031(1)(p).

       434. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of F.S.A. §§ 672.105(1) and 680.1031(1)(h).

       435. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under

 F.S.A. §§ 672.314 and 680.212.

       436. Volvo knew or had reason to know of the specific use for which the

 Class Vehicles were purchased or leased. Volvo directly sold and marketed Class

 Vehicles to customers through authorized dealers, like those from whom Florida

 Plaintiffs and members of the Florida Sub-Class bought or leased their vehicles, for

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 the intended purpose of consumers purchasing the vehicles. Volvo knew that the
 Class Vehicles would and did pass unchanged from the authorized dealers to Florida

 Plaintiffs and members of the Florida Sub-Class, with no modification to the

 defective Class Vehicles.
       437. Volvo provided Florida Plaintiffs and members of the Florida Sub-

 Class with an implied warranty that the Class Vehicles and their components and

 parts are merchantable and fit for the ordinary purposes for which they were sold.
 However, the Class Vehicles are not fit for their ordinary purpose of providing

 reasonably reliable and safe transportation because, inter alia, the Class Vehicles

 and their engine suffered from an inherent defect at the time of sale and thereafter

 and are not fit for their particular purpose of providing safe and reliable

 transportation.

       438. This implied warranty included, among other things: (i) a warranty that
 the Class Vehicles that were manufactured, supplied, distributed, and/or sold by

 Volvo were safe and reliable for providing transportation; and (ii) a warranty that

 the Class Vehicles would be fit for their intended use while the Class Vehicles were

 being operated.

       439. Contrary to the applicable implied warranties, the Class Vehicles at the

 time of sale and thereafter were not fit for their ordinary and intended purpose of

 providing Plaintiffs and Class Members with reliable, durable, and safe

 transportation. Instead, the Class Vehicles were and are defective at the time of sale

 or lease and thereafter as more fully described above. Volvo knew of this defect at

 the time these sale or lease transactions occurred.
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       440. As a result of Volvo’s breach of the applicable implied warranties,
 Connecticut Plaintiff and members of the Connecticut Sub-Class suffered an

 ascertainable loss of money, property, and/or value of their Class Vehicles.

 Additionally, as a result of the Defect, Florida Plaintiffs and members of the Florida
 Sub-Class were harmed and suffered actual damages in that the Class Vehicles are

 substantially certain to fail before their expected useful life has run.

       441. Volvo’s actions, as complained of herein, breached the implied
 warranty that the Class Vehicles were of merchantable quality and fit for such use

 in violation of the Uniform Commercial Code and relevant state law.

       442. Florida Plaintiffs and members of the Florida Sub-Class have complied

 with all obligations under the warranty, or otherwise have been excused from

 performance of said obligations as a result of Volvo’s conduct described herein.

       443. Florida Plaintiffs and members of the Florida Sub-Class have had
 sufficient direct dealings with either Volvo or its agents (i.e., dealerships and

 technical support) to establish privity of contract between Volvo, on one hand, and

 Florida Plaintiffs and members of the Florida Sub-Class on the other hand.

 Nonetheless, privity is not required here because Florida Plaintiffs and members of

 the Florida Sub-Class are intended third-party beneficiaries of contracts between

 Volvo and its distributors and dealers, and specifically, of Volvo’s express

 warranties, including the NVLW, the Powertrain Warranties, and any warranties

 provided with certified pre-owned vehicles. The dealers were not intended to be the

 ultimate consumers of the Class Vehicles and have rights under the warranty


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 agreements provided with the Class Vehicles; the warranty agreements were
 designed for and intended to benefit the consumer only.

       444. Florida Plaintiffs and members of the Florida Sub-Class were not

 required to notify Volvo of the breach because affording Volvo a reasonable
 opportunity to cure its breach of warranty would have been futile. Volvo was also

 on notice of the Defect from the complaints and service requests it received from

 Florida Plaintiffs and the Class Members and through other internal sources.
       445. Nonetheless, Florida Plaintiffs and members of the Florida Sub-Class

 provided notice to Volvo of the breach of express warranties when they took their

 vehicles to Volvo-authorized provider of warranty repairs.

       446. As a direct and proximate cause of Volvo’s breach, Florida Plaintiffs

 and members of the Florida Sub-Class suffered damages and continue to suffer

 damages, including economic damages at the point of sale or lease and diminution
 of value of their Class Vehicles. Additionally, Florida Plaintiffs and members of the

 Florida Sub-Class have incurred or will incur economic damages at the point of

 repair in the form of the cost of repair as well as additional losses.

       447. As a direct and proximate result of Volvo’s breach of the implied

 warranty of merchantability, Florida Plaintiffs and members of the Florida Sub-

 Class have been damaged.




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                                  COUNT VIII
             Violations of the Florida Unlawful Trade Practices Act
                              F.S.A. §§ 501.201-.213
           (On Behalf of the Florida Sub-Class against all Defendants)
       448. Plaintiffs repeat and re-allege each and every allegation contained in
 paragraphs 1 through 314 above as if fully set forth herein.

       449. Florida Plaintiffs brings this cause of action on behalf of themselves

 and on behalf of the members of the Florida Sub-Class against all Defendants.

       450. Volvo’s business acts and practices alleged herein constitute unfair,

 unconscionable and/or deceptive methods, acts or practices under the Florida

 Deceptive and Unfair Trade Practices Act, § 501.201, et seq., (“FDUTPA”).

       451. At all relevant times, Florida Plaintiffs and members of the Florida Sub-

 Class were “consumers” within the meaning of the FDUTPA. F.S.A. § 501.203(7).

       452. GM’s conduct, as set forth herein, occurred in the conduct of “trade or

 commerce” within the meaning of the FDUTPA. F.S.A. § 501.203(8).

       453. FDUPTA prohibits “[u]nfair methods of competition, unconscionable

 acts or practices, and unfair or deceptive acts or practices in the conduct of any trade

 or commerce” at set forth in the statute. Fla. Stat. § 501.204(1). Breach of express

 and implied warranties constitutes an unfair or deceptive act or practice under

 FDUTPA. Volvo engaged in unlawful trade practices, and unfair or deceptive acts

 or practices that violated the FDUTPA

       454. Volvo participated in unfair or deceptive trade practices that violated

 the FDUTPA. As described below and alleged throughout the Complaint, by failing
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 to disclose the Defect, by concealing the Defect, by marketing its vehicles as safe,

 reliable, well-engineered, and of high quality, and by presenting itself as a reputable

 manufacturer that valued safety, performance and reliability, and stood behind its

 vehicles after they were sold, Volvo knowingly and intentionally misrepresented and

 omitted material facts in connection with the sale or lease of the Class Vehicles.

 Volvo systematically misrepresented, concealed, suppressed, or omitted material

 facts relating to the Class Vehicles and the Defect in the course of its business.

       455. Volvo also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

 suppression or omission of any material fact with intent that others rely upon such

 concealment, suppression or omission, in connection with the sale of the Class

 Vehicles.

       456. Volvo’s unfair and deceptive acts or practices occurred repeatedly in

 Volvo’s trade or business, were capable of deceiving a substantial portion of the

 purchasing public, and imposed a serious safety risk on the public.

       457. Volvo knew that the Class Vehicles suffered from an inherent defect,

 were defectively designed and/or manufactured, and were not suitable for their

 intended use.

       458. Volvo knew or should have known that its conduct violated the

 FDUTPA.

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       459. Volvo was under a duty to Florida Plaintiffs and the Florida Sub-Class

 Members to disclose the defective nature of the Class Vehicles because:

              (a)   Volvo was in a superior position to know the true state of facts

                    about the safety defect in the Class Vehicles;

              (b)   Volvo made partial disclosures about the quality of the Class

                    Vehicles without revealing the defective nature of the Class

                    Vehicles; and

              (c)   Volvo actively concealed the defective nature of the Class

                    Vehicles from Connecticut Plaintiff and the Connecticut Sub-

                    Class Members at the time of sale and thereafter.

       460.   By failing to disclose the Defect, Volvo knowingly and intentionally

 concealed material facts and breached its duty not to do so.

       461. The facts concealed or not disclosed by Volvo to Florida Plaintiffs and

 the Florida Sub-Class Members are material because a reasonable person would

 have considered them to be important in deciding whether or not to purchase or lease

 Volvo’s Class Vehicles, or to pay less for them. Whether an engine installed in a

 vehicle will exhibit excessive oil consumption causing sudden shut off, premature

 engine wear, damage, and failure, is a material safety concern. Had Florida Plaintiffs

 and the Florida Sub-Class Members known that the Class Vehicles suffered from the




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 Defect described herein, they would not have purchased or leased the Class Vehicles

 or would have paid less for them.

       462. Florida Plaintiffs and the Florida Sub-Class Members are reasonable

 consumers who do not expect that their vehicles will suffer from the Defect. That is

 the reasonable and objective consumer expectation for vehicles.

       463. As a result of Volvo’s misconduct, Florida Plaintiffs and the Florida

 Sub-Class Members have been harmed and have suffered actual damages in that the

 Class Vehicles are defective and require repairs or replacement.

       464. As a direct and proximate result of Volvo’s unfair or deceptive acts or

 practices, Florida Plaintiffs and the Florida Sub-Class Members have suffered and

 will continue to suffer actual damages.

       465. Volvo’s violations present a continuing risk to Florida Plaintiffs and the

 Florida Sub-Class Members as well as to the general public. Volvo’s unlawful acts

 and practices complained of herein affect the public interest.

       466. Florida Plaintiffs and the Florida Sub-Class seek an order enjoining

 Volvo’s unfair and/or deceptive acts or practices, and awarding damages, punitive

 damages, attorneys’ fees and costs, and any other just and proper relief available

 under the FDUTPA.




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 Claims on Behalf of the Illinois Sub-Class
                                    COUNT IX
                            Breach of Express Warranty
                810 ILL. COMP. STAT. §§ 5/2-313 AND 5/2A-210
  (On Behalf of the Illinois Sub-Class against Defendants VCNA and Volvo AB)

       467. Plaintiffs repeat and re-allege each and every allegation contained

 above in paragraphs 1 through 314 above as if fully set forth herein.

       468. Plaintiff Philippe Geyskens (“Illinois Plaintiff”) brings this count on

 behalf of himself and the Illinois Sub-Class against Defendants VCNA and Volvo

 AB.

       469. Defendants VCNA and Volvo AB are and were at all relevant times

 “merchants” with respect to motor vehicles under 810 Ill. Comp. Stat. §§ 5/2-104(1)

 and 5/2A-103(3), and “sellers” of motor vehicles under § 5/2-103(1)(d).

       470. With respect to leases, Defendants VCNA and Volvo AB are and were

 at all relevant times “lessors” of motor vehicles under 810 Ill. Comp. Stat. § 5/2A-

 103(1)(p).

       471. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of 810 Ill. Comp. Stat. §§ 5/2-105(1) and 5/2A-103(1)(h).

       472. The engines were manufactured and/or installed in the Class Vehicles

 by Volvo and are covered by the express warranty.

       473. Defendants VCNA and Volvo AB provided all purchasers and lessees

 of the Class Vehicles with an express warranty described herein, which became a

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 material part of the bargain. Accordingly, Defendants VCNA and Volvo AB’s

 express warranty is an express warranty under Illinois state law.

       474. In a section entitled “Warranty Repairs,” Defendants VCNA and Volvo

 AB’s express warranty (or New Vehicle Limited Warranty (“NVLW”)) provides in

 relevant part that “[w]arranty repairs which are required as a result of defects in

 material or workmanship, and are brought to the attention of an authorized Volvo

 retailer by an owner, will be performed by an authorized Volvo retailer only at no

 charge during the warranty period.”

       475. According to Volvo, the NVLW coverage is for “4 years/50,000

 miles[.]”

       476. Defendants VCNA and Volvo AB also provide a maintenance

 warranty, the Complimentary Factor Scheduled Maintenance Program (“Factory

 Maintenance Program”), which provides that all new vehicles will have “the first

 three (3) regularly scheduled maintenance services at 10,000, 20,000 and 30,000

 miles for the first three (3) years or up to 36,000 miles provided free of charge.”

       477. Defendants VCNA and Volvo AB’s NVLW, Factory Maintenance

 Program, and other warranties regarding the Class Vehicles formed a basis of the

 bargain that was breached when Illinois Plaintiff and members of the Illinois Sub-

 Class purchased or leased the Class Vehicles with the defective engine and/or related

 components.

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       478. Illinois Plaintiff and members of the Illinois Sub-Class experienced

 defects within the warranty period. Despite the existence of the NVLW, Defendants

 VCNA and Volvo AB failed to inform Illinois Plaintiff and members of the Illinois

 Sub-Class that the Class Vehicles were equipped with defective engines and related

 components. When providing repairs under the express warranty, these repairs were

 ineffective and incomplete and did not provide a permanent repair for the Defect.

       479. Defendants VCNA and Volvo AB breached the express warranty

 through the acts and omissions described above, including by promising to repair or

 adjust defects in materials or workmanship of any part supplied by Volvo and then

 failing to do so. Defendants VCNA and Volvo AB have not repaired or adjusted,

 and have been unable to repair or adjust, the Class Vehicles materials and

 workmanship defects.

       480. Illinois Plaintiff and members of the Illinois Sub-Class have had

 sufficient direct dealings with either Defendants VCNA and Volvo AB or their

 agents (i.e., dealerships and technical support) to establish privity of contract

 between Defendants VCNA and Volvo AB, on one hand, and Illinois Plaintiff and

 each member of the Illinois Sub-Class on the other hand. Nonetheless, privity is not

 required here because Illinois Plaintiff and members of the Illinois Sub-Class are

 intended third-party beneficiaries of contracts between Defendants VCNA and

 Volvo AB and their distributors and dealers, and specifically, of Defendants VCNA

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 and Volvo AB’s express warranties, including the NVLW, the Powertrain

 Warranties, and any warranties provided with certified pre-owned vehicles. The

 dealers were not intended to be the ultimate consumers of the Class Vehicles and

 have rights under the warranty agreements provided with the Class Vehicles; the

 warranty agreements were designed for and intended to benefit the consumer only.

          481. Any attempt by Defendants VCNA and Volvo AB to disclaim or limit

 recovery to the terms of the express warranty is unconscionable and unenforceable

 here.     Specifically, the warranty limitation is unenforceable because Volvo

 knowingly sold or leased defective products without informing consumers about the

 Defect. The time limits are unconscionable and inadequate to protect Illinois

 Plaintiff and the members of the Illinois Sub-Class. Among other things, Illinois

 Plaintiff and members of the Illinois Sub-Class did not determine these time

 limitations and/or did not know of other limitations not appearing in the text of the

 warranties, the terms of which were drafted by Defendants VCNA and Volvo AB

 and unreasonable favored Defendants VCNA and Volvo AB. A gross disparity in

 bargaining power and knowledge of the extent, severity, and safety risk of the Defect

 existed between Defendants VCNA and Volvo AB and members of the Illinois Sub-

 Class.

          482. Further, the limited warranty promising to repair and/or correct a

 manufacturing or workmanship defect fails of its essential purpose because the

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 contractual remedy is insufficient to make Illinois Plaintiff and the members of the

 Illinois Sub-Class whole, because Defendants VCNA and Volvo AB have failed

 and/or have refused to adequately provide the promised remedies, i.e., a permanent

 repair, within a reasonable time.

       483. Illinois Plaintiff was not required to notify Defendants VCNA and

 Volvo AB of the breach because affording Defendants VCNA and Volvo AB a

 reasonable opportunity to cure their breach of written warranty would have been

 futile. Defendants VCNA and Volvo AB were also on notice of the Defect from the

 complaints and service requests it received from Class Members, including those

 formal complaints submitted to NHTSA, and through other internal sources.

       484. Nonetheless, Illinois Plaintiff and members of the Illinois Sub-Class

 provided notice to Defendants VCNA and Volvo AB of the breach of express

 warranties when they took their vehicles to Volvo-authorized providers of warranty

 repairs. Illinois Plaintiff also provided notice to Defendants VCNA and Volvo AB

 of their breach of express warranty by letter dated February 18, 2022.

       485. As a result of Defendants VCNA and Volvo AB’s breach of the

 applicable express warranties, owners and/or lessees of the Class Vehicles suffered,

 and continue to suffer, an ascertainable loss of money, property, and/or value of their

 Class Vehicles.




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       486. As a direct and proximate result of Defendants VCNA and Volvo AB’s

 breach of express warranties, Illinois Plaintiff and members of the Illinois Sub-Class

 have been damaged in an amount to be determined at trial.

       487. As a result of Defendants VCNA and Volvo AB’s breach of the express

 warranty, Illinois Plaintiff and Illinois Sub-Class Members are entitled to legal and

 equitable relief against Volvo, including actual damages, specific performance,

 attorney’s fees, costs of suit, and other relief as appropriate.


                                     COUNT X
               Breach of the Implied Warranty of Merchantability
                810 ILL. COMP. STAT. §§ 5/2-314 AND 5/2A-212
            (On Behalf of the Illinois Sub-Class against all Defendants)


       488. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 as if fully set forth herein.

       489. Illinois Plaintiff brings this count on behalf of himself and the Illinois

 Sub-Class against all Defendants.

       490. Volvo is and was at all relevant times a “merchant” with respect to

 motor vehicles under 810 Ill. Comp. Stat. §§ 5/2-104(1) and 5/2A-103(3), and a

 “seller” of motor vehicles under § 5/2-103(1)(d).

       491. With respect to leases, Volvo is and was at all relevant times a “lessor”

 of motor vehicles under 810 Ill. Comp. Stat. § 5/2A-103(1)(p).



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       492. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of 810 Ill. Comp. Stat. §§ 5/2-105(1) and 5/2A-103(1)(h).

       493. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under 810

 Ill. Comp. Stat. §§ 5/2-314 and 5/2A-212.

       494. Volvo knew or had reason to know of the specific use for which the

 Class Vehicles were purchased or leased. Volvo directly sold and marketed Class

 Vehicles to customers through authorized dealers, like those from whom Illinois

 Plaintiff and members of the Illinois Sub-Class bought or leased their vehicles, for

 the intended purpose of consumers purchasing the vehicles. Volvo knew that the

 Class Vehicles would and did pass unchanged from the authorized dealers to Illinois

 Plaintiff and members of the Illinois Sub-Class, with no modification to the defective

 Class Vehicles.

       495. Volvo provided Illinois Plaintiff and members of the Illinois Sub-Class

 with an implied warranty that the Class Vehicles and their components and parts are

 merchantable and fit for the ordinary purposes for which they were sold. However,

 the Class Vehicles are not fit for their ordinary purpose of providing reasonably

 reliable and safe transportation because, inter alia, the Class Vehicles and their

 engine suffered from an inherent defect at the time of sale and thereafter and are not

 fit for their particular purpose of providing safe and reliable transportation.

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       496. This implied warranty included, among other things: (i) a warranty that

 the Class Vehicles that were manufactured, supplied, distributed, and/or sold by

 Volvo were safe and reliable for providing transportation; and (ii) a warranty that

 the Class Vehicles would be fit for their intended use while the Class Vehicles were

 being operated.

       497. Contrary to the applicable implied warranties, the Class Vehicles at the

 time of sale and thereafter were not fit for their ordinary and intended purpose of

 providing Plaintiffs and Class Members with reliable, durable, and safe

 transportation. Instead, the Class Vehicles were and are defective at the time of sale

 or lease and thereafter as more fully described above. Volvo knew of this defect at

 the time these sale or lease transactions occurred.

       498. As a result of Volvo’s breach of the applicable implied warranties,

 Illinois Plaintiff and members of the Illinois Sub-Class suffered an ascertainable loss

 of money, property, and/or value of their Class Vehicles. Additionally, as a result of

 the Defect, Illinois Plaintiff and members of the Illinois Sub-Class were harmed and

 suffered actual damages in that the Class Vehicles are substantially certain to fail

 before their expected useful life has run.

       499. Volvo’s actions, as complained of herein, breached the implied

 warranty that the Class Vehicles were of merchantable quality and fit for such use

 in violation of the Uniform Commercial Code and relevant state law.

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       500. Illinois Plaintiff and members of the Illinois Sub-Class have complied

 with all obligations under the warranty, or otherwise have been excused from

 performance of said obligations as a result of Volvo’s conduct described herein.

       501. Illinois Plaintiff and members of the Illinois Sub-Class have had

 sufficient direct dealings with either Volvo or its agents (i.e., dealerships and

 technical support) to establish privity of contract between Volvo, on one hand, and

 Illinois Plaintiff and members of the Illinois Sub-Class on the other hand.

 Nonetheless, privity is not required here because Illinois Plaintiff and members of

 the Illinois Sub-Class are intended third-party beneficiaries of contracts between

 Volvo and its distributors and dealers, and specifically, of Volvo’s express

 warranties, including the NVLW, the Powertrain Warranties, and any warranties

 provided with certified pre-owned vehicles. The dealers were not intended to be the

 ultimate consumers of the Class Vehicles and have rights under the warranty

 agreements provided with the Class Vehicles; the warranty agreements were

 designed for and intended to benefit the consumer only.

       502. Illinois Plaintiff and members of the Illinois Sub-Class were not

 required to notify Volvo of the breach because affording Volvo a reasonable

 opportunity to cure its breach of warranty would have been futile. Volvo was also

 on notice of the Defect from the complaints and service requests it received from

 Illinois Plaintiff and the Class Members and through other internal sources.

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       503. Nonetheless, Illinois Plaintiff and members of the Illinois Sub-Class

 provided notice to Volvo of the breach of express warranties when they took their

 vehicles to Volvo-authorized provider of warranty repairs. Illinois Plaintiff also

 provided notice to Volvo of its breach of express warranty by letter dated February

 18, 2022.

       504. As a direct and proximate cause of Volvo’s breach, Illinois Plaintiff and

 members of the Illinois Sub-Class suffered damages and continue to suffer damages,

 including economic damages at the point of sale or lease and diminution of value of

 their Class Vehicles. Additionally, Illinois Plaintiff and members of the Illinois Sub-

 Class have incurred or will incur economic damages at the point of repair in the form

 of the cost of repair as well as additional losses.

       505. As a direct and proximate result of Volvo’s breach of the implied

 warranty of merchantability, Illinois Plaintiff and members of the Illinois Sub-Class

 have been damaged in an amount to be proven at trial.


                                      COUNT XI
              Violations of the Illinois Consumer Fraud and Deceptive
                                Business Practices Act
                                815 ILCS 505/1, et seq.
             (On Behalf of the Illinois Sub-Class against all Defendants)
       506. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 above as if fully set forth herein.




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       507. Illinois Plaintiff brings this cause of action on behalf of himself and on
 behalf of the members of the Illinois Sub-Class against all Defendants.

       508. Volvo is a “person” as that term is defined in 815 ILCS 505/1(c).

       509. Illinois Plaintiff and the Illinois Sub-Class members are “consumers”
 as that term is defined in 815 ILCS 505/1(e).

       510. The Illinois Consumer Fraud and Deceptive Business Practices Act

 ("Illinois CFA") prohibits "unfair or deceptive acts or practices, including but not
 limited to the use or employment of any deception, fraud, false pretense, false

 promise, misrepresentation or the concealment, suppression, or omission of any

 material fact, with intent that others rely upon the concealment, suppression, or

 omission of such material fact … in the conduct of trade or commerce … whether

 any person has in fact been misled, deceived or damaged thereby." 815 ILCS 505/2.

 Volvo engaged in unlawful trade practices, and unfair or deceptive acts or practices
 that violated the Illinois CFA.

       511. Volvo participated in unfair or deceptive trade practices that violated

 the Illinois CFA. As described below and alleged throughout the Complaint, by

 failing to disclose the Defect, by concealing the Defect, by marketing its vehicles as

 safe, reliable, well-engineered, and of high quality, and by presenting itself as a

 reputable manufacturer that valued safety, performance and reliability, and stood

 behind its vehicles after they were sold, Volvo knowingly and intentionally

 misrepresented and omitted material facts in connection with the sale or lease of the

 Class Vehicles. Volvo systematically misrepresented, concealed, suppressed, or


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 omitted material facts relating to the Class Vehicles and the Defect in the course of
 its business.

        512. Volvo also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,
 suppression, or omission of any material fact with intent that others rely upon such

 concealment, suppression, or omission, in connection with the sale of the Class

 Vehicles.
        513. Volvo’s unfair and deceptive acts or practices occurred repeatedly in

 Volvo’s trade or business, were capable of deceiving a substantial portion of the

 purchasing public and imposed a serious safety risk on the public.

        514. Volvo knew that the Class Vehicles suffered from an inherent defect,

 were defectively designed and/or manufactured, and were not suitable for their

 intended use.
        515. Volvo knew or should have known that its conduct violated the Illinois

 CFA.

        516. Volvo was under a duty to Illinois Plaintiff and the Illinois Sub-Class

 Members to disclose the defective nature of the Class Vehicles because:

                 (a)   Volvo was in a superior position to know the true state of facts

                       about the safety defect in the Class Vehicles;

                 (b)   Volvo made partial disclosures about the quality of the Class

                       Vehicles without revealing the defective nature of the Class

                       Vehicles; and


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              (c)   Volvo actively concealed the defective nature of the Class
                    Vehicles from Illinois Plaintiff and the Illinois Sub-Class

                    Members at the time of sale and thereafter.

       517.   By failing to disclose the Defect, Volvo knowingly and intentionally
 concealed material facts and breached its duty not to do so.

       518. The facts concealed or not disclosed by Volvo to Illinois Plaintiff and

 the Illinois Sub-Class Members are material because a reasonable person would have
 considered them to be important in deciding whether or not to purchase or lease

 Volvo’s Class Vehicles, or to pay less for them. Whether an engine installed in a

 vehicle will exhibit excessive oil consumption causing sudden shut off, premature

 engine wear, damage, and failure, is a material safety concern. Had Illinois Plaintiff

 and the Illinois Sub-Class Members known that the Class Vehicles suffered from the

 Defect described herein, they would not have purchased or leased the Class Vehicles
 or would have paid less for them.

       519. Illinois Plaintiff and the Illinois Sub-Class Members are reasonable

 consumers who do not expect that their vehicles will suffer from the Defect. That is

 the reasonable and objective consumer expectation for vehicles.

       520. As a result of Volvo’s misconduct, Illinois Plaintiff and the Illinois Sub-

 Class Members have been harmed and have suffered actual damages in that the Class

 Vehicles are defective and require repairs or replacement.

       521. As a direct and proximate result of Volvo’s unfair or deceptive acts or

 practices, Illinois Plaintiff and the Illinois Sub-Class Members have suffered and

 will continue to suffer actual damages.
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       522. Volvo’s violations present a continuing risk to Illinois Plaintiff and the
 Illinois Sub-Class Members as well as to the general public. Volvo’s unlawful acts

 and practices complained of herein affect the public interest.

       523. Illinois Plaintiff provided notice of his claims, by letter dated February
 18, 2022.

       524. Pursuant to 815 ILCS 505/10a(a), Illinois Plaintiff and the Illinois Sub-

 Class Members seek monetary relief against Volvo in the amount of actual damages,
 as well as punitive damages because Volvo acted with fraud and/or malice and/or

 was grossly negligent.

       525. Illinois Plaintiff and the Illinois Sub-Class Members also seeks

 attorneys' fees, and any other just and proper relief available under 815 Ill. Comp.

 Stat. § 505/1, et seq.

 Claims on Behalf of the Maryland Sub-Class
                                COUNT XII
                         Breach of Express Warranty
                      Md. Com. Law §§ 2-313 and 2A-210
   (On Behalf of the Maryland Sub-Class against Defendants VCNA and Volvo
                                    AB)

       526. Plaintiffs repeat and re-allege each and every allegation contained

 above in paragraphs 1 through 314 above as if fully set forth herein.

       527. Plaintiff Kimberly Madeja (“Maryland Plaintiff”) brings this count on

 behalf of herself and the Maryland Sub-Class against Defendants VCNA and Volvo

 AB.



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       528. Defendants VCNA and Volvo AB are and were at all relevant times

 “merchants” with respect to motor vehicles under Md. Com. Law §§ 2-104(1) and

 2A-103(3), and a “seller” of motor vehicles under § 2-103(1)(d).

       529. With respect to leases, Defendants VCNA and Volvo AB are and were

 at all relevant times “lessors” of motor vehicles under Md. Com. Law § 2A-

 103(1)(p).

       530. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of Md. Com. Law §§ 2-105(1) and 2A-103(1)(h).

       531. The engines were manufactured and/or installed in the Class Vehicles

 by Volvo and are covered by the express warranty.

       532. Defendants VCNA and Volvo AB provided all purchasers and lessees

 of the Class Vehicles with an express warranty described herein, which became a

 material part of the bargain. Accordingly, Defendants VCNA and Volvo AB’s

 express warranty is an express warranty under Maryland state law.

       533. In a section entitled “Warranty Repairs,” Defendants VCNA and Volvo

 AB’s express warranty (or New Vehicle Limited Warranty (“NVLW”)) provides in

 relevant part that “[w]arranty repairs which are required as a result of defects in

 material or workmanship, and are brought to the attention of an authorized Volvo

 retailer by an owner, will be performed by an authorized Volvo retailer only at no

 charge during the warranty period.”

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       534. According to Volvo, the NVLW coverage is for “4 years/50,000

 miles[.]”

       535. Defendants VCNA and Volvo AB also provide a maintenance

 warranty, the Complimentary Factor Scheduled Maintenance Program (“Factory

 Maintenance Program”), which provides that all new vehicles will have “the first

 three (3) regularly scheduled maintenance services at 10,000, 20,000 and 30,000

 miles for the first three (3) years or up to 36,000 miles provided free of charge.”

       536. Defendants VCNA and Volvo AB’s NVLW, Factory Maintenance

 Program, and other warranties regarding the Class Vehicles formed a basis of the

 bargain that was breached when Maryland Plaintiff and members of the Maryland

 Sub-Class purchased or leased the Class Vehicles with the defective engine and/or

 related components.

       537. Maryland Plaintiff and members of the Maryland Sub-Class

 experienced defects within the warranty period. Despite the existence of the NVLW,

 Defendants VCNA and Volvo AB failed to inform Maryland Plaintiff and members

 of the Maryland Sub-Class that the Class Vehicles were equipped with defective

 engines and related components.        When providing repairs under the express

 warranty, these repairs were ineffective and incomplete and did not provide a

 permanent repair for the Defect.




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       538. Defendants VCNA and Volvo AB breached the express warranty

 through the acts and omissions described above, including by promising to repair or

 adjust defects in materials or workmanship of any part supplied by Volvo and then

 failing to do so. Defendants VCNA and Volvo AB have not repaired or adjusted,

 and have been unable to repair or adjust, the Class Vehicles materials and

 workmanship defects.

       539. Maryland Plaintiff and members of the Maryland Sub-Class have had

 sufficient direct dealings with either Defendants VCNA and Volvo AB or their

 agents (i.e., dealerships and technical support) to establish privity of contract

 between Defendants VCNA and Volvo AB, on one hand, and Maryland Plaintiff and

 each member of the Maryland Sub-Class on the other hand. Nonetheless, privity is

 not required here because Maryland Plaintiff and members of the Maryland Sub-

 Class are intended third-party beneficiaries of contracts between Defendants VCNA

 and Volvo AB and their distributors and dealers, and specifically, of Defendants

 VCNA and Volvo AB’s express warranties, including the NVLW, the Powertrain

 Warranties, and any warranties provided with certified pre-owned vehicles. The

 dealers were not intended to be the ultimate consumers of the Class Vehicles and

 have rights under the warranty agreements provided with the Class Vehicles; the

 warranty agreements were designed for and intended to benefit the consumer only.




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         540. Any attempt by Defendants VCNA and Volvo AB to disclaim or limit

 recovery to the terms of the express warranty is unconscionable and unenforceable

 here.    Specifically, the warranty limitation is unenforceable because Volvo

 knowingly sold or leased defective products without informing consumers about the

 Defect. The time limits are unconscionable and inadequate to protect Maryland

 Plaintiff and the members of the Maryland Sub-Class.           Among other things,

 Maryland Plaintiff and members of the Maryland Sub-Class did not determine these

 time limitations and/or did not know of other limitations not appearing in the text of

 the warranties, the terms of which were drafted by Defendants VCNA and Volvo

 AB and unreasonable favored Defendants VCNA and Volvo AB. A gross disparity

 in bargaining power and knowledge of the extent, severity, and safety risk of the

 Defect existed between Defendants VCNA and Volvo AB and members of the

 Maryland Sub-Class.

         541. Further, the limited warranty promising to repair and/or correct a

 manufacturing or workmanship defect fails of its essential purpose because the

 contractual remedy is insufficient to make Maryland Plaintiff and the members of

 the Maryland Sub-Class whole, because Defendants VCNA and Volvo AB have

 failed and/or have refused to adequately provide the promised remedies, i.e., a

 permanent repair, within a reasonable time.




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       542. Maryland Plaintiff was not required to notify Defendants VCNA and

 Volvo AB of the breach because affording Defendants VCNA and Volvo AB a

 reasonable opportunity to cure their breach of written warranty would have been

 futile. Defendants VCNA and Volvo AB were also on notice of the Defect from the

 complaints and service requests it received from Class Members, including those

 formal complaints submitted to NHTSA, and through other internal sources.

       543. Nonetheless, Maryland Plaintiff and members of the Maryland Sub-

 Class provided notice to Defendants VCNA and Volvo AB of the breach of express

 warranties when they took their vehicles to Volvo-authorized providers of warranty

 repairs. Illinois Plaintiff also provided notice to Defendants VCNA and Volvo AB

 of their breach of express warranty by letter dated May 20, 2022.

       544. As a result of Defendants VCNA and Volvo AB’s breach of the

 applicable express warranties, owners and/or lessees of the Class Vehicles suffered,

 and continue to suffer, an ascertainable loss of money, property, and/or value of their

 Class Vehicles.

       545. As a direct and proximate result of Defendants VCNA and Volvo AB’s

 breach of express warranties, Maryland Plaintiff and members of the Maryland Sub-

 Class have been damaged in an amount to be determined at trial.

       546. As a result of Defendants VCNA and Volvo AB’s breach of the express

 warranty, Maryland Plaintiff and Maryland Sub-Class Members are entitled to legal

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 and equitable relief against Volvo, including actual damages, specific performance,

 attorney’s fees, costs of suit, and other relief as appropriate.


                                 COUNT XIII
              Breach of the Implied Warranty of Merchantability
                      Md. Com. Law §§ 2-314 and 2A-212
          (On Behalf of the Maryland Sub-Class against all Defendants)


       547. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 as if fully set forth herein.

       548. Maryland Plaintiff brings this count on behalf of herself and the

 Maryland Sub-Class against all Defendants.

       549. Volvo is and was at all relevant times a “merchant” with respect to

 motor vehicles under Md. Com. Law §§ 2-104(1) and 2A-103(3), and a “seller” of

 motor vehicles under § 2-103(1)(d).

       550. With respect to leases, Volvo is and was at all relevant times a “lessor”

 of motor vehicles under Md. Com. Law § 2A-103(1)(p).

       551. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of Md. Com. Law §§ 2-105(1) and 2A-103(1)(h).

       552. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under Md.

 Com. Law §§ 2-314 and 2A-212.



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       553. Volvo knew or had reason to know of the specific use for which the

 Class Vehicles were purchased or leased. Volvo directly sold and marketed Class

 Vehicles to customers through authorized dealers, like those from whom Maryland

 Plaintiff and members of the Maryland Sub-Class bought or leased their vehicles,

 for the intended purpose of consumers purchasing the vehicles. Volvo knew that the

 Class Vehicles would and did pass unchanged from the authorized dealers to

 Maryland Plaintiff and members of the Maryland Sub-Class, with no modification

 to the defective Class Vehicles.

       554. Volvo provided Maryland Plaintiff and members of the Maryland Sub-

 Class with an implied warranty that the Class Vehicles and their components and

 parts are merchantable and fit for the ordinary purposes for which they were sold.

 However, the Class Vehicles are not fit for their ordinary purpose of providing

 reasonably reliable and safe transportation because, inter alia, the Class Vehicles

 and their engine suffered from an inherent defect at the time of sale and thereafter

 and are not fit for their particular purpose of providing safe and reliable

 transportation.

       555. This implied warranty included, among other things: (i) a warranty that

 the Class Vehicles that were manufactured, supplied, distributed, and/or sold by

 Volvo were safe and reliable for providing transportation; and (ii) a warranty that




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 the Class Vehicles would be fit for their intended use while the Class Vehicles were

 being operated.

       556. Contrary to the applicable implied warranties, the Class Vehicles at the

 time of sale and thereafter were not fit for their ordinary and intended purpose of

 providing Plaintiffs and Class Members with reliable, durable, and safe

 transportation. Instead, the Class Vehicles were and are defective at the time of sale

 or lease and thereafter as more fully described above. Volvo knew of this defect at

 the time these sale or lease transactions occurred.

       557. As a result of Volvo’s breach of the applicable implied warranties,

 Maryland Plaintiff and members of the Maryland Sub-Class suffered an

 ascertainable loss of money, property, and/or value of their Class Vehicles.

 Additionally, as a result of the Defect, Maryland Plaintiff and members of the

 Maryland Sub-Class were harmed and suffered actual damages in that the Class

 Vehicles are substantially certain to fail before their expected useful life has run.

       558. Volvo’s actions, as complained of herein, breached the implied

 warranty that the Class Vehicles were of merchantable quality and fit for such use

 in violation of the Uniform Commercial Code and relevant state law.

       559. Maryland Plaintiff and members of the Maryland Sub-Class have

 complied with all obligations under the warranty, or otherwise have been excused




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 from performance of said obligations as a result of Volvo’s conduct described

 herein.

       560. Maryland Plaintiff and members of the Maryland Sub-Class have had

 sufficient direct dealings with either Volvo or its agents (i.e., dealerships and

 technical support) to establish privity of contract between Volvo, on one hand, and

 Maryland Plaintiff and members of the Maryland Sub-Class on the other hand.

 Nonetheless, privity is not required here because Maryland Plaintiff and members

 of the Maryland Sub-Class are intended third-party beneficiaries of contracts

 between Volvo and its distributors and dealers, and specifically, of Volvo’s express

 warranties, including the NVLW, the Powertrain Warranties, and any warranties

 provided with certified pre-owned vehicles. The dealers were not intended to be the

 ultimate consumers of the Class Vehicles and have rights under the warranty

 agreements provided with the Class Vehicles; the warranty agreements were

 designed for and intended to benefit the consumer only.

       561. Maryland Plaintiff and members of the Maryland Sub-Class were not

 required to notify Volvo of the breach because affording Volvo a reasonable

 opportunity to cure its breach of warranty would have been futile. Volvo was also

 on notice of the Defect from the complaints and service requests it received from

 Maryland Plaintiff and the Class Members and through other internal sources.




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       562. Nonetheless, Maryland Plaintiff and members of the Maryland Sub-

 Class provided notice to Volvo of the breach of express warranties when they took

 their vehicles to Volvo-authorized provider of warranty repairs. Maryland Plaintiff

 also provided notice to Volvo of its breach of express warranty by letter dated May

 20, 2022.

       563. As a direct and proximate cause of Volvo’s breach, Maryland Plaintiff

 and members of the Maryland Sub-Class suffered damages and continue to suffer

 damages, including economic damages at the point of sale or lease and diminution

 of value of their Class Vehicles. Additionally, Maryland Plaintiff and members of

 the Maryland Sub-Class have incurred or will incur economic damages at the point

 of repair in the form of the cost of repair as well as additional losses.

       564. As a direct and proximate result of Volvo’s breach of the implied

 warranty of merchantability, Maryland Plaintiff and members of the Maryland Sub-

 Class have been damaged in an amount to be proven at trial.


                                 COUNT XIV
             Violations of the Maryland Consumer Protection Act,
                  Md. Code Ann., Com. Law § 13-101, et seq.
          (On Behalf of the Maryland Sub-Class against all Defendants)
       565. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 above as if fully set forth herein.

       566. Maryland Plaintiff brings this cause of action on behalf of herself and

 on behalf of the members of the Maryland Sub-Class against all Defendants.

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       567. Volvo, Maryland Plaintiff, and the Maryland Sub-Class Members are

 “persons” within the meaning of Md. Code Ann., Com. Law § 13-101(h).

       568. The Maryland Consumer Protection Act (“Maryland CPA”) provides

 that a person may not engage in any unfair and deceptive trade practice in the sale

 or lease of any consumer good, including representing that goods are of a particular

 standard, quality, or grade if they are not, advertising goods without intent to sell or

 lease them as advertised, selling goods knowing that a service, replacement or repair

 was needed, “failure to state a material fact if the failure deceives or tends to

 deceive,” and “[d]eception, fraud, false pretense, false premise, misrepresentation,

 or knowing concealment, suppression, or omission of any material fact with the

 intent that a consumer rely on the same,” Md. Code Ann., Com. Law § 13-301,

 regardless of whether the consumer is actually deceived or damaged, Md. Code

 Ann., Com. Law § 13-302. Volvo engaged in unlawful trade practices, and unfair

 or deceptive acts or practices that violated the Maryland CPA.

       569. Volvo participated in unfair or deceptive trade practices that violated

 the Maryland CPA. As described below and alleged throughout the Complaint, by

 failing to disclose the Defect, by concealing the Defect, by marketing its vehicles as

 safe, reliable, well-engineered, and of high quality, and by presenting itself as a

 reputable manufacturer that valued safety, performance and reliability, and stood

 behind its vehicles after they were sold, Volvo knowingly and intentionally

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 misrepresented and omitted material facts in connection with the sale or lease of the

 Class Vehicles. Volvo systematically misrepresented, concealed, suppressed, or

 omitted material facts relating to the Class Vehicles and the Defect in the course of

 its business.

       570. Volvo also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

 suppression, or omission of any material fact with intent that others rely upon such

 concealment, suppression, or omission, in connection with the sale of the Class

 Vehicles.
       571. Volvo’s unfair and deceptive acts or practices occurred repeatedly in

 Volvo’s trade or business, were capable of deceiving a substantial portion of the

 purchasing public and imposed a serious safety risk on the public.

       572. Volvo knew that the Class Vehicles suffered from an inherent defect,

 were defectively designed and/or manufactured, and were not suitable for their

 intended use.

       573. Volvo knew or should have known that its conduct violated the

 Maryland CPA.

       574. Volvo was under a duty to Maryland Plaintiff and the Maryland Sub-

 Class Members to disclose the defective nature of the Class Vehicles because:

                 (a)   Volvo was in a superior position to know the true state of facts

                       about the safety defect in the Class Vehicles;



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              (b)   Volvo made partial disclosures about the quality of the Class
                    Vehicles without revealing the defective nature of the Class

                    Vehicles; and

              (c)   Volvo actively concealed the defective nature of the Class
                    Vehicles from Illinois Plaintiff and the Illinois Sub-Class

                    Members at the time of sale and thereafter.

       575.   By failing to disclose the Defect, Volvo knowingly and intentionally
 concealed material facts and breached its duty not to do so.

       576. The facts concealed or not disclosed by Volvo to Maryland Plaintiff

 and the Maryland Sub-Class Members are material because a reasonable person

 would have considered them to be important in deciding whether or not to purchase

 or lease Volvo’s Class Vehicles, or to pay less for them. Whether an engine installed

 in a vehicle will exhibit excessive oil consumption causing sudden shut off,
 premature engine wear, damage, and failure, is a material safety concern. Had

 Maryland Plaintiff and the Maryland Sub-Class Members known that the Class

 Vehicles suffered from the Defect described herein, they would not have purchased

 or leased the Class Vehicles or would have paid less for them.

       577. Maryland Plaintiff and the Maryland Sub-Class Members are

 reasonable consumers who do not expect that their vehicles will suffer from the

 Defect. That is the reasonable and objective consumer expectation for vehicles.

       578. As a result of Volvo’s misconduct, Maryland Plaintiff and the Maryland

 Sub-Class Members have been harmed and have suffered actual damages in that the

 Class Vehicles are defective and require repairs or replacement.
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       579. As a direct and proximate result of Volvo’s unfair or deceptive acts or
 practices, Maryland Plaintiff and the Maryland Sub-Class Members have suffered

 and will continue to suffer actual damages.

       580. Volvo’s violations present a continuing risk to Maryland Plaintiff and
 the Maryland Sub-Class Members as well as to the general public. Volvo’s unlawful

 acts and practices complained of herein affect the public interest.

       581. Maryland Plaintiff provided notice of her claims, by letter dated May
 20, 2022.
       582. Pursuant to Md. Code Ann., Com. Law § 13-408, Maryland Plaintiff

 and members of the Maryland Sub-Class seek monetary relief against Ford in the

 amount of actual damages, attorneys’ fees, and any other just and proper relief

 available under the Maryland CPA.


 Claims on Behalf of the Massachusetts Sub-Class
                                COUNT XV
                         Breach of Express Warranty
                 Mass. Gen. Laws ch. 106 §§ 2-313 and 2A-210
   (On Behalf of the Massachusetts Sub-Class against Defendants VCNA and
                                  Volvo AB)

       583. Plaintiffs repeat and re-allege each and every allegation contained

 above in paragraphs 1 through 314 above as if fully set forth herein.

       584. Plaintiffs    Kevin    Flynn,     Elsie   Saks,   and   Steven   Salhanick

 (“Massachusetts Plaintiffs”) bring this count on behalf of themselves and the

 Massachusetts Sub-Class against Defendants VCNA and Volvo AB.

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       585. Defendants VCNA and Volvo AB are and were at all relevant times

 “merchants” with respect to motor vehicles under Mass. Gen. Laws ch. 106 §§ 2-

 104(1) and 2A-103(3), and “sellers” of motor vehicles under § 2-103(1)(d).

       586. With respect to leases, Defendants VCNA and Volvo AB are and were

 at all relevant times “lessors” of motor vehicles under Mass. Gen. Laws ch. 106 §

 2A-103(1)(p).

       587. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of Mass. Gen. Laws ch. 106 §§ 2-105(1) and 2A-103(1)(h).

       588. The engines were manufactured and/or installed in the Class Vehicles

 by Volvo and are covered by the express warranty.

       589. Defendants VCNA and Volvo AB provided all purchasers and lessees

 of the Class Vehicles with an express warranty described herein, which became a

 material part of the bargain. Accordingly, Defendants VCNA and Volvo AB’s

 express warranty is an express warranty under Massachusetts state law.

       590. In a section entitled “Warranty Repairs,” Defendants VCNA and Volvo

 AB’s express warranty (or New Vehicle Limited Warranty (“NVLW”)) provides in

 relevant part that “[w]arranty repairs which are required as a result of defects in

 material or workmanship, and are brought to the attention of an authorized Volvo

 retailer by an owner, will be performed by an authorized Volvo retailer only at no

 charge during the warranty period.”

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       591. According to Volvo, the NVLW coverage is for “4 years/50,000

 miles[.]”

       592. Defendants VCNA and Volvo AB also provide a maintenance

 warranty, the Complimentary Factor Scheduled Maintenance Program (“Factory

 Maintenance Program”), which provides that all new vehicles will have “the first

 three (3) regularly scheduled maintenance services at 10,000, 20,000 and 30,000

 miles for the first three (3) years or up to 36,000 miles provided free of charge.”

       593. Defendants VCNA and Volvo AB’s NVLW, Factory Maintenance

 Program, and other warranties regarding the Class Vehicles formed a basis of the

 bargain that was breached when Massachusetts Plaintiffs and members of the

 Massachusetts Sub-Class purchased or leased the Class Vehicles with the defective

 engine and/or related components.

       594. Massachusetts Plaintiffs and members of the Massachusetts Sub-Class

 experienced defects within the warranty period. Despite the existence of the NVLW,

 Defendants VCNA and Volvo AB failed to inform Massachusetts Plaintiffs and

 members of the Massachusetts Sub-Class that the Class Vehicles were equipped with

 defective engines and related components. When providing repairs under the

 express warranty, these repairs were ineffective and incomplete and did not provide

 a permanent repair for the Defect.




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       595. Defendants VCNA and Volvo AB breached the express warranty

 through the acts and omissions described above, including by promising to repair or

 adjust defects in materials or workmanship of any part supplied by Volvo and then

 failing to do so. Defendants VCNA and Volvo AB have not repaired or adjusted,

 and have been unable to repair or adjust, the Class Vehicles materials and

 workmanship defects.

       596. Massachusetts Plaintiffs and members of the Massachusetts Sub-Class

 have had sufficient direct dealings with either Defendants VCNA and Volvo AB or

 their agents (i.e., dealerships and technical support) to establish privity of contract

 between Defendants VCNA and Volvo AB, on one hand, and Massachusetts

 Plaintiffs and each member of the Massachusetts Sub-Class on the other hand.

 Nonetheless, privity is not required here because Massachusetts Plaintiffs and

 members of the Massachusetts Sub-Class are intended third-party beneficiaries of

 contracts between Defendants VCNA and Volvo AB and their distributors and

 dealers, and specifically, of Defendants VCNA and Volvo AB’s express warranties,

 including the NVLW, the Powertrain Warranties, and any warranties provided with

 certified pre-owned vehicles. The dealers were not intended to be the ultimate

 consumers of the Class Vehicles and have rights under the warranty agreements

 provided with the Class Vehicles; the warranty agreements were designed for and

 intended to benefit the consumer only.

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         597. Any attempt by Defendants VCNA and Volvo AB to disclaim or limit

 recovery to the terms of the express warranty is unconscionable and unenforceable

 here.    Specifically, the warranty limitation is unenforceable because Volvo

 knowingly sold or leased defective products without informing consumers about the

 Defect. The time limits are unconscionable and inadequate to protect Massachusetts

 Plaintiffs and the members of the Massachusetts Sub-Class. Among other things,

 Massachusetts Plaintiffs and members of the Massachusetts Sub-Class did not

 determine these time limitations and/or did not know of other limitations not

 appearing in the text of the warranties, the terms of which were drafted by

 Defendants VCNA and Volvo AB and unreasonable favored Defendants VCNA and

 Volvo AB. A gross disparity in bargaining power and knowledge of the extent,

 severity, and safety risk of the Defect existed between Defendants VCNA and Volvo

 AB and members of the Massachusetts Sub-Class.

         598. Further, the limited warranty promising to repair and/or correct a

 manufacturing or workmanship defect fails of its essential purpose because the

 contractual remedy is insufficient to make Massachusetts Plaintiffs and the members

 of the Massachusetts Sub-Class whole, because Defendants VCNA and Volvo AB

 have failed and/or have refused to adequately provide the promised remedies, i.e., a

 permanent repair, within a reasonable time.




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       599. Massachusetts Plaintiffs was not required to notify Defendants VCNA

 and Volvo AB of the breach because affording Defendants VCNA and Volvo AB a

 reasonable opportunity to cure their breach of written warranty would have been

 futile. Defendants VCNA and Volvo AB were also on notice of the Defect from the

 complaints and service requests it received from Class Members, including those

 formal complaints submitted to NHTSA, and through other internal sources.

       600. Nonetheless,      Massachusetts     Plaintiffs   and   members     of   the

 Massachusetts Sub-Class provided notice to Defendants VCNA and Volvo AB of

 the breach of express warranties when they took their vehicles to Volvo-authorized

 providers of warranty repairs. Massachusetts Plaintiffs also provided notice to

 Defendants VCNA and Volvo AB of their breach of express warranty by letters

 dated February 10, 2022 and February 25, 2022.

       601. As a result of Defendants VCNA and Volvo AB’s breach of the

 applicable express warranties, owners and/or lessees of the Class Vehicles suffered,

 and continue to suffer, an ascertainable loss of money, property, and/or value of their

 Class Vehicles.

       602. As a direct and proximate result of Defendants VCNA and Volvo AB’s

 breach of express warranties, Massachusetts Plaintiffs and members of the

 Massachusetts Sub-Class have been damaged in an amount to be determined at trial.




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       603. As a result of Defendants VCNA and Volvo AB’s breach of the express

 warranty, Massachusetts Plaintiffs and Massachusetts Sub-Class Members are

 entitled to legal and equitable relief against Volvo, including actual damages,

 specific performance, attorney’s fees, costs of suit, and other relief as appropriate.


                                 COUNT XVI
              Breach of the Implied Warranty of Merchantability
                 Mass. Gen. Laws ch. 106 §§ 2-314 and 2A-212
        (On Behalf of the Massachusetts Sub-Class against all Defendants)


       604. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 as if fully set forth herein.

       605. Massachusetts Plaintiffs brings this count on behalf of himself and the

 Massachusetts Sub-Class against all Defendants.

       606. Volvo is and was at all relevant times a “merchant” with respect to

 motor vehicles under Mass. Gen. Laws ch. 106 §§ 2-104(1) and 2A-103(3), and a

 “seller” of motor vehicles under § 2-103(1)(d).

       607. With respect to leases, Volvo is and was at all relevant times a “lessor”

 of motor vehicles under Mass. Gen. Laws ch. 106 § 2A-103(1)(p).

       608. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of Mass. Gen. Laws ch. 106 §§ 2-105(1) and 2A-103(1)(h).




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       609. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under Mass.

 Gen. Laws ch. 106 §§ 2-314 and 2A-212.

       610. Volvo knew or had reason to know of the specific use for which the

 Class Vehicles were purchased or leased. Volvo directly sold and marketed Class

 Vehicles to customers through authorized dealers, like those from whom

 Massachusetts Plaintiffs and members of the Massachusetts Sub-Class bought or

 leased their vehicles, for the intended purpose of consumers purchasing the vehicles.

 Volvo knew that the Class Vehicles would and did pass unchanged from the

 authorized dealers to Massachusetts Plaintiffs and members of the Massachusetts

 Sub-Class, with no modification to the defective Class Vehicles.

       611. Volvo provided Massachusetts Plaintiffs and members of the

 Massachusetts Sub-Class with an implied warranty that the Class Vehicles and their

 components and parts are merchantable and fit for the ordinary purposes for which

 they were sold. However, the Class Vehicles are not fit for their ordinary purpose

 of providing reasonably reliable and safe transportation because, inter alia, the Class

 Vehicles and their engine suffered from an inherent defect at the time of sale and

 thereafter and are not fit for their particular purpose of providing safe and reliable

 transportation.




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       612. This implied warranty included, among other things: (i) a warranty that

 the Class Vehicles that were manufactured, supplied, distributed, and/or sold by

 Volvo were safe and reliable for providing transportation; and (ii) a warranty that

 the Class Vehicles would be fit for their intended use while the Class Vehicles were

 being operated.

       613. Contrary to the applicable implied warranties, the Class Vehicles at the

 time of sale and thereafter were not fit for their ordinary and intended purpose of

 providing Plaintiffs and Class Members with reliable, durable, and safe

 transportation. Instead, the Class Vehicles were and are defective at the time of sale

 or lease and thereafter as more fully described above. Volvo knew of this defect at

 the time these sale or lease transactions occurred.

       614. As a result of Volvo’s breach of the applicable implied warranties,

 Massachusetts Plaintiffs and members of the Massachusetts Sub-Class suffered an

 ascertainable loss of money, property, and/or value of their Class Vehicles.

 Additionally, as a result of the Defect, Massachusetts Plaintiffs and members of the

 Massachusetts Sub-Class were harmed and suffered actual damages in that the Class

 Vehicles are substantially certain to fail before their expected useful life has run.

       615. Volvo’s actions, as complained of herein, breached the implied

 warranty that the Class Vehicles were of merchantable quality and fit for such use

 in violation of the Uniform Commercial Code and relevant state law.

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       616. Massachusetts Plaintiffs and members of the Massachusetts Sub-Class

 have complied with all obligations under the warranty, or otherwise have been

 excused from performance of said obligations as a result of Volvo’s conduct

 described herein.

       617. Massachusetts Plaintiffs and members of the Massachusetts Sub-Class

 have had sufficient direct dealings with either Volvo or its agents (i.e., dealerships

 and technical support) to establish privity of contract between Volvo, on one hand,

 and Massachusetts Plaintiffs and members of the Massachusetts Sub-Class on the

 other hand.    Nonetheless, privity is not required here because Massachusetts

 Plaintiffs and members of the Massachusetts Sub-Class are intended third-party

 beneficiaries of contracts between Volvo and its distributors and dealers, and

 specifically, of Volvo’s express warranties, including the NVLW, the Powertrain

 Warranties, and any warranties provided with certified pre-owned vehicles. The

 dealers were not intended to be the ultimate consumers of the Class Vehicles and

 have rights under the warranty agreements provided with the Class Vehicles; the

 warranty agreements were designed for and intended to benefit the consumer only.

       618. Massachusetts Plaintiffs and members of the Massachusetts Sub-Class

 were not required to notify Volvo of the breach because affording Volvo a

 reasonable opportunity to cure its breach of warranty would have been futile. Volvo

 was also on notice of the Defect from the complaints and service requests it received

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 from Massachusetts Plaintiffs and the Class Members and through other internal

 sources.

       619. Nonetheless,     Massachusetts     Plaintiffs   and   members    of   the

 Massachusetts Sub-Class provided notice to Volvo of the breach of express

 warranties when they took their vehicles to Volvo-authorized provider of warranty

 repairs. Massachusetts Plaintiffs also provided notice to Volvo of its breach of

 express warranty by letters dated February 10, 2022 and February 25, 2022.

       620. As a direct and proximate cause of Volvo’s breach, Massachusetts

 Plaintiffs and members of the Massachusetts Sub-Class suffered damages and

 continue to suffer damages, including economic damages at the point of sale or lease

 and diminution of value of their Class Vehicles. Additionally, Massachusetts

 Plaintiffs and members of the Massachusetts Sub-Class have incurred or will incur

 economic damages at the point of repair in the form of the cost of repair as well as

 additional losses.

       621. As a direct and proximate result of Volvo’s breach of the implied

 warranty of merchantability, Massachusetts Plaintiffs and members of the

 Massachusetts Sub-Class have been damaged in an amount to be proven at trial.




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                                COUNT XVII
           Violations of the Massachusetts Consumer Protection Act
                       Mass. Gen. Laws 93A, § 1, et seq.
       (On Behalf of the Massachusetts Sub-Class against all Defendants)

       622. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 above as if fully set forth herein.

       623. Massachusetts Plaintiffs brings this cause of action on behalf of himself

 and on behalf of the members of the Massachusetts Sub-Class against all

 Defendants.

       624. Volvo, Massachusetts Plaintiffs, and the Massachusetts Sub-Class

 Members are “persons” within the meaning of “persons” within the meaning of

 Mass. Gen. Laws 93A, § 1(a).

       625. The Massachusetts Consumer Protection Act (“MCPA”) prohibits

 “unfair or deceptive acts or practices in the conduct of any trade or commerce.”

 Mass. Gen. Laws 93A, § 2(a). Volvo engaged in unlawful trade practices, and unfair

 or deceptive acts or practices that violated the MCPA

       626. Volvo participated in unfair or deceptive trade practices that violated

 the MCPA. As described below and alleged throughout the Complaint, by failing to

 disclose the Defect, by concealing the Defect, by marketing its vehicles as safe,

 reliable, well-engineered, and of high quality, and by presenting itself as a reputable

 manufacturer that valued safety, performance and reliability, and stood behind its

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 vehicles after they were sold, Volvo knowingly and intentionally misrepresented and

 omitted material facts in connection with the sale or lease of the Class Vehicles.

 Volvo systematically misrepresented, concealed, suppressed, or omitted material

 facts relating to the Class Vehicles and the Defect in the course of its business.

       627. Volvo also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

 suppression, or omission of any material fact with intent that others rely upon such

 concealment, suppression, or omission, in connection with the sale of the Class

 Vehicles.

       628. Volvo’s unfair and deceptive acts or practices occurred repeatedly in

 Volvo’s trade or business, were capable of deceiving a substantial portion of the

 purchasing public and imposed a serious safety risk on the public.

       629. Volvo knew that the Class Vehicles suffered from an inherent defect,

 were defectively designed and/or manufactured, and were not suitable for their

 intended use.

       630. Volvo knew or should have known that its conduct violated the MCPA.

       631. Volvo was under a duty to Massachusetts Plaintiffs and the

 Massachusetts Sub-Class Members to disclose the defective nature of the Class

 Vehicles because:




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              (a)    Volvo was in a superior position to know the true state of facts
                    about the safety defect in the Class Vehicles;

              (b)   Volvo made partial disclosures about the quality of the Class

                    Vehicles without revealing the defective nature of the Class
                    Vehicles; and

              (c)   Volvo actively concealed the defective nature of the Class

                    Vehicles from Massachusetts Plaintiffs and the Massachusetts

                    Sub-Class Members at the time of sale and thereafter.

       632.   By failing to disclose the Defect, Volvo knowingly and intentionally

 concealed material facts and breached its duty not to do so.

       633. The facts concealed or not disclosed by Volvo to Massachusetts

 Plaintiffs and the Massachusetts Sub-Class Members are material because a

 reasonable person would have considered them to be important in deciding whether

 or not to purchase or lease Volvo’s Class Vehicles, or to pay less for them. Whether

 an engine installed in a vehicle will exhibit excessive oil consumption causing

 sudden shut off, premature engine wear, damage, and failure, is a material safety

 concern. Had Massachusetts Plaintiffs and the Massachusetts Sub-Class Members

 known that the Class Vehicles suffered from the Defect described herein, they would

 not have purchased or leased the Class Vehicles or would have paid less for them.




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       634. Massachusetts Plaintiffs and the Massachusetts Sub-Class Members are

 reasonable consumers who do not expect that their vehicles will suffer from the

 Defect. That is the reasonable and objective consumer expectation for vehicles.

       635. As a result of Volvo’s misconduct, Massachusetts Plaintiffs and the

 Massachusetts Sub-Class Members have been harmed and have suffered actual

 damages in that the Class Vehicles are defective and require repairs or replacement.

       636. As a direct and proximate result of Volvo’s unfair or deceptive acts or

 practices, Massachusetts Plaintiffs and the Massachusetts Sub-Class Members have

 suffered and will continue to suffer actual damages.

       637. Volvo’s violations present a continuing risk to Massachusetts Plaintiffs

 and the Massachusetts Sub-Class Members as well as to the general public. Volvo’s

 unlawful acts and practices complained of herein affect the public interest.

       638. Massachusetts Plaintiffs provided notice of their claims, by letters dated

 February 10, 2022 and February 25, 2022.

       639. Pursuant to Mass. Gen. Laws 93A, § 9, Massachusetts Plaintiffs and

 members of the Massachusetts Sub-Class seek monetary relief against Defendants

 measures as the greater of (a) actual damages in an amount to be determined at trial

 and (b) statutory damages in the amount of $25 for each Massachusetts Plaintiffs

 and each member of the Massachusetts Sub-Class. Because Defendants’ conduct

 was committed willfully and knowingly, Massachusetts Plaintiffs and members of

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 the Massachusetts Sub-Class are entitled to recover, for Massachusetts Plaintiffs and

 each member of the Massachusetts Sub-Class, up to three times actual damages, but

 no less than two times actual damages.


 Claims on Behalf of the Missouri Sub-Class
                                 COUNT XVIII
                         Breach of Express Warranty
                  Mo. Rev. Stat. § 400.2-313 and § 400.2A-210
   (On Behalf of the Missouri Sub-Class against Defendants VCNA and Volvo
                                      AB)

       640. Plaintiffs repeat and re-allege each and every allegation contained

 above in paragraphs 1 through 314 above as if fully set forth herein.

       641. Plaintiff Arthur Yakov Krichevsky (“Missouri Plaintiff”) bring this

 count on behalf of themselves and the Missouri Sub-Class against Defendants

 VCNA and Volvo AB.

       642. Defendants VCNA and Volvo AB are and were at all relevant times

 “merchants” with respect to motor vehicles under Mo. Rev. Stat. § 400.2-104(1) and

 “sellers” of motor vehicles under § 400.2-314.

       643. With respect to leases, Defendants VCNA and Volvo AB are and were

 at all relevant times “lessors” of motor vehicles under Mo. Rev. Stat. § 400.2A-

 103(1)(p) and § 400.2A-212.

       644. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of Mo. Rev. Stat. § 400.2-105(1) and Mo. Stat. § 400.2A-103(1)(h).

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       645. The engines were manufactured and/or installed in the Class Vehicles

 by Volvo and are covered by the express warranty.

       646. Defendants VCNA and Volvo AB provided all purchasers and lessees

 of the Class Vehicles with an express warranty described herein, which became a

 material part of the bargain. Accordingly, Defendants VCNA and Volvo AB’s

 express warranty is an express warranty under Missouri state law.

       647. In a section entitled “Warranty Repairs,” Defendants VCNA and Volvo

 AB’s express warranty (or New Vehicle Limited Warranty (“NVLW”)) provides in

 relevant part that “[w]arranty repairs which are required as a result of defects in

 material or workmanship, and are brought to the attention of an authorized Volvo

 retailer by an owner, will be performed by an authorized Volvo retailer only at no

 charge during the warranty period.”

       648. According to Volvo, the NVLW coverage is for “4 years/50,000

 miles[.]”

       649. Defendants VCNA and Volvo AB also provide a maintenance

 warranty, the Complimentary Factor Scheduled Maintenance Program (“Factory

 Maintenance Program”), which provides that all new vehicles will have “the first

 three (3) regularly scheduled maintenance services at 10,000, 20,000 and 30,000

 miles for the first three (3) years or up to 36,000 miles provided free of charge.”




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       650. Defendants VCNA and Volvo AB’s NVLW, Factory Maintenance

 Program, and other warranties regarding the Class Vehicles formed a basis of the

 bargain that was breached when Missouri Plaintiff and members of the Missouri

 Sub-Class purchased or leased the Class Vehicles with the defective engine and/or

 related components.

       651. Missouri Plaintiff and members of the Missouri Sub-Class experienced

 defects within the warranty period. Despite the existence of the NVLW, Defendants

 VCNA and Volvo AB failed to inform Missouri Plaintiff and members of the

 Missouri Sub-Class that the Class Vehicles were equipped with defective engines

 and related components. When providing repairs under the express warranty, these

 repairs were ineffective and incomplete and did not provide a permanent repair for

 the Defect.

       652. Defendants VCNA and Volvo AB breached the express warranty

 through the acts and omissions described above, including by promising to repair or

 adjust defects in materials or workmanship of any part supplied by Volvo and then

 failing to do so. Defendants VCNA and Volvo AB have not repaired or adjusted,

 and have been unable to repair or adjust, the Class Vehicles materials and

 workmanship defects.

       653. Missouri Plaintiff and members of the Missouri Sub-Class have had

 sufficient direct dealings with either Defendants VCNA and Volvo AB or their

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 agents (i.e., dealerships and technical support) to establish privity of contract

 between Defendants VCNA and Volvo AB, on one hand, and Missouri Plaintiff and

 each member of the Missouri Sub-Class on the other hand. Nonetheless, privity is

 not required here because Missouri Plaintiff and members of the Missouri Sub-Class

 are intended third-party beneficiaries of contracts between Defendants VCNA and

 Volvo AB and their distributors and dealers, and specifically, of Defendants VCNA

 and Volvo AB’s express warranties, including the NVLW, the Powertrain

 Warranties, and any warranties provided with certified pre-owned vehicles. The

 dealers were not intended to be the ultimate consumers of the Class Vehicles and

 have rights under the warranty agreements provided with the Class Vehicles; the

 warranty agreements were designed for and intended to benefit the consumer only.

         654. Any attempt by Defendants VCNA and Volvo AB to disclaim or limit

 recovery to the terms of the express warranty is unconscionable and unenforceable

 here.    Specifically, the warranty limitation is unenforceable because Volvo

 knowingly sold or leased defective products without informing consumers about the

 Defect. The time limits are unconscionable and inadequate to protect Missouri

 Plaintiff and the members of the Missouri Sub-Class. Among other things, Missouri

 Plaintiff and members of the Missouri Sub-Class did not determine these time

 limitations and/or did not know of other limitations not appearing in the text of the

 warranties, the terms of which were drafted by Defendants VCNA and Volvo AB

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 and unreasonable favored Defendants VCNA and Volvo AB. A gross disparity in

 bargaining power and knowledge of the extent, severity, and safety risk of the Defect

 existed between Defendants VCNA and Volvo AB and members of the Missouri

 Sub-Class.

       655. Further, the limited warranty promising to repair and/or correct a

 manufacturing or workmanship defect fails of its essential purpose because the

 contractual remedy is insufficient to make Missouri Plaintiff and the members of the

 Missouri Sub-Class whole, because Defendants VCNA and Volvo AB have failed

 and/or have refused to adequately provide the promised remedies, i.e., a permanent

 repair, within a reasonable time.

       656. Missouri Plaintiff was not required to notify Defendants VCNA and

 Volvo AB of the breach because affording Defendants VCNA and Volvo AB a

 reasonable opportunity to cure their breach of written warranty would have been

 futile. Defendants VCNA and Volvo AB were also on notice of the Defect from the

 complaints and service requests it received from Class Members, including those

 formal complaints submitted to NHTSA, and through other internal sources.

       657. Nonetheless, Missouri Plaintiff and members of the Missouri Sub-Class

 provided notice to Defendants VCNA and Volvo AB of the breach of express

 warranties when they took their vehicles to Volvo-authorized providers of warranty




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 repairs. Missouri Plaintiff also provided notice to Defendants VCNA and Volvo AB

 of their breach of express warranty by letter dated February 10, 2022.

       658. As a result of Defendants VCNA and Volvo AB’s breach of the

 applicable express warranties, owners and/or lessees of the Class Vehicles suffered,

 and continue to suffer, an ascertainable loss of money, property, and/or value of their

 Class Vehicles.

       659. As a direct and proximate result of Defendants VCNA and Volvo AB’s

 breach of express warranties, Missouri Plaintiff and members of the Missouri Sub-

 Class have been damaged in an amount to be determined at trial.

       660. As a result of Defendants VCNA and Volvo AB’s breach of the express

 warranty, Missouri Plaintiff and Missouri Sub-Class Members are entitled to legal

 and equitable relief against Volvo, including actual damages, specific performance,

 attorney’s fees, costs of suit, and other relief as appropriate.


                                  COUNT XIX
               Breach of the Implied Warranty of Merchantability
                  Mo. Rev. Stat. § 400.2-314 and § 400.2A-212
           (On Behalf of the Missouri Sub-Class against all Defendants)


       661. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 as if fully set forth herein.

       662. Missouri Plaintiff brings this count on behalf of himself and the

 Missouri Sub-Class against all Defendants.

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       663. Volvo is and was at all relevant times a “merchant” with respect to

 motor vehicles under Mo. Rev. Stat. § 400.2-104(1) and a “seller” of motor vehicles

 under § 400.2-314.

       664. With respect to leases, Volvo is and was at all relevant times a “lessor”

 of motor vehicles under Mo. Rev. Stat. § 400.2A-103(1)(p) and § 400.2A-212.

       665. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of Mo. Rev. Stat. § 400.2-105(1) and Mo. Stat. § 400.2A-103(1)(h).

       666. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under Mo.

 Rev. Stat. § 400.2-314 and § 400.2A-212.

       667. Volvo knew or had reason to know of the specific use for which the

 Class Vehicles were purchased or leased. Volvo directly sold and marketed Class

 Vehicles to customers through authorized dealers, like those from whom Missouri

 Plaintiff and members of the Missouri Sub-Class bought or leased their vehicles, for

 the intended purpose of consumers purchasing the vehicles. Volvo knew that the

 Class Vehicles would and did pass unchanged from the authorized dealers to

 Missouri Plaintiff and members of the Missouri Sub-Class, with no modification to

 the defective Class Vehicles.

       668. Volvo provided Missouri Plaintiff and members of the Missouri Sub-

 Class with an implied warranty that the Class Vehicles and their components and

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 parts are merchantable and fit for the ordinary purposes for which they were sold.

 However, the Class Vehicles are not fit for their ordinary purpose of providing

 reasonably reliable and safe transportation because, inter alia, the Class Vehicles

 and their engine suffered from an inherent defect at the time of sale and thereafter

 and are not fit for their particular purpose of providing safe and reliable

 transportation.

       669. This implied warranty included, among other things: (i) a warranty that

 the Class Vehicles that were manufactured, supplied, distributed, and/or sold by

 Volvo were safe and reliable for providing transportation; and (ii) a warranty that

 the Class Vehicles would be fit for their intended use while the Class Vehicles were

 being operated.

       670. Contrary to the applicable implied warranties, the Class Vehicles at the

 time of sale and thereafter were not fit for their ordinary and intended purpose of

 providing Plaintiffs and Class Members with reliable, durable, and safe

 transportation. Instead, the Class Vehicles were and are defective at the time of sale

 or lease and thereafter as more fully described above. Volvo knew of this defect at

 the time these sale or lease transactions occurred.

       671. As a result of Volvo’s breach of the applicable implied warranties,

 Missouri Plaintiff and members of the Missouri Sub-Class suffered an ascertainable

 loss of money, property, and/or value of their Class Vehicles. Additionally, as a

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 result of the Defect, Missouri Plaintiff and members of the Missouri Sub-Class were

 harmed and suffered actual damages in that the Class Vehicles are substantially

 certain to fail before their expected useful life has run.

       672. Volvo’s actions, as complained of herein, breached the implied

 warranty that the Class Vehicles were of merchantable quality and fit for such use

 in violation of the Uniform Commercial Code and relevant state law.

       673. Missouri Plaintiff and members of the Missouri Sub-Class have

 complied with all obligations under the warranty, or otherwise have been excused

 from performance of said obligations as a result of Volvo’s conduct described

 herein.

       674. Missouri Plaintiff and members of the Missouri Sub-Class have had

 sufficient direct dealings with either Volvo or its agents (i.e., dealerships and

 technical support) to establish privity of contract between Volvo, on one hand, and

 Missouri Plaintiff and members of the Missouri Sub-Class on the other hand.

 Nonetheless, privity is not required here because Missouri Plaintiff and members of

 the Missouri Sub-Class are intended third-party beneficiaries of contracts between

 Volvo and its distributors and dealers, and specifically, of Volvo’s express

 warranties, including the NVLW, the Powertrain Warranties, and any warranties

 provided with certified pre-owned vehicles. The dealers were not intended to be the

 ultimate consumers of the Class Vehicles and have rights under the warranty

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 agreements provided with the Class Vehicles; the warranty agreements were

 designed for and intended to benefit the consumer only.

       675. Missouri Plaintiff and members of the Missouri Sub-Class were not

 required to notify Volvo of the breach because affording Volvo a reasonable

 opportunity to cure its breach of warranty would have been futile. Volvo was also

 on notice of the Defect from the complaints and service requests it received from

 Missouri Plaintiff and the Class Members and through other internal sources.

       676. Nonetheless, Missouri Plaintiff and members of the Missouri Sub-Class

 provided notice to Volvo of the breach of express warranties when they took their

 vehicles to Volvo-authorized provider of warranty repairs. Missouri Plaintiff also

 provided notice to Volvo of its breach of express warranty by letter dated February

 10, 2022.

       677. As a direct and proximate cause of Volvo’s breach, Missouri Plaintiff

 and members of the Missouri Sub-Class suffered damages and continue to suffer

 damages, including economic damages at the point of sale or lease and diminution

 of value of their Class Vehicles. Additionally, Missouri Plaintiff and members of the

 Missouri Sub-Class have incurred or will incur economic damages at the point of

 repair in the form of the cost of repair as well as additional losses.




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       678. As a direct and proximate result of Volvo’s breach of the implied

 warranty of merchantability, Missouri Plaintiff and members of the Missouri Sub-

 Class have been damaged in an amount to be proven at trial.


                                  COUNT XX
            Violations of the Missouri Merchandising Practices Act
                         Mo. Rev. Stat. § 407.010, et seq.
          (On Behalf of the Missouri Sub-Class against all Defendants)

       679. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 above as if fully set forth herein.

       680. Missouri Plaintiff brings this cause of action on behalf of himself and

 on behalf of the members of the Missouri Sub-Class against all Defendants.

       681. Volvo, Missouri Plaintiff, and members of the Missouri Sub-Class are

 “persons” within the meaning of the Missouri Merchandising Practices Act

 (“Missouri MPA”), Mo. Rev. Stat. § 407.010(5).

       682. Volvo engaged in “trade” or “commerce” in the State of Missouri

 within the meaning of Mo. Rev. Stat. § 407.010(7).

       683. The Missouri MPA makes unlawful the “act, use or employment by any

 person of any deception, fraud, false pretense, false promise, misrepresentation,

 unfair practice or the concealment, suppression, or omission of any material fact in

 connection with the sale or advertisement of any merchandise.” Mo. Rev. Stat. §




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 407.020. Volvo engaged in unlawful trade practices, and unfair or deceptive acts or

 practices that violated the Missouri MPA.

       684. Volvo participated in unfair or deceptive trade practices that violated

 the Missouri MPA. As described below and alleged throughout the Complaint, by

 failing to disclose the Defect, by concealing the Defect, by marketing its vehicles as

 safe, reliable, well-engineered, and of high quality, and by presenting itself as a

 reputable manufacturer that valued safety, performance and reliability, and stood

 behind its vehicles after they were sold, Volvo knowingly and intentionally

 misrepresented and omitted material facts in connection with the sale or lease of the

 Class Vehicles. Volvo systematically misrepresented, concealed, suppressed, or

 omitted material facts relating to the Class Vehicles and the Defect in the course of

 its business.

       685. Volvo also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

 suppression, or omission of any material fact with intent that others rely upon such

 concealment, suppression, or omission, in connection with the sale of the Class

 Vehicles.

       686. Volvo’s unfair and deceptive acts or practices occurred repeatedly in

 Volvo’s trade or business, were capable of deceiving a substantial portion of the

 purchasing public and imposed a serious safety risk on the public.

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       687. Volvo knew that the Class Vehicles suffered from an inherent defect,

 were defectively designed and/or manufactured, and were not suitable for their

 intended use.

       688. Volvo knew or should have known that its conduct violated the

 Missouri MPA.

       689. Volvo was under a duty to Missouri Plaintiff and the Missouri Sub-

 Class Members to disclose the defective nature of the Class Vehicles because:

              (a)      Volvo was in a superior position to know the true state of facts

                      about the safety defect in the Class Vehicles;

              (b)     Volvo made partial disclosures about the quality of the Class

                      Vehicles without revealing the defective nature of the Class

                      Vehicles; and

              (c)     Volvo actively concealed the defective nature of the Class

                      Vehicles from Missouri Plaintiff and the Missouri Sub-Class

                      Members at the time of sale and thereafter.

       690.      By failing to disclose the Defect, Volvo knowingly and intentionally

 concealed material facts and breached its duty not to do so.

       691. The facts concealed or not disclosed by Volvo to Missouri Plaintiff and

 the Missouri Sub-Class Members are material because a reasonable person would

 have considered them to be important in deciding whether or not to purchase or lease

 Volvo’s Class Vehicles, or to pay less for them. Whether an engine installed in a

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 vehicle will exhibit excessive oil consumption causing sudden shut off, premature

 engine wear, damage, and failure, is a material safety concern. Had Missouri

 Plaintiff and the Missouri Sub-Class Members known that the Class Vehicles

 suffered from the Defect described herein, they would not have purchased or leased

 the Class Vehicles or would have paid less for them.

       692. Missouri Plaintiff and the Missouri Sub-Class Members are reasonable

 consumers who do not expect that their vehicles will suffer from the Defect. That is

 the reasonable and objective consumer expectation for vehicles.

       693. As a result of Volvo’s misconduct, Missouri Plaintiff and the Missouri

 Sub-Class Members have been harmed and have suffered actual damages in that the

 Class Vehicles are defective and require repairs or replacement.

       694. As a direct and proximate result of Volvo’s unfair or deceptive acts or

 practices, Missouri Plaintiff and the Missouri Sub-Class Members have suffered and

 will continue to suffer actual damages.

       695. Volvo’s violations present a continuing risk to Missouri Plaintiff and

 the Missouri Sub-Class Members as well as to the general public. Volvo’s unlawful

 acts and practices complained of herein affect the public interest.

       696. Missouri Plaintiff provided notice of their claims, by letter dated

 February 10, 2022.




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       697. Volvo is liable to Missouri Plaintiff and Missouri Sub-Class Members

 for damages in amounts to be proven at trial, including actual damages, attorneys’

 fees, costs, and punitive damages, as well as injunctive relief enjoining Volvo’s

 unfair and deceptive practices, and any other just and proper relief available under

 Mo. Rev. Stat. § 407.025.


 Claims on Behalf of the New York Sub-Class
                                 COUNT XXI
                          Breach of Express Warranty
                       N.Y. U.C.C. §§ 2-314 AND 2A-210
   (On Behalf of the New York Sub-Class against Defendants VCNA and Volvo
                                      AB)
       698. Plaintiffs repeat and re-allege each and every allegation contained

 above in paragraphs 1 through 314 above as if fully set forth herein.

       699. Plaintiff Rollie Buchanan (“New York Plaintiff”) brings this count on

 behalf of himself and the New York Sub-Class against Defendants VCNA and Volvo

 AB.

       700. Defendants VCNA and Volvo AB are and were at all relevant times

 “merchants” with respect to motor vehicles under N.Y. UCC Law §§ 11-2-104(1),

 and “sellers” of motor vehicles under § 2-103(1)(d).

       701. With respect to leases, Defendants VCNA and Volvo AB are and were

 at all relevant times “lessors” of motor vehicles under N.Y. UCC Law § 2A-

 103(1)(p).

       702. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of N.Y. UCC Law §§ 2-105(1) and 2A-103(1)(h).

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       703. The engines were manufactured and/or installed in the Class Vehicles

 by Volvo and are covered by the express warranty.

       704. Defendants VCNA and Volvo AB provided all purchasers and lessees

 of the Class Vehicles with an express warranty described herein, which became a

 material part of the bargain. Accordingly, Defendants VCNA and Volvo AB’s

 express warranty is an express warranty under New York state law.

       705. In a section entitled “Warranty Repairs,” Defendants VCNA and Volvo

 AB’s express warranty (or New Vehicle Limited Warranty (“NVLW”)) provides in

 relevant part that “[w]arranty repairs which are required as a result of defects in

 material or workmanship, and are brought to the attention of an authorized Volvo

 retailer by an owner, will be performed by an authorized Volvo retailer only at no

 charge during the warranty period.”

       706. According to Volvo, the NVLW coverage is for “4 years/50,000

 miles[.]”

       707. Defendants VCNA and Volvo AB also provide a maintenance

 warranty, the Complimentary Factor Scheduled Maintenance Program (“Factory

 Maintenance Program”), which provides that all new vehicles will have “the first

 three (3) regularly scheduled maintenance services at 10,000, 20,000 and 30,000

 miles for the first three (3) years or up to 36,000 miles provided free of charge.”




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       708. Defendants VCNA and Volvo AB’s NVLW, Factory Maintenance

 Program, and other warranties regarding the Class Vehicles formed a basis of the

 bargain that was breached when New York Plaintiff and members of the New York

 Sub-Class purchased or leased the Class Vehicles with the defective engine and/or

 related components.

       709. New York Plaintiff and members of the New York Sub-Class

 experienced defects within the warranty period. Despite the existence of the NVLW,

 Defendants VCNA and Volvo AB failed to inform New York Plaintiff and members

 of the New York Sub-Class that the Class Vehicles were equipped with defective

 engines and related components.      When providing repairs under the express

 warranty, these repairs were ineffective and incomplete and did not provide a

 permanent repair for the Defect.

       710. Defendants VCNA and Volvo AB breached the express warranty

 through the acts and omissions described above, including by promising to repair or

 adjust defects in materials or workmanship of any part supplied by Volvo and then

 failing to do so. Defendants VCNA and Volvo AB have not repaired or adjusted,

 and have been unable to repair or adjust, the Class Vehicles materials and

 workmanship defects.

       711. New York Plaintiff and members of the New York Sub-Class have had

 sufficient direct dealings with either Defendants VCNA and Volvo AB or their

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 agents (i.e., dealerships and technical support) to establish privity of contract

 between Defendants VCNA and Volvo AB, on one hand, and New York Plaintiff

 and each member of the New York Sub-Class on the other hand. Nonetheless,

 privity is not required here because New York Plaintiff and members of the New

 York Sub-Class are intended third-party beneficiaries of contracts between

 Defendants VCNA and Volvo AB and their distributors and dealers, and

 specifically, of Defendants VCNA and Volvo AB’s express warranties, including

 the NVLW, the Powertrain Warranties, and any warranties provided with certified

 pre-owned vehicles. The dealers were not intended to be the ultimate consumers of

 the Class Vehicles and have rights under the warranty agreements provided with the

 Class Vehicles; the warranty agreements were designed for and intended to benefit

 the consumer only.

         712. Any attempt by Defendants VCNA and Volvo AB to disclaim or limit

 recovery to the terms of the express warranty is unconscionable and unenforceable

 here.    Specifically, the warranty limitation is unenforceable because Volvo

 knowingly sold or leased defective products without informing consumers about the

 Defect. The time limits are unconscionable and inadequate to protect New York

 Plaintiff and the members of the New York Sub-Class. Among other things, New

 York Plaintiff and members of the New York Sub-Class did not determine these time

 limitations and/or did not know of other limitations not appearing in the text of the

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 warranties, the terms of which were drafted by Defendants VCNA and Volvo AB

 and unreasonable favored Defendants VCNA and Volvo AB. A gross disparity in

 bargaining power and knowledge of the extent, severity, and safety risk of the Defect

 existed between Defendants VCNA and Volvo AB and members of the New York

 Sub-Class.

       713. Further, the limited warranty promising to repair and/or correct a

 manufacturing or workmanship defect fails of its essential purpose because the

 contractual remedy is insufficient to make New York Plaintiff and the members of

 the New York Sub-Class whole, because Defendants VCNA and Volvo AB have

 failed and/or have refused to adequately provide the promised remedies, i.e., a

 permanent repair, within a reasonable time.

       714. New York Plaintiff was not required to notify Defendants VCNA and

 Volvo AB of the breach because affording Defendants VCNA and Volvo AB a

 reasonable opportunity to cure their breach of written warranty would have been

 futile. Defendants VCNA and Volvo AB were also on notice of the Defect from the

 complaints and service requests it received from Class Members, including those

 formal complaints submitted to NHTSA, and through other internal sources.

       715. Nonetheless, New York Plaintiff and members of the New York Sub-

 Class provided notice to Defendants VCNA and Volvo AB of the breach of express




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 warranties when they took their vehicles to Volvo-authorized providers of warranty

 repairs.

       716. As a result of Defendants VCNA and Volvo AB’s breach of the

 applicable express warranties, owners and/or lessees of the Class Vehicles suffered,

 and continue to suffer, an ascertainable loss of money, property, and/or value of their

 Class Vehicles.

       717. As a direct and proximate result of Defendants VCNA and Volvo AB’s

 breach of express warranties, New York Plaintiff and members of the New York

 Sub-Class have been damaged in an amount to be determined at trial.

       718. As a result of Defendants VCNA and Volvo AB’s breach of the express

 warranty, New York Plaintiff and New York Sub-Class Members are entitled to

 legal and equitable relief against Volvo, including actual damages, specific

 performance, attorney’s fees, costs of suit, and other relief as appropriate.


                                   COUNT XXII
                Breach of the Implied Warranty of Merchantability
                          N.Y. U.C.C. §§ 2-314 AND 2A-212
            (On Behalf of the New York Sub-Class against all Defendants)
       719. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 as if fully set forth herein.

       720. New York Plaintiff brings this count on behalf of himself and the New

 York Sub-Class against all Defendants.



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       721. Volvo is and was at all relevant times a “merchant” with respect to
 motor vehicles under N.Y. UCC Law §§ 11-2-104(1), and a “seller” of motor

 vehicles under § 2-103(1)(d).

       722. With respect to leases, Volvo is and was at all relevant times a “lessor”
 of motor vehicles under N.Y. UCC Law § 2A-103(1)(p).

       723. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of N.Y. UCC Law §§ 2-105(1) and 2A-103(1)(h).
       724. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under N.Y.

 UCC Law §§ 2-314 and 2A-212.

       725. Volvo knew or had reason to know of the specific use for which the

 Class Vehicles were purchased or leased. Volvo directly sold and marketed Class

 Vehicles to customers through authorized dealers, like those from whom New York
 Plaintiff and members of the New York Sub-Class bought or leased their vehicles,

 for the intended purpose of consumers purchasing the vehicles. Volvo knew that the

 Class Vehicles would and did pass unchanged from the authorized dealers to New

 York Plaintiff and members of the New York Sub-Class, with no modification to the

 defective Class Vehicles.

       726. Volvo provided New York Plaintiff and members of the New York

 Sub-Class with an implied warranty that the Class Vehicles and their components

 and parts are merchantable and fit for the ordinary purposes for which they were

 sold. However, the Class Vehicles are not fit for their ordinary purpose of providing

 reasonably reliable and safe transportation because, inter alia, the Class Vehicles and
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 their engine suffered from an inherent defect at the time of sale and thereafter and
 are not fit for their particular purpose of providing safe and reliable transportation.

       727. This implied warranty included, among other things: (i) a warranty that

 the Class Vehicles that were manufactured, supplied, distributed, and/or sold by
 Volvo were safe and reliable for providing transportation; and (ii) a warranty that

 the Class Vehicles would be fit for their intended use while the Class Vehicles were

 being operated.
       728. Contrary to the applicable implied warranties, the Class Vehicles at the

 time of sale and thereafter were not fit for their ordinary and intended purpose of

 providing Plaintiff and Class Members with reliable, durable, and safe

 transportation. Instead, the Class Vehicles were and are defective at the time of sale

 or lease and thereafter as more fully described above. Volvo knew of this defect at

 the time these sale or lease transactions occurred.
       729. As a result of Volvo’s breach of the applicable implied warranties, New

 York Plaintiff and members of the New York Sub-Class suffered an ascertainable

 loss of money, property, and/or value of their Class Vehicles. Additionally, as a

 result of the Defect, New York Plaintiff and members of the New York Sub-Class

 were harmed and suffered actual damages in that the Class Vehicles are substantially

 certain to fail before their expected useful life has run.

       730. Volvo’s actions, as complained of herein, breached the implied

 warranty that the Class Vehicles were of merchantable quality and fit for such use

 in violation of the Uniform Commercial Code and relevant state law.


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       731. New York Plaintiff and members of the New York Sub-Class have
 complied with all obligations under the warranty, or otherwise have been excused

 from performance of said obligations as a result of Volvo’s conduct described

 herein.
       732. New York Plaintiff and members of the New York Sub-Class have had

 sufficient direct dealings with either Volvo or its agents (i.e., dealerships and

 technical support) to establish privity of contract between Volvo, on one hand, and
 New York Plaintiff and members of the New York Sub-Class on the other hand.

 Nonetheless, privity is not required here because New York Plaintiff and members

 of the New York Sub-Class are intended third-party beneficiaries of contracts

 between Volvo and its distributors and dealers, and specifically, of Volvo’s express

 warranties, including the NVLW, the Powertrain Warranties, and any warranties

 provided with certified pre-owned vehicles. The dealers were not intended to be the
 ultimate consumers of the Class Vehicles and have rights under the warranty

 agreements provided with the Class Vehicles; the warranty agreements were

 designed for and intended to benefit the consumer only.

       733. New York Plaintiff and members of the New York Sub-Class were not

 required to notify Volvo of the breach because affording Volvo a reasonable

 opportunity to cure its breach of warranty would have been futile. Volvo was also

 on notice of the Defect from the complaints and service requests it received from

 New York Plaintiff and the Class Members and through other internal sources.




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       734. Nonetheless, New York Plaintiff and members of the New York Sub-
 Class provided notice to Volvo of the breach of express warranties when they took

 their vehicles to Volvo -authorized provider of warranty repairs.

       735. As a direct and proximate cause of Volvo’s breach, New York Plaintiff
 and members of the New York Sub-Class suffered damages and continue to suffer

 damages, including economic damages at the point of sale or lease and diminution

 of value of their Class Vehicles. Additionally, New York Plaintiff and members of
 the New York Sub-Class have incurred or will incur economic damages at the point

 of repair in the form of the cost of repair as well as additional losses.

       736. As a direct and proximate result of Volvo’s breach of the implied

 warranty of merchantability, New York Plaintiff and members of the New York Sub-

 Class have been damaged in an amount to be proven at trial.

                                 COUNT XXIII
            Violations of the New York General Business Law § 349
                           N.Y. GEN. BUS. LAW § 349
          (On Behalf of the New York Sub-Class against all Defendants)
       737. Plaintiffs repeat and re-allege each and every allegation contained in
 paragraphs 1 through 314 above as if fully set forth herein.

       738. New York Plaintiff brings this cause of action on behalf of himself and

 on behalf of the members of the New York Sub-Class against all Defendants.

       739. New York Plaintiff and members of the New York Sub-Class are

 “persons” as defined by the New York General Business Law (“New York GBL”).

 N.Y. Gen. Bus. Law § 349(h).



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       740. Volvo is a “person,” “firm,” “corporation,” or “association” within the
 meaning of N.Y. Gen. Bus. Law § 349.New York’s General Business Law § 349

 makes unlawful “[d]eceptive acts or practices in the conduct of any business, trade

 or commerce.” N.Y. Gen. Bus. Law § 349. Volvo engaged in unlawful trade
 practices, and unfair or deceptive acts or practices that violated the New York GBL.

       741. Volvo participated in unfair or deceptive trade practices that violated

 the New York GBL. As described below and alleged throughout the Complaint, by
 failing to disclose the Defect, by concealing the Defect, by marketing its vehicles as

 safe, reliable, well-engineered, and of high quality, and by presenting itself as a

 reputable manufacturer that valued safety, performance and reliability, and stood

 behind its vehicles after they were sold, Volvo knowingly and intentionally

 misrepresented and omitted material facts in connection with the sale or lease of the

 Class Vehicles. Volvo systematically misrepresented, concealed, suppressed, or
 omitted material facts relating to the Class Vehicles and the Defect in the course of

 its business.

       742. Volvo also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

 suppression, or omission of any material fact with intent that others rely upon such

 concealment, suppression, or omission, in connection with the sale of the Class

 Vehicles.

       743. Volvo’s unfair and deceptive acts or practices occurred repeatedly in

 Volvo’s trade or business, were capable of deceiving a substantial portion of the

 purchasing public and imposed a serious safety risk on the public.
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       744. Volvo knew that the Class Vehicles suffered from an inherent defect,
 were defectively designed and/or manufactured, and were not suitable for their

 intended use.

       745. Volvo knew or should have known that its conduct violated the New
 York GBL.

       746. Volvo was under a duty to New York Plaintiff and the New York Sub-

 Class Members to disclose the defective nature of the Class Vehicles because:
              a.    Volvo was in a superior position to know the true state of facts

                    about the safety defect in the Class Vehicles;

              b.    Volvo made partial disclosures about the quality of the Class

                    Vehicles without revealing the defective nature of the Class

                    Vehicles; and

              c.    Volvo actively concealed the defective nature of the Class
                    Vehicles from New York Plaintiff and the New York Sub-Class

                    Members at the time of sale and thereafter.

       747. By failing to disclose the Defect, Volvo knowingly and intentionally

 concealed material facts and breached its duty not to do so.

       748. The facts concealed or not disclosed by Volvo to New York Plaintiff

 and the New York Sub-Class Members are material because a reasonable person

 would have considered them to be important in deciding whether or not to purchase

 or lease Volvo’s Class Vehicles, or to pay less for them. Whether an engine installed

 in a vehicle will exhibit excessive oil consumption causing sudden shut off,

 premature engine wear, damage, and failure, is a material safety concern. Had New
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 York Plaintiff and the New York Sub-Class Members known that the Class Vehicles
 suffered from the Defect described herein, they would not have purchased or leased

 the Class Vehicles or would have paid less for them.

       749. New York Plaintiff and the New York Sub-Class Members are
 reasonable consumers who do not expect that their vehicles will suffer from the

 Defect. That is the reasonable and objective consumer expectation for vehicles.

       750. As a result of Volvo’s misconduct, New York Plaintiff and the New
 York Sub-Class Members have been harmed and have suffered actual damages in

 that the Class Vehicles are defective and require repairs or replacement.

       751. As a direct and proximate result of Volvo’s unfair or deceptive acts or

 practices, New York Plaintiff and the New York Sub-Class Members have suffered

 and will continue to suffer actual damages.

       752. Volvo’s violations present a continuing risk to New York Plaintiff and
 the New York Sub-Class Members as well as to the general public. Volvo’s

 unlawful acts and practices complained of herein affect the public interest.

       753. Pursuant to N.Y. Gen. Bus. Law § 349(h), New York Plaintiff and each

 New York Sub-Class Member seek actual damages or $50, whichever is greater, in

 addition to discretionary three times actual damages up to $1,000 for Volvo’s willful

 and knowing violation of N.Y. Gen. Bus. Law § 349. Plaintiffs and New York Class

 members also seek attorneys’ fees, an order enjoining Volvo’s deceptive conduct,

 and any other just and proper relief available under the New York GBL.




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                                 COUNT XXIV
            Violations of the New York General Business Law § 350
                           N.Y. GEN. BUS. LAW § 350
          (On Behalf of the New York Sub-Class against all Defendants)
       754. Plaintiffs repeat and re-allege each and every allegation contained in
 paragraphs 1 through 314 above as if fully set forth herein.

       755. New York Plaintiff brings this cause of action on behalf of himself and

 on behalf of the members of the New York Sub-Class against all Defendants.
       756. New York’s General Business Law § 350, the New York False

 Advertising Act (“NY FAA”), makes unlawful “[f]alse advertising in the conduct of

 any business, trade or commerce[.]” False advertising includes “advertising,

 including labeling, of a commodity . . . if such advertising is misleading in a material

 respect,” taking into account “the extent to which the advertising fails to reveal facts

 material in the light of . . . representations [made] with respect to the commodity.”

 N.Y. Gen. Bus. Law § 350-a.

       757. Volvo caused to be made or disseminated throughout New York,

 through advertising, marketing, and other publications, representations that were
 untrue or misleading, and which were known, or which by the exercise of reasonable

 care should have been known to Volvo, to be untrue and misleading to consumers,

 including New York Plaintiff and the New York Sub-Class Members.

       758. Volvo violated the NY FAA because of the misrepresentations and

 omissions alleged herein, including, but not limited to, Volvo’s failure to disclose

 the Defect, by concealing the Defect, by marketing its vehicles as safe, reliable,

 easily operable, efficient, and of high quality, and by presenting itself as a reputable


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 manufacturer that valued safety, cleanliness, performance and efficiency, and stood
 behind its vehicles after they were sold, Volvo knowingly and intentionally

 misrepresented and omitted material facts in connection with the sale or lease of the

 Class Vehicles. Volvo systematically misrepresented, concealed, suppressed, or
 omitted material facts relating to the Class Vehicles and Defect in the course of its

 business.

       759. In purchasing or leasing the Class Vehicles, New York Plaintiff and the
 New York Sub-Class Members were deceived by Volvo’s failure to the Defect.

       760. New York Plaintiff and the New York Sub-Class Members had no way

 of knowing that Volvo’s representations and omissions were false and misleading,

 that an internal component part of the Class Vehicles is defective and causes a safety

 hazard, that the engine will fail under normal and intended use of the Class Vehicles,

 or that Volvo would refuse to repair, replace, or compensate New York Plaintiff and
 the New York Sub-Class Members for the failure of the defective engines and the

 known consequences of that failure to the Class Vehicles.

       761. Volvo also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

 suppression, or omission of any material fact with intent that others rely upon such

 concealment, suppression, or omission, in connection with the sale of the Class

 Vehicles.

       762. Volvo’s unfair and deceptive acts or practices occurred repeatedly in

 Volvo’s trade or business, were capable of deceiving a substantial portion of the

 purchasing public and imposed a serious safety risk on the public.
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       763. Volvo knew that the Class Vehicles suffered from an inherent defect,
 were defectively designed and/or manufactured, and were not suitable for their

 intended use.

       764. Volvo knew or should have known that its conduct violated the New
 York FAA.

       765. Volvo’s unfair or deceptive acts or practices, fraud, misrepresentations,

 suppression or omission of material facts were likely to and did in fact deceive
 reasonable consumers.

       766. Volvo intentionally and knowingly misrepresented material facts

 regarding the Class Vehicles with intent to mislead New York Plaintiff and the New

 York Sub-Class Members.

       767. New York Plaintiff and the New York Sub-Class Members reasonably

 relied on Volvo’s misrepresentations and omissions of material facts in its
 advertisements of the Class Vehicles and in the purchase of the Class Vehicles.

       768. Volvo was under a duty to New York Plaintiff and the New York Sub-

 Class Members to disclose the defective nature of the Class Vehicles because:

             a.     Volvo was in a superior position to know the true state of facts

                    about the safety defect in the Class Vehicles;

             b.     Volvo made partial disclosures about the quality of the Class

                    Vehicles without revealing the defective nature of the Class

                    Vehicles; and

             c.     Volvo actively concealed the defective nature of the Class

                    Vehicles from New York Plaintiff and the New York Sub-Class
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                    Members at the time of sale and thereafter.
       769. By failing to disclose Defect, Volvo knowingly and intentionally

 concealed material facts and breached its duty not to do so.

       770. The facts concealed or not disclosed by Volvo to New York Plaintiff
 and the New York Sub-Class Members are material because a reasonable person

 would have considered them to be important in deciding whether or not to purchase

 or lease Volvo’s Class Vehicles, or to pay less for them. Whether an engine installed
 in a vehicle will exhibit excessive oil consumption causing sudden shut off,

 premature engine wear, damage, and failure, is a material safety concern. Had New

 York Plaintiff and the New York Sub-Class Members known that the Class Vehicles

 suffered from the Defect described herein, they would not have purchased or leased

 the Class Vehicles or would have paid less for them.

       771. New York Plaintiff and the New York Sub-Class Members are
 reasonable consumers who do not expect that their vehicles will suffer from the

 Defect. That is the reasonable and objective consumer expectation for vehicles.

       772. As a result of Volvo’s misconduct, New York Plaintiff and the New

 York Sub-Class Members have been harmed and have suffered actual damages in

 that the Class Vehicles are defective and require repairs or replacement.

       773. As a direct and proximate result of Volvo’s unfair or deceptive acts or

 practices, New York Plaintiff and the New York Sub-Class Members have suffered

 and will continue to suffer actual damages.




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       774. Volvo’s violations present a continuing risk to New York Plaintiff and
 the New York Sub-Class Members as well as to the general public. Volvo’s

 unlawful acts and practices complained of herein affect the public interest.

       775. New York Plaintiff and the New York Sub-Class Members are entitled
 to recover their actual damages or $500, whichever is greater. Because Volvo acted

 willfully or knowingly, New York Plaintiff and the New York Sub-Class Members

 are entitled to recover three times actual damages, up to $10,000.


 Claims on Behalf of the Pennsylvania Sub-Class
                                 COUNT XXV
                         Breach of Express Warranty
                    13 PA. CONS. STAT. §§ 2313 and 2A210
    (On Behalf of the Pennsylvania Sub-Class against Defendants VCNA and
                                  Volvo AB)
       776.   Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 above as if fully set forth herein.

       777. Plaintiffs Robert Hoffman, Davin Card, and Donna Urben

 (“Pennsylvania Plaintiffs”) bring this count on behalf of themselves and the

 Pennsylvania Sub-Class against Defendants VCNA and Volvo AB.

       778. Defendants VCNA and Volvo AB are and were at all relevant times

 “merchants” with respect to motor vehicles under 13 Pa. Cons. Stat. §§ 2104 and

 2A103(a), and “sellers” of motor vehicles under § 2103(a).

       779. With respect to leases, Defendants VCNA and Volvo AB are and were

 at all relevant times “lessors” of motor vehicles under 13 Pa. Cons. Stat. § 2A103(a).

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       780. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of 13 Pa. Cons. Stat. § 2105(a) and 2A103(a).

       781. The engines were manufactured and/or installed in the Class Vehicles

 by Volvo and are covered by the express warranty.

       782. Defendants VCNA and Volvo AB provided all purchasers and lessees

 of the Class Vehicles with an express warranty described herein, which became a

 material part of the bargain. Accordingly, Defendants VCNA and Volvo AB’s

 express warranty is an express warranty under Pennsylvania state law.

       783. In a section entitled “Warranty Repairs,” Defendants VCNA and Volvo

 AB’s express warranty (or New Vehicle Limited Warranty (“NVLW”)) provides in

 relevant part that “[w]arranty repairs which are required as a result of defects in

 material or workmanship, and are brought to the attention of an authorized Volvo

 retailer by an owner, will be performed by an authorized Volvo retailer only at no

 charge during the warranty period.”

       784. According to Volvo, the NVLW coverage is for “4 years/50,000

 miles[.]”

       785. Defendants VCNA and Volvo AB also provide a maintenance

 warranty, the Complimentary Factor Scheduled Maintenance Program (“Factory

 Maintenance Program”), which provides that all new vehicles will have “the first




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 three (3) regularly scheduled maintenance services at 10,000, 20,000 and 30,000

 miles for the first three (3) years or up to 36,000 miles provided free of charge.”

       786. Defendants VCNA and Volvo AB’s NVLW, Factory Maintenance

 Program, and other warranties regarding the Class Vehicles formed a basis of the

 bargain that was breached when Pennsylvania Plaintiffs and members of the

 Pennsylvania Sub-Class purchased or leased the Class Vehicles with the defective

 engine and/or related components.

       787. Pennsylvania Plaintiffs and members of the Pennsylvania Sub-Class

 experienced defects within the warranty period. Despite the existence of the NVLW,

 Defendants VCNA and Volvo AB failed to inform Pennsylvania Plaintiffs and

 members of the Pennsylvania Sub-Class that the Class Vehicles were equipped with

 defective engines and related components. When providing repairs under the

 express warranty, these repairs were ineffective and incomplete and did not provide

 a permanent repair for the Defect.

       788. Defendants VCNA and Volvo AB breached the express warranty

 through the acts and omissions described above, including by promising to repair or

 adjust defects in materials or workmanship of any part supplied by Volvo and then

 failing to do so. Defendants VCNA and Volvo AB have not repaired or adjusted,

 and have been unable to repair or adjust, the Class Vehicles materials and

 workmanship defects.

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         789. Pennsylvania Plaintiffs and members of the Pennsylvania Sub-Class

 have had sufficient direct dealings with either Defendants VCNA and Volvo AB or

 their agents (i.e., dealerships and technical support) to establish privity of contract

 between Defendants VCNA and Volvo AB, on one hand, and Pennsylvania

 Plaintiffs and each member of the Pennsylvania Sub-Class on the other hand.

 Nonetheless, privity is not required here because Pennsylvania Plaintiffs and

 members of the Pennsylvania Sub-Class are intended third-party beneficiaries of

 contracts between Defendants VCNA and Volvo AB and their distributors and

 dealers, and specifically, of Defendants VCNA and Volvo AB’s express warranties,

 including the NVLW, the Powertrain Warranties, and any warranties provided with

 certified pre-owned vehicles. The dealers were not intended to be the ultimate

 consumers of the Class Vehicles and have rights under the warranty agreements

 provided with the Class Vehicles; the warranty agreements were designed for and

 intended to benefit the consumer only.

         790. Any attempt by Defendants VCNA and Volvo AB to disclaim or limit

 recovery to the terms of the express warranty is unconscionable and unenforceable

 here.    Specifically, the warranty limitation is unenforceable because Volvo

 knowingly sold or leased defective products without informing consumers about the

 Defect. The time limits are unconscionable and inadequate to protect Pennsylvania

 Plaintiffs and the members of the Pennsylvania Sub-Class. Among other things,

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 Pennsylvania Plaintiffs and members of the Pennsylvania Sub-Class did not

 determine these time limitations and/or did not know of other limitations not

 appearing in the text of the warranties, the terms of which were drafted by

 Defendants VCNA and Volvo AB and unreasonable favored Defendants VCNA and

 Volvo AB. A gross disparity in bargaining power and knowledge of the extent,

 severity, and safety risk of the Defect existed between Defendants VCNA and Volvo

 AB and members of the Pennsylvania Sub-Class.

       791. Further, the limited warranty promising to repair and/or correct a

 manufacturing or workmanship defect fails of its essential purpose because the

 contractual remedy is insufficient to make Pennsylvania Plaintiffs and the members

 of the Pennsylvania Sub-Class whole, because Defendants VCNA and Volvo AB

 have failed and/or have refused to adequately provide the promised remedies, i.e., a

 permanent repair, within a reasonable time.

       792. Pennsylvania Plaintiffs was not required to notify Defendants VCNA

 and Volvo AB of the breach because affording Defendants VCNA and Volvo AB a

 reasonable opportunity to cure their breach of written warranty would have been

 futile. Defendants VCNA and Volvo AB were also on notice of the Defect from the

 complaints and service requests it received from Class Members, including those

 formal complaints submitted to NHTSA, and through other internal sources.




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       793. Nonetheless, Pennsylvania Plaintiffs and members of the Pennsylvania

 Sub-Class provided notice to Defendants VCNA and Volvo AB of the breach of

 express warranties when they took their vehicles to Volvo-authorized providers of

 warranty repairs. Pennsylvania Plaintiffs also provided notice to Defendants VCNA

 and Volvo AB of their breach of express warranty by letters dated February 16, 2022

 and March 2, 2022.

       794. As a result of Defendants VCNA and Volvo AB’s breach of the

 applicable express warranties, owners and/or lessees of the Class Vehicles suffered,

 and continue to suffer, an ascertainable loss of money, property, and/or value of their

 Class Vehicles.

       795. As a direct and proximate result of Defendants VCNA and Volvo AB’s

 breach of express warranties, Pennsylvania Plaintiffs and members of the

 Pennsylvania Sub-Class have been damaged in an amount to be determined at trial.

       796. As a result of Defendants VCNA and Volvo AB’s breach of the express

 warranty, Pennsylvania Plaintiffs and Pennsylvania Sub-Class Members are entitled

 to legal and equitable relief against Volvo, including actual damages, specific

 performance, attorney’s fees, costs of suit, and other relief as appropriate.




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                                  COUNT XXVI
             Breach of The Implied Warranty of Merchantability
                    13 PA. CONS. STAT. §§ 2314 and 2A212
       (On Behalf of the Pennsylvania Sub-Class against all Defendants)
       797. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 as if fully set forth herein.

       798. Pennsylvania Plaintiffs brings this count on behalf of himself and the

 Pennsylvania Sub-Class against all Defendants.

       799. Volvo is and was at all relevant times a “merchant” with respect to

 motor vehicles under 13 Pa. Cons. Stat. §§ 2104 and 2A103(a), and a “seller” of

 motor vehicles under § 2103(a).

       800. With respect to leases, Volvo is and was at all relevant times a “lessor”

 of motor vehicles under 13 Pa. Cons. Stat. § 2A103(a).

       801. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of 13 Pa. Cons. Stat. § 2105(a) and 2A103(a).

       802. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under 13

 Pa. Cons. Stat. §§ 2314 and 2A212.

       803. Volvo knew or had reason to know of the specific use for which the

 Class Vehicles were purchased or leased. Volvo directly sold and marketed Class

 Vehicles to customers through authorized dealers, like those from whom

 Pennsylvania Plaintiffs and members of the Pennsylvania Sub-Class bought or


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 leased their vehicles, for the intended purpose of consumers purchasing the vehicles.

 Volvo knew that the Class Vehicles would and did pass unchanged from the

 authorized dealers to Pennsylvania Plaintiffs and members of the Pennsylvania Sub-

 Class, with no modification to the defective Class Vehicles.

       804. Volvo provided Pennsylvania Plaintiffs and members of the

 Pennsylvania Sub-Class with an implied warranty that the Class Vehicles and their

 components and parts are merchantable and fit for the ordinary purposes for which

 they were sold. However, the Class Vehicles are not fit for their ordinary purpose

 of providing reasonably reliable and safe transportation because, inter alia, the Class

 Vehicles and their engine suffered from an inherent defect at the time of sale and

 thereafter and are not fit for their particular purpose of providing safe and reliable

 transportation.

       805. This implied warranty included, among other things: (i) a warranty that

 the Class Vehicles that were manufactured, supplied, distributed, and/or sold by

 Volvo were safe and reliable for providing transportation; and (ii) a warranty that

 the Class Vehicles would be fit for their intended use while the Class Vehicles were

 being operated.

       806. Contrary to the applicable implied warranties, the Class Vehicles at the

 time of sale and thereafter were not fit for their ordinary and intended purpose of

 providing Plaintiffs and Class Members with reliable, durable, and safe

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 transportation. Instead, the Class Vehicles were and are defective at the time of sale

 or lease and thereafter as more fully described above. Volvo knew of this defect at

 the time these sale or lease transactions occurred.

       807. As a result of Volvo’s breach of the applicable implied warranties,

 Pennsylvania Plaintiffs and members of the Pennsylvania Sub-Class suffered an

 ascertainable loss of money, property, and/or value of their Class Vehicles.

 Additionally, as a result of the Defect, Pennsylvania Plaintiffs and members of the

 Pennsylvania Sub-Class were harmed and suffered actual damages in that the Class

 Vehicles are substantially certain to fail before their expected useful life has run.

       808. Volvo’s actions, as complained of herein, breached the implied

 warranty that the Class Vehicles were of merchantable quality and fit for such use

 in violation of the Uniform Commercial Code and relevant state law.

       809. Pennsylvania Plaintiffs and members of the Pennsylvania Sub-Class

 have complied with all obligations under the warranty, or otherwise have been

 excused from performance of said obligations as a result of Volvo’s conduct

 described herein.

       810. Pennsylvania Plaintiffs and members of the Pennsylvania Sub-Class

 have had sufficient direct dealings with either Volvo or its agents (i.e., dealerships

 and technical support) to establish privity of contract between Volvo, on one hand,

 and Pennsylvania Plaintiffs and members of the Pennsylvania Sub-Class on the other

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 hand. Nonetheless, privity is not required here because Pennsylvania Plaintiffs and

 members of the Pennsylvania Sub-Class are intended third-party beneficiaries of

 contracts between Volvo and its distributors and dealers, and specifically, of Volvo’s

 express warranties, including the NVLW, the Powertrain Warranties, and any

 warranties provided with certified pre-owned vehicles.        The dealers were not

 intended to be the ultimate consumers of the Class Vehicles and have rights under

 the warranty agreements provided with the Class Vehicles; the warranty agreements

 were designed for and intended to benefit the consumer only.

       811. Pennsylvania Plaintiffs and members of the Pennsylvania Sub-Class

 were not required to notify Volvo of the breach because affording Volvo a

 reasonable opportunity to cure its breach of warranty would have been futile. Volvo

 was also on notice of the Defect from the complaints and service requests it received

 from Pennsylvania Plaintiffs and the Class Members and through other internal

 sources.

       812. Nonetheless, Pennsylvania Plaintiffs and members of the Pennsylvania

 Sub-Class provided notice to Volvo of the breach of express warranties when they

 took their vehicles to Volvo-authorized provider of warranty repairs. Pennsylvania

 Plaintiffs also provided notice to Volvo of its breach of express warranty by letters

 dated February 16, 2022 and March 2, 2022.




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       813. As a direct and proximate cause of Volvo’s breach, Pennsylvania

 Plaintiffs and members of the Pennsylvania Sub-Class suffered damages and

 continue to suffer damages, including economic damages at the point of sale or lease

 and diminution of value of their Class Vehicles. Additionally, Pennsylvania

 Plaintiffs and members of the Pennsylvania Sub-Class have incurred or will incur

 economic damages at the point of repair in the form of the cost of repair as well as

 additional losses.

       814. As a direct and proximate result of Volvo’s breach of the implied

 warranty of merchantability, Pennsylvania Plaintiffs and members of the

 Pennsylvania Sub-Class have been damaged in an amount to be proven at trial.


                                COUNT XXVII
      Violation of the Pennsylvania Unfair Trade Practices and Consumer
                                Protection Law
                             73 P.S. § 201-1, et seq.
       (On Behalf of the Pennsylvania Sub-Class against all Defendants)
       815. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 above as if fully set forth herein.

       816. Pennsylvania Plaintiffs brings this cause of action on behalf of himself

 and on behalf of the members of the Pennsylvania Sub-Class against all Defendants.

       817. Pennsylvania Plaintiffs and the Pennsylvania Sub-Class Members

 purchased or leased their Class Vehicles primarily for personal, family or household

 purposes within the meaning of 73 P.S. § 201-9.2.


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       818. All of the acts complained of herein were perpetrated by Volvo in the

 course of trade or commerce within the meaning of 73 P.S. § 201-2(3).

       819. The Pennsylvania Unfair Trade Practices and Consumer Protection

 Law (“Pennsylvania CPL”) prohibits unfair or deceptive acts or practices, including:

 (a) "Representing that goods or services have . . . characteristics, . . . [b]enefits or

 qualities that they do not have;" (b) "Representing that goods or services are of a

 particular standard, quality or grade . . . if they are of another;" (c) "Advertising

 goods or services with intent not to sell them as advertised;" and (d) "Engaging in

 any other fraudulent or deceptive conduct which creates a likelihood of confusion or

 misunderstanding." 73 P.S. § 201-2(4). Volvo engaged in unlawful trade practices,

 and unfair or deceptive acts or practices that violated the Pennsylvania CPL.

       820. Volvo participated in unfair or deceptive trade practices that violated

 the Pennsylvania CPL. As described below and alleged throughout the Complaint,

 by failing to disclose the Defect, by concealing the Defect, by marketing its vehicles

 as safe, reliable, well-engineered, and of high quality, and by presenting itself as a

 reputable manufacturer that valued safety, performance and reliability, and stood

 behind its vehicles after they were sold, Volvo knowingly and intentionally

 misrepresented and omitted material facts in connection with the sale or lease of the

 Class Vehicles. Volvo systematically misrepresented, concealed, suppressed, or




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 omitted material facts relating to the Class Vehicles and the Defect in the course of

 its business.

       821. Volvo also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

 suppression, or omission of any material fact with intent that others rely upon such

 concealment, suppression, or omission, in connection with the sale of the Class

 Vehicles.

       822. Volvo’s unfair and deceptive acts or practices occurred repeatedly in

 Volvo’s trade or business, were capable of deceiving a substantial portion of the

 purchasing public and imposed a serious safety risk on the public.

       823. Volvo knew that the Class Vehicles suffered from an inherent defect,

 were defectively designed and/or manufactured, and were not suitable for their

 intended use.

       824. Volvo knew or should have known that its conduct violated the

 Pennsylvania CPL.

       825. Volvo was under a duty to Pennsylvania Plaintiffs and the Pennsylvania

 Sub-Class Members to disclose the defective nature of the Class Vehicles because:

                 (a)   Volvo was in a superior position to know the true state of facts

                       about the safety defect in the Class Vehicles;



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              (b)   Volvo made partial disclosures about the quality of the Class
                    Vehicles without revealing the defective nature of the Class

                    Vehicles; and

              (c)   Volvo actively concealed the defective nature of the Class
                    Vehicles from Pennsylvania Plaintiffs and the Pennsylvania Sub-

                    Class Members at the time of sale and thereafter.

       826.   By failing to disclose the Defect, Volvo knowingly and intentionally

 concealed material facts and breached its duty not to do so.

       827. The facts concealed or not disclosed by Volvo to Pennsylvania

 Plaintiffs and the Pennsylvania Sub-Class Members are material because a

 reasonable person would have considered them to be important in deciding whether

 or not to purchase or lease Volvo’s Class Vehicles, or to pay less for them. Whether

 an engine installed in a vehicle will exhibit excessive oil consumption causing

 sudden shut off, premature engine wear, damage, and failure, is a material safety

 concern. Had Pennsylvania Plaintiffs and the Pennsylvania Sub-Class Members

 known that the Class Vehicles suffered from the Defect described herein, they would

 not have purchased or leased the Class Vehicles or would have paid less for them.

       828. Pennsylvania Plaintiffs and the Pennsylvania Sub-Class Members are

 reasonable consumers who do not expect that their vehicles will suffer from the

 Defect. That is the reasonable and objective consumer expectation for vehicles.


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       829. As a result of Volvo’s misconduct, Pennsylvania Plaintiffs and the

 Pennsylvania Sub-Class Members have been harmed and have suffered actual

 damages in that the Class Vehicles are defective and require repairs or replacement.

       830. As a direct and proximate result of Volvo’s unfair or deceptive acts or

 practices, Pennsylvania Plaintiffs and the Pennsylvania Sub-Class Members have

 suffered and will continue to suffer actual damages.

       831. Volvo’s violations present a continuing risk to Pennsylvania Plaintiffs

 and the Pennsylvania Sub-Class Members as well as to the general public. Volvo’s

 unlawful acts and practices complained of herein affect the public interest.

       832. Pennsylvania Plaintiffs provided notice of their claims, by letters dated

 February 16, 2022 and March 2, 2022.

       833. Volvo liable to Plaintiffs and the Pennsylvania Class members for

 treble their actual damages or $100, whichever is greater, and attorneys’ fees and

 costs under 73 P.S. § 201-9.2(a). Pennsylvania Plaintiffs and the Pennsylvania Sub-

 Class members are also entitled to an award of punitive damages given that Volvo’s

 conduct was malicious, wanton, willful, oppressive, or exhibited a reckless

 indifference to the rights of others.




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 Claims on Behalf of the South Carolina Sub-Class
                               COUNT XXVIII
                          Breach of Express Warranty
                 S.C. CODE ANN. § §§ 36-2-313 and 36-2A-210
   (On Behalf of the South Carolina Sub-Class against Defendants VCNA and
                                  Volvo AB)
       834.   Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 above as if fully set forth herein.

       835. Plaintiff Kim and Fred Martin Ferguson (“South Carolina Plaintiffs”)

 bring this count on behalf of themselves and the South Carolina Sub-Class against

 Defendants VCNA and Volvo AB.

       836. Defendants VCNA and Volvo AB are and were at all relevant times

 “merchants” with respect to motor vehicles under S.C. Code Ann. § §§ 36-2-104(1)

 and 36-2A-103(1)(t), and “sellers” of motor vehicles under § 36-2-103(1)(d).

       837. With respect to leases, Defendants VCNA and Volvo AB are and were

 at all relevant times “lessors” of motor vehicles under S.C. Code Ann. § § 36-2A-

 103(1)(p).

       838. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of S.C. Code Ann. § §§ 36-2-105(1) and 36-2A-103(1)(h).

       839. The engines were manufactured and/or installed in the Class Vehicles

 by Volvo and are covered by the express warranty.

       840. Defendants VCNA and Volvo AB provided all purchasers and lessees

 of the Class Vehicles with an express warranty described herein, which became a

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 material part of the bargain. Accordingly, Defendants VCNA and Volvo AB’s

 express warranty is an express warranty under South Carolina state law.

       841. In a section entitled “Warranty Repairs,” Defendants VCNA and Volvo

 AB’s express warranty (or New Vehicle Limited Warranty (“NVLW”)) provides in

 relevant part that “[w]arranty repairs which are required as a result of defects in

 material or workmanship, and are brought to the attention of an authorized Volvo

 retailer by an owner, will be performed by an authorized Volvo retailer only at no

 charge during the warranty period.”

       842. According to Volvo, the NVLW coverage is for “4 years/50,000

 miles[.]”

       843. Defendants VCNA and Volvo AB also provide a maintenance

 warranty, the Complimentary Factor Scheduled Maintenance Program (“Factory

 Maintenance Program”), which provides that all new vehicles will have “the first

 three (3) regularly scheduled maintenance services at 10,000, 20,000 and 30,000

 miles for the first three (3) years or up to 36,000 miles provided free of charge.”

       844. Defendants VCNA and Volvo AB’s NVLW, Factory Maintenance

 Program, and other warranties regarding the Class Vehicles formed a basis of the

 bargain that was breached when South Carolina Plaintiffs and members of the South

 Carolina Sub-Class purchased or leased the Class Vehicles with the defective engine

 and/or related components.

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       845. South Carolina Plaintiffs and members of the South Carolina Sub-Class

 experienced defects within the warranty period. Despite the existence of the NVLW,

 Defendants VCNA and Volvo AB failed to inform South Carolina Plaintiffs and

 members of the South Carolina Sub-Class that the Class Vehicles were equipped

 with defective engines and related components. When providing repairs under the

 express warranty, these repairs were ineffective and incomplete and did not provide

 a permanent repair for the Defect.

       846. Defendants VCNA and Volvo AB breached the express warranty

 through the acts and omissions described above, including by promising to repair or

 adjust defects in materials or workmanship of any part supplied by Volvo and then

 failing to do so. Defendants VCNA and Volvo AB have not repaired or adjusted,

 and have been unable to repair or adjust, the Class Vehicles materials and

 workmanship defects.

       847. South Carolina Plaintiffs and members of the South Carolina Sub-Class

 have had sufficient direct dealings with either Defendants VCNA and Volvo AB or

 their agents (i.e., dealerships and technical support) to establish privity of contract

 between Defendants VCNA and Volvo AB, on one hand, and South Carolina

 Plaintiffs and each member of the South Carolina Sub-Class on the other hand.

 Nonetheless, privity is not required here because South Carolina Plaintiffs and

 members of the South Carolina Sub-Class are intended third-party beneficiaries of

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 contracts between Defendants VCNA and Volvo AB and their distributors and

 dealers, and specifically, of Defendants VCNA and Volvo AB’s express warranties,

 including the NVLW, the Powertrain Warranties, and any warranties provided with

 certified pre-owned vehicles. The dealers were not intended to be the ultimate

 consumers of the Class Vehicles and have rights under the warranty agreements

 provided with the Class Vehicles; the warranty agreements were designed for and

 intended to benefit the consumer only.

         848. Any attempt by Defendants VCNA and Volvo AB to disclaim or limit

 recovery to the terms of the express warranty is unconscionable and unenforceable

 here.    Specifically, the warranty limitation is unenforceable because Volvo

 knowingly sold or leased defective products without informing consumers about the

 Defect. The time limits are unconscionable and inadequate to protect South Carolina

 Plaintiffs and the members of the South Carolina Sub-Class. Among other things,

 South Carolina Plaintiffs and members of the South Carolina Sub-Class did not

 determine these time limitations and/or did not know of other limitations not

 appearing in the text of the warranties, the terms of which were drafted by

 Defendants VCNA and Volvo AB and unreasonable favored Defendants VCNA and

 Volvo AB. A gross disparity in bargaining power and knowledge of the extent,

 severity, and safety risk of the Defect existed between Defendants VCNA and Volvo

 AB and members of the South Carolina Sub-Class.

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       849. Further, the limited warranty promising to repair and/or correct a

 manufacturing or workmanship defect fails of its essential purpose because the

 contractual remedy is insufficient to make South Carolina Plaintiffs and the

 members of the South Carolina Sub-Class whole, because Defendants VCNA and

 Volvo AB have failed and/or have refused to adequately provide the promised

 remedies, i.e., a permanent repair, within a reasonable time.

       850. South Carolina Plaintiffs was not required to notify Defendants VCNA

 and Volvo AB of the breach because affording Defendants VCNA and Volvo AB a

 reasonable opportunity to cure their breach of written warranty would have been

 futile. Defendants VCNA and Volvo AB were also on notice of the Defect from the

 complaints and service requests it received from Class Members, including those

 formal complaints submitted to NHTSA, and through other internal sources.

       851. Nonetheless, South Carolina Plaintiffs and members of the South

 Carolina Sub-Class provided notice to Defendants VCNA and Volvo AB of the

 breach of express warranties when they took their vehicles to Volvo-authorized

 providers of warranty repairs. South Carolina Plaintiffs also provided notice to

 Defendants VCNA and Volvo AB of their breach of express warranty by letter dated

 March 9, 2022.

       852. As a result of Defendants VCNA and Volvo AB’s breach of the

 applicable express warranties, owners and/or lessees of the Class Vehicles suffered,

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 and continue to suffer, an ascertainable loss of money, property, and/or value of their

 Class Vehicles.

       853. As a direct and proximate result of Defendants VCNA and Volvo AB’s

 breach of express warranties, South Carolina Plaintiffs and members of the South

 Carolina Sub-Class have been damaged in an amount to be determined at trial.

       854. As a result of Defendants VCNA and Volvo AB’s breach of the express

 warranty, South Carolina Plaintiffs and South Carolina Sub-Class Members are

 entitled to legal and equitable relief against Volvo, including actual damages,

 specific performance, attorney’s fees, costs of suit, and other relief as appropriate.


                                COUNT XXIX
             Breach of The Implied Warranty of Merchantability
                S.C. CODE ANN. § §§ 36-2-314 and 36-2A-212
       (On Behalf of the South Carolina Sub-Class against all Defendants)
       855. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 above as if fully set forth herein.

       856. South Carolina Plaintiffs bring this count on behalf of themselves and

 the South Carolina Sub-Class against all Defendants.

       857. Volvo is and was at all relevant times a “merchant” with respect to

 motor vehicles under S.C. Code Ann. § §§ 36-2-104(1) and 36-2A-103(1)(t), and a

 “seller” of motor vehicles under § 36-2-103(1)(d).

       858. With respect to leases, Volvo is and was at all relevant times a “lessor”

 of motor vehicles under S.C. Code Ann. § § 36-2A-103(1)(p).

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       859. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of S.C. Code Ann. § §§ 36-2-105(1) and 36-2A-103(1)(h).

       860. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under S.C.

 Code Ann. §§ 36-2-314 and 36-2A-212.

       861. Volvo knew or had reason to know of the specific use for which the

 Class Vehicles were purchased or leased. Volvo directly sold and marketed Class

 Vehicles to customers through authorized dealers, like those from whom South

 Carolina Plaintiffs and members of the South Carolina Sub-Class bought or leased

 their vehicles, for the intended purpose of consumers purchasing the vehicles. Volvo

 knew that the Class Vehicles would and did pass unchanged from the authorized

 dealers to South Carolina Plaintiffs and members of the South Carolina Sub-Class,

 with no modification to the defective Class Vehicles.

       862. Volvo provided South Carolina Plaintiffs and members of the South

 Carolina Sub-Class with an implied warranty that the Class Vehicles and their

 components and parts are merchantable and fit for the ordinary purposes for which

 they were sold. However, the Class Vehicles are not fit for their ordinary purpose

 of providing reasonably reliable and safe transportation because, inter alia, the Class

 Vehicles and their engine suffered from an inherent defect at the time of sale and




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 thereafter and are not fit for their particular purpose of providing safe and reliable

 transportation.

       863. This implied warranty included, among other things: (i) a warranty that

 the Class Vehicles that were manufactured, supplied, distributed, and/or sold by

 Volvo were safe and reliable for providing transportation; and (ii) a warranty that

 the Class Vehicles would be fit for their intended use while the Class Vehicles were

 being operated.

       864. Contrary to the applicable implied warranties, the Class Vehicles at the

 time of sale and thereafter were not fit for their ordinary and intended purpose of

 providing Plaintiffs and Class Members with reliable, durable, and safe

 transportation. Instead, the Class Vehicles were and are defective at the time of sale

 or lease and thereafter as more fully described above. Volvo knew of this defect at

 the time these sale or lease transactions occurred.

       865. As a result of Volvo’s breach of the applicable implied warranties,

 South Carolina Plaintiffs and members of the South Carolina Sub-Class suffered an

 ascertainable loss of money, property, and/or value of their Class Vehicles.

 Additionally, as a result of the Defect, South Carolina Plaintiffs and members of the

 South Carolina Sub-Class were harmed and suffered actual damages in that the Class

 Vehicles are substantially certain to fail before their expected useful life has run.




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       866. Volvo’s actions, as complained of herein, breached the implied

 warranty that the Class Vehicles were of merchantable quality and fit for such use

 in violation of the Uniform Commercial Code and relevant state law.

       867. South Carolina Plaintiffs and members of the South Carolina Sub-Class

 have complied with all obligations under the warranty, or otherwise have been

 excused from performance of said obligations as a result of Volvo’s conduct

 described herein.

       868. South Carolina Plaintiffs and members of the South Carolina Sub-Class

 have had sufficient direct dealings with either Volvo or its agents (i.e., dealerships

 and technical support) to establish privity of contract between Volvo, on one hand,

 and South Carolina Plaintiffs and members of the South Carolina Sub-Class on the

 other hand. Nonetheless, privity is not required here because South Carolina

 Plaintiffs and members of the South Carolina Sub-Class are intended third-party

 beneficiaries of contracts between Volvo and its distributors and dealers, and

 specifically, of Volvo’s express warranties, including the NVLW, the Powertrain

 Warranties, and any warranties provided with certified pre-owned vehicles. The

 dealers were not intended to be the ultimate consumers of the Class Vehicles and

 have rights under the warranty agreements provided with the Class Vehicles; the

 warranty agreements were designed for and intended to benefit the consumer only.




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       869. South Carolina Plaintiffs and members of the South Carolina Sub-Class

 were not required to notify Volvo of the breach because affording Volvo a

 reasonable opportunity to cure its breach of warranty would have been futile. Volvo

 was also on notice of the Defect from the complaints and service requests it received

 from South Carolina Plaintiffs and the Class Members and through other internal

 sources.

       870. Nonetheless, South Carolina Plaintiffs and members of the South

 Carolina Sub-Class provided notice to Volvo of the breach of express warranties

 when they took their vehicles to Volvo-authorized provider of warranty repairs.

 South Carolina Plaintiffs also provided notice to Volvo of its breach of express

 warranty by letter dated March 9, 2022.

       871. As a direct and proximate cause of Volvo’s breach, South Carolina

 Plaintiffs and members of the South Carolina Sub-Class suffered damages and

 continue to suffer damages, including economic damages at the point of sale or lease

 and diminution of value of their Class Vehicles. Additionally, South Carolina

 Plaintiffs and members of the South Carolina Sub-Class have incurred or will incur

 economic damages at the point of repair in the form of the cost of repair as well as

 additional losses.




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       872. As a direct and proximate result of Volvo’s breach of the implied

 warranty of merchantability, South Carolina Plaintiffs and members of the South

 Carolina Sub-Class have been damaged in an amount to be proven at trial.


                                  COUNT XXX
           Violation of the South Carolina Unfair Trade Practices Act
                       S.C. CODE ANN. § 39-5-10, et seq.
       (On Behalf of the South Carolina Sub-Class against all Defendants)
       873. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 above as if fully set forth herein.

       874. South Carolina Plaintiffs bring this cause of action on behalf of

 themselves and on behalf of the members of the South Carolina Sub-Class against

 all Defendants.

       875. Volvo is a “person” under S.C. Code Ann. § 39-5-10.

       876. The South Carolina Unfair Trade Practices Act (“South Carolina

 UTPA”) prohibits “unfair or deceptive acts or practices in the conduct of any trade

 or commerce.” S.C. Code Ann. § § 39-5-20(a). Volvo engaged in unlawful trade

 practices, and unfair or deceptive acts or practices that violated the South Carolina

 UTPA.

       877. Volvo participated in unfair or deceptive trade practices that violated

 the South Carolina UTPA.         As described below and alleged throughout the

 Complaint, by failing to disclose the Defect, by concealing the Defect, by marketing

 its vehicles as safe, reliable, well-engineered, and of high quality, and by presenting

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 itself as a reputable manufacturer that valued safety, performance and reliability, and

 stood behind its vehicles after they were sold, Volvo knowingly and intentionally

 misrepresented and omitted material facts in connection with the sale or lease of the

 Class Vehicles. Volvo systematically misrepresented, concealed, suppressed, or

 omitted material facts relating to the Class Vehicles and the Defect in the course of

 its business.

       878. Volvo also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

 suppression, or omission of any material fact with intent that others rely upon such

 concealment, suppression, or omission, in connection with the sale of the Class

 Vehicles.

       879. Volvo’s unfair and deceptive acts or practices occurred repeatedly in

 Volvo’s trade or business, were capable of deceiving a substantial portion of the

 purchasing public and imposed a serious safety risk on the public.

       880. Volvo knew that the Class Vehicles suffered from an inherent defect,

 were defectively designed and/or manufactured, and were not suitable for their

 intended use.

       881. Volvo knew or should have known that its conduct violated the South

 Carolina UTPA.




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       882. Volvo was under a duty to South Carolina Plaintiffs and the South

 Carolina Sub-Class Members to disclose the defective nature of the Class Vehicles

 because:

              (a)   Volvo was in a superior position to know the true state of facts
                    about the safety defect in the Class Vehicles;

              (b)   Volvo made partial disclosures about the quality of the Class

                    Vehicles without revealing the defective nature of the Class
                    Vehicles; and

              (c)   Volvo actively concealed the defective nature of the Class

                    Vehicles from South Carolina Plaintiffs and the South Carolina

                    Sub-Class Members at the time of sale and thereafter.

       883.   By failing to disclose the Defect, Volvo knowingly and intentionally

 concealed material facts and breached its duty not to do so.

       884. The facts concealed or not disclosed by Volvo to South Carolina

 Plaintiffs and the South Carolina Sub-Class Members are material because a

 reasonable person would have considered them to be important in deciding whether

 or not to purchase or lease Volvo’s Class Vehicles, or to pay less for them. Whether

 an engine installed in a vehicle will exhibit excessive oil consumption causing

 sudden shut off, premature engine wear, damage, and failure, is a material safety

 concern. Had South Carolina Plaintiffs and the South Carolina Sub-Class Members



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 known that the Class Vehicles suffered from the Defect described herein, they would

 not have purchased or leased the Class Vehicles or would have paid less for them.

       885. South Carolina Plaintiffs and the South Carolina Sub-Class Members

 are reasonable consumers who do not expect that their vehicles will suffer from the

 Defect. That is the reasonable and objective consumer expectation for vehicles.

       886. As a result of Volvo’s misconduct, South Carolina Plaintiffs and the

 South Carolina Sub-Class Members have been harmed and have suffered actual

 damages in that the Class Vehicles are defective and require repairs or replacement.

       887. As a direct and proximate result of Volvo’s unfair or deceptive acts or

 practices, South Carolina Plaintiffs and the South Carolina Sub-Class Members have

 suffered and will continue to suffer actual damages.

       888. Volvo’s violations present a continuing risk to South Carolina Plaintiffs

 and the South Carolina Sub-Class Members as well as to the general public. Volvo’s

 unlawful acts and practices complained of herein affect the public interest.

       889. South Carolina Plaintiffs provided notice of their claims, by letter dated

 March 9, 2022.

       890. Pursuant to S.C. Code Ann. § 39-5-140(a), South Carolina Plaintiffs

 and the South Carolina Sub-Class Members seek monetary relief against Volvo to

 recover for economic losses, reasonable attorney’s fees and costs. Because Volvo’s

 actions were willful and knowing, damages should be trebled.

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       891. South Carolina Plaintiffs and the South Carolina Sub-Class Members

 further allege that Volvo’s malicious and deliberate conduct warrants an assessment

 of punitive damages because Volvo carried out despicable conduct with willful and

 conscious disregard of the rights and safety of others, subjecting Plaintiffs and the

 Class to cruel and unjust hardship as a result.


 Claims on Behalf of the Texas Sub-Class
                                 COUNT XXXI
                          Breach of Express Warranty
                  Tex. Bus. & Com. Code §§ 2.313 AND 2A.210
   (On Behalf of the Texas Sub-Class against Defendants VCNA and Volvo AB)
       892.    Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 above as if fully set forth herein.

       893. Plaintiffs Eric and Mariela Kotoun and Robert and Toni Tubbe (“Texas

 Plaintiffs”) bring this count on behalf of themselves and the Texas Sub-Class against

 Defendants VCNA and Volvo AB.

       894. Defendants VCNA and Volvo AB are and were at all relevant times

 “merchants” with respect to motor vehicles under Texas Bus. & Com. Code §§

 2.104(1) and 2A.103(a)(20), and “sellers” of motor vehicles under § 2.103(a)(4).

       895. With respect to leases, Defendants VCNA and Volvo AB are and were

 at all relevant times “lessors” of motor vehicles under Texas Bus. & Com. Code §

 2A.103(a)(16).




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       896. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of Texas Bus. & Com. Code §§ 2.105(a) and 2A.103(a)(8).

       897. The engines were manufactured and/or installed in the Class Vehicles

 by Volvo and are covered by the express warranty.

       898. Defendants VCNA and Volvo AB provided all purchasers and lessees

 of the Class Vehicles with an express warranty described herein, which became a

 material part of the bargain. Accordingly, Defendants VCNA and Volvo AB’s

 express warranty is an express warranty under Texas state law.

       899. In a section entitled “Warranty Repairs,” Defendants VCNA and Volvo

 AB’s express warranty (or New Vehicle Limited Warranty (“NVLW”)) provides in

 relevant part that “[w]arranty repairs which are required as a result of defects in

 material or workmanship, and are brought to the attention of an authorized Volvo

 retailer by an owner, will be performed by an authorized Volvo retailer only at no

 charge during the warranty period.”

       900. According to Volvo, the NVLW coverage is for “4 years/50,000

 miles[.]”

       901. Defendants VCNA and Volvo AB also provide a maintenance

 warranty, the Complimentary Factor Scheduled Maintenance Program (“Factory

 Maintenance Program”), which provides that all new vehicles will have “the first




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 three (3) regularly scheduled maintenance services at 10,000, 20,000 and 30,000

 miles for the first three (3) years or up to 36,000 miles provided free of charge.”

       902. Defendants VCNA and Volvo AB’s NVLW, Factory Maintenance

 Program, and other warranties regarding the Class Vehicles formed a basis of the

 bargain that was breached when Texas Plaintiffs and members of the Texas Sub-

 Class purchased or leased the Class Vehicles with the defective engine and/or related

 components.

       903. Texas Plaintiffs and members of the Texas Sub-Class experienced

 defects within the warranty period. Despite the existence of the NVLW, Defendants

 VCNA and Volvo AB failed to inform Texas Plaintiffs and members of the Texas

 Sub-Class that the Class Vehicles were equipped with defective engines and related

 components. When providing repairs under the express warranty, these repairs were

 ineffective and incomplete and did not provide a permanent repair for the Defect.

       904. Defendants VCNA and Volvo AB breached the express warranty

 through the acts and omissions described above, including by promising to repair or

 adjust defects in materials or workmanship of any part supplied by Volvo and then

 failing to do so. Defendants VCNA and Volvo AB have not repaired or adjusted,

 and have been unable to repair or adjust, the Class Vehicles materials and

 workmanship defects.




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         905. Texas Plaintiffs and members of the Texas Sub-Class have had

 sufficient direct dealings with either Defendants VCNA and Volvo AB or their

 agents (i.e., dealerships and technical support) to establish privity of contract

 between Defendants VCNA and Volvo AB, on one hand, and Texas Plaintiffs and

 each member of the Texas Sub-Class on the other hand. Nonetheless, privity is not

 required here because Texas Plaintiffs and members of the Texas Sub-Class are

 intended third-party beneficiaries of contracts between Defendants VCNA and

 Volvo AB and their distributors and dealers, and specifically, of Defendants VCNA

 and Volvo AB’s express warranties, including the NVLW, the Powertrain

 Warranties, and any warranties provided with certified pre-owned vehicles. The

 dealers were not intended to be the ultimate consumers of the Class Vehicles and

 have rights under the warranty agreements provided with the Class Vehicles; the

 warranty agreements were designed for and intended to benefit the consumer only.

         906. Any attempt by Defendants VCNA and Volvo AB to disclaim or limit

 recovery to the terms of the express warranty is unconscionable and unenforceable

 here.     Specifically, the warranty limitation is unenforceable because Volvo

 knowingly sold or leased defective products without informing consumers about the

 Defect.    The time limits are unconscionable and inadequate to protect Texas

 Plaintiffs and the members of the Texas Sub-Class. Among other things, Texas

 Plaintiffs and members of the Texas Sub-Class did not determine these time

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 limitations and/or did not know of other limitations not appearing in the text of the

 warranties, the terms of which were drafted by Defendants VCNA and Volvo AB

 and unreasonable favored Defendants VCNA and Volvo AB. A gross disparity in

 bargaining power and knowledge of the extent, severity, and safety risk of the Defect

 existed between Defendants VCNA and Volvo AB and members of the Texas Sub-

 Class.

          907. Further, the limited warranty promising to repair and/or correct a

 manufacturing or workmanship defect fails of its essential purpose because the

 contractual remedy is insufficient to make Texas Plaintiffs and the members of the

 Texas Sub-Class whole, because Defendants VCNA and Volvo AB have failed

 and/or have refused to adequately provide the promised remedies, i.e., a permanent

 repair, within a reasonable time.

          908. Texas Plaintiffs was not required to notify Defendants VCNA and

 Volvo AB of the breach because affording Defendants VCNA and Volvo AB a

 reasonable opportunity to cure their breach of written warranty would have been

 futile. Defendants VCNA and Volvo AB were also on notice of the Defect from the

 complaints and service requests it received from Class Members, including those

 formal complaints submitted to NHTSA, and through other internal sources.

          909. Nonetheless, Texas Plaintiffs and members of the Texas Sub-Class

 provided notice to Defendants VCNA and Volvo AB of the breach of express

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 warranties when they took their vehicles to Volvo-authorized providers of warranty

 repairs. Texas Plaintiffs also provided notice to Defendants VCNA and Volvo AB

 of their breach of express warranty by letters dated February 16, 2022 and March 2,

 2022.

         910. As a result of Defendants VCNA and Volvo AB’s breach of the

 applicable express warranties, owners and/or lessees of the Class Vehicles suffered,

 and continue to suffer, an ascertainable loss of money, property, and/or value of their

 Class Vehicles.

         911. As a direct and proximate result of Defendants VCNA and Volvo AB’s

 breach of express warranties, Texas Plaintiffs and members of the Texas Sub-Class

 have been damaged in an amount to be determined at trial.

         912. As a result of Defendants VCNA and Volvo AB’s breach of the express

 warranty, Texas Plaintiffs and Texas Sub-Class Members are entitled to legal and

 equitable relief against Volvo, including actual damages, specific performance,

 attorney’s fees, costs of suit, and other relief as appropriate.


                                  COUNT XXXII
               Breach of The Implied Warranty of Merchantability
                   Tex. Bus. & Com. Code §§ 2.314 and 2A.212
             (On Behalf of the Texas Sub-Class against all Defendants)
         913. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 above as if fully set forth herein.



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       914. Texas Plaintiffs brings this count on behalf of themselves and the Texas

 Sub-Class against all Defendants.

       915. Volvo is and was at all relevant times a “merchant” with respect to

 motor vehicles under Texas Bus. & Com. Code §§ 2.104(1) and 2A.103(a)(20), and

 a “seller” of motor vehicles under § 2.103(a)(4).

       916. With respect to leases, Volvo is and was at all relevant times a “lessor”

 of motor vehicles under Texas Bus. & Com. Code § 2A.103(a)(16).

       917. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of Texas Bus. & Com. Code §§ 2.105(a) and 2A.103(a)(8).

       918. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under

 Texas Bus. & Com. Code §§ 2.314 and 2A.212.

       919. Volvo knew or had reason to know of the specific use for which the

 Class Vehicles were purchased or leased. Volvo directly sold and marketed Class

 Vehicles to customers through authorized dealers, like those from whom Texas

 Plaintiffs and members of the Texas Sub-Class bought or leased their vehicles, for

 the intended purpose of consumers purchasing the vehicles. Volvo knew that the

 Class Vehicles would and did pass unchanged from the authorized dealers to Texas

 Plaintiffs and members of the Texas Sub-Class, with no modification to the defective

 Class Vehicles.

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       920. Volvo provided Texas Plaintiffs and members of the Texas Sub-Class

 with an implied warranty that the Class Vehicles and their components and parts are

 merchantable and fit for the ordinary purposes for which they were sold. However,

 the Class Vehicles are not fit for their ordinary purpose of providing reasonably

 reliable and safe transportation because, inter alia, the Class Vehicles and their

 engine suffered from an inherent defect at the time of sale and thereafter and are not

 fit for their particular purpose of providing safe and reliable transportation.

       921. This implied warranty included, among other things: (i) a warranty that

 the Class Vehicles that were manufactured, supplied, distributed, and/or sold by

 Volvo were safe and reliable for providing transportation; and (ii) a warranty that

 the Class Vehicles would be fit for their intended use while the Class Vehicles were

 being operated.

       922. Contrary to the applicable implied warranties, the Class Vehicles at the

 time of sale and thereafter were not fit for their ordinary and intended purpose of

 providing Plaintiffs and Class Members with reliable, durable, and safe

 transportation. Instead, the Class Vehicles were and are defective at the time of sale

 or lease and thereafter as more fully described above. Volvo knew of this defect at

 the time these sale or lease transactions occurred.

       923. As a result of Volvo’s breach of the applicable implied warranties,

 Texas Plaintiffs and members of the Texas Sub-Class suffered an ascertainable loss

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 of money, property, and/or value of their Class Vehicles. Additionally, as a result of

 the Defect, Texas Plaintiffs and members of the Texas Sub-Class were harmed and

 suffered actual damages in that the Class Vehicles are substantially certain to fail

 before their expected useful life has run.

       924. Volvo’s actions, as complained of herein, breached the implied

 warranty that the Class Vehicles were of merchantable quality and fit for such use

 in violation of the Uniform Commercial Code and relevant state law.

       925. Texas Plaintiffs and members of the Texas Sub-Class have complied

 with all obligations under the warranty, or otherwise have been excused from

 performance of said obligations as a result of Volvo’s conduct described herein.

       926. Texas Plaintiffs and members of the Texas Sub-Class have had

 sufficient direct dealings with either Volvo or its agents (i.e., dealerships and

 technical support) to establish privity of contract between Volvo, on one hand, and

 Texas Plaintiffs and members of the Texas Sub-Class on the other hand.

 Nonetheless, privity is not required here because Texas Plaintiffs and members of

 the Texas Sub-Class are intended third-party beneficiaries of contracts between

 Volvo and its distributors and dealers, and specifically, of Volvo’s express

 warranties, including the NVLW, the Powertrain Warranties, and any warranties

 provided with certified pre-owned vehicles. The dealers were not intended to be the

 ultimate consumers of the Class Vehicles and have rights under the warranty

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 agreements provided with the Class Vehicles; the warranty agreements were

 designed for and intended to benefit the consumer only.

       927. Texas Plaintiffs and members of the Texas Sub-Class were not required

 to notify Volvo of the breach because affording Volvo a reasonable opportunity to

 cure its breach of warranty would have been futile. Volvo was also on notice of the

 Defect from the complaints and service requests it received from Texas Plaintiffs

 and the Class Members and through other internal sources.

       928. Nonetheless, Texas Plaintiffs and members of the Texas Sub-Class

 provided notice to Volvo of the breach of express warranties when they took their

 vehicles to Volvo-authorized providers of warranty repairs. Texas Plaintiffs also

 provided notice to Volvo of its breach of express warranty by letters dated February

 16, 2022 and March 2, 2022.

       929. As a direct and proximate cause of Volvo’s breach, Texas Plaintiffs and

 members of the Texas Sub-Class suffered damages and continue to suffer damages,

 including economic damages at the point of sale or lease and diminution of value of

 their Class Vehicles. Additionally, Texas Plaintiffs and members of the Texas Sub-

 Class have incurred or will incur economic damages at the point of repair in the form

 of the cost of repair as well as additional losses.




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       930. As a direct and proximate result of Volvo’s breach of the implied

 warranty of merchantability, Texas Plaintiffs and members of the Texas Sub-Class

 have been damaged in an amount to be proven at trial.


                                    COUNT XXXIII
                Violations of the Texas Deceptive Trade Practices Act –
                               Consumer Protection Act,
                        Texas Bus. & Com. Code § 17.41, et seq.
               (On Behalf of the Texas Sub-Class against all Defendants)
       931. Plaintiffs repeat and re-allege each and every allegation contained in

 paragraphs 1 through 314 above as if fully set forth herein.

       932. Texas Plaintiffs bring this cause of action on behalf of themselves and

 on behalf of the members of the Texas Sub-Class against all Defendants.

       933. Volvo is a “person” as that term is defined in Tex. Bus. & Com. Code

 § 17.45(3).

       934. Texas Plaintiffs and the members of the Texas Sub-Class are

 individuals, partnerships, or corporations with assets of less than $25 million (or are

 controlled by corporations or entities with less than $25 million in assets), see Tex.

 Bus. & Com. Code § 17.41, and are therefore “consumers” pursuant to Tex. Bus. &

 Com. Code § 17.45(4).

       935. Volvo is engaged in “trade” or “commerce” or “consumer transactions”

 within the meaning Tex. Bus. & Com. Code § 17.46(a).




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       936. The Texas Deceptive Trade Practices – Consumer Protection Act

 (“Texas DTPA”) prohibits “false, misleading, or deceptive acts or practices in the

 conduct of any trade or commerce,” Tex. Bus. & Com. Code § 17.46(a), and an

 “unconscionable action or course of action,” which means “an act or practice which,

 to a consumer’s detriment, takes advantage of the lack of knowledge, ability,

 experience, or capacity of the consumer to a grossly unfair degree.” Tex. Bus. &

 Com. Code §§ 17.45(5) and 17.50(a)(3). Volvo engaged in unlawful trade practices,

 and unfair or deceptive acts or practices that violated the Texas DTPA.

       937. Volvo participated in unfair or deceptive trade practices that violated

 the Texas DTPA. As described below and alleged throughout the Complaint, by

 failing to disclose the Defect, by concealing the Defect, by marketing its vehicles as

 safe, reliable, well-engineered, and of high quality, and by presenting itself as a

 reputable manufacturer that valued safety, performance and reliability, and stood

 behind its vehicles after they were sold, Volvo knowingly and intentionally

 misrepresented and omitted material facts in connection with the sale or lease of the

 Class Vehicles. Volvo systematically misrepresented, concealed, suppressed, or

 omitted material facts relating to the Class Vehicles and the Defect in the course of

 its business.

       938. Volvo also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

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 suppression, or omission of any material fact with intent that others rely upon such

 concealment, suppression, or omission, in connection with the sale of the Class

 Vehicles.

       939. Volvo’s unfair and deceptive acts or practices occurred repeatedly in

 Volvo’s trade or business, were capable of deceiving a substantial portion of the

 purchasing public, and imposed a serious safety risk on the public.

       940. Volvo knew that the Class Vehicles suffered from an inherent defect,

 were defectively designed and/or manufactured, and were not suitable for their

 intended use.

       941. Volvo knew or should have known that its conduct violated the Texas

 DTPA.

       942. Volvo was under a duty to Texas Plaintiffs and the Texas Sub-Class

 Members to disclose the defective nature of the Class Vehicles because:

             a.     Volvo was in a superior position to know the true state of facts

                    about the safety defect in the Class Vehicles;

             b.     Volvo made partial disclosures about the quality of the Class

                    Vehicles without revealing the defective nature of the Class

                    Vehicles; and

             c.     Volvo actively concealed the defective nature of the Class

                    Vehicles from Texas Plaintiffs and the Texas Sub-Class

                    Members at the time of sale and thereafter.
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       943.   By failing to disclose the Defect, Volvo knowingly and intentionally

 concealed material facts and breached its duty not to do so.

       944. The facts concealed or not disclosed by Volvo to Texas Plaintiffs and

 the Texas Sub-Class Members are material because a reasonable person would have

 considered them to be important in deciding whether or not to purchase or lease

 Volvo’s Class Vehicles, or to pay less for them. Whether an engine installed in a

 vehicle will exhibit excessive oil consumption causing sudden shut off, premature

 engine wear, damage, and failure, is a material safety concern. Had Texas Plaintiffs

 and the Texas Sub-Class Members known that the Class Vehicles suffered from the

 Defect described herein, they would not have purchased or leased the Class Vehicles

 or would have paid less for them.

       945. Texas Plaintiffs and the Texas Sub-Class Members are reasonable

 consumers who do not expect that their vehicles will suffer from the Defect. That is

 the reasonable and objective consumer expectation for vehicles.

       946. As a result of Volvo’s misconduct, Texas Plaintiffs and the Texas Sub-

 Class Members have been harmed and have suffered actual damages in that the Class

 Vehicles are defective and require repairs or replacement.

       947. As a direct and proximate result of Volvo’s unfair or deceptive acts or

 practices, Texas Plaintiffs and the Texas Sub-Class Members have suffered and will

 continue to suffer actual damages.

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       948. Volvo’s violations present a continuing risk to Texas Plaintiffs and the

 Texas Sub-Class Members as well as to the general public. Volvo’s unlawful acts

 and practices complained of herein affect the public interest.

       949. Texas Plaintiffs provided notice of their claims by letters dated

 February 16, 2022 and March 2, 2022.

       950. Pursuant to Tex. Bus. & Com. Code § 17.50, Texas Plaintiffs and

 members of the Texas Sub-Class seek an order enjoining Volvo from engaging in

 unfair and/or deceptive acts or practices, damages, multiple damages for knowing

 and intentional violations, pursuant to § 17.50(b)(1), punitive damages, and

 attorneys’ fees, costs, and any other just and proper relief available under the Texas

 DTPA.


                               RELIEF REQUESTED
       951. Plaintiffs, on behalf of themselves and all others similarly situated,

 request the Court to enter judgment against Defendant, as follows:

       A. An order certifying the proposed Class and Sub-Classes, designating

          Plaintiffs as named representatives of the Class and Sub-Classes, and

          designating the undersigned as Class Counsel;

       B. A declaration that Defendants are financially responsible for notifying all

          Class Members about the defective nature of the Subject Engines,

          including the need for replacement of the piston rings, piston heads

          and/or other damaged engine components;

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       C. An order enjoining Defendants from further deceptive distribution, sales,

          and lease practices with respect to Class Vehicles; compelling

          Defendants to issue a voluntary recall for the Class Vehicles pursuant to

          49 U.S.C. § 30118(a); compelling Defendants to remove, repair, and/or
          replace the Class Vehicles’ defective Subject Engines and/or their

          components with suitable alternative product(s) that do not contain the

          defects alleged herein; enjoining Defendants from selling the Class
          Vehicles with the misleading information; and/or compelling Defendants

          to reform its warranty, in a manner deemed to be appropriate by the

          Court, to cover the injury alleged and to notify all Class Members that

          such warranty has been reformed;

       D. An award to Plaintiff and the Class for compensatory, exemplary, and

          statutory damages, including interest, in an amount to be proven at trial;
       E. Any and all remedies provided pursuant to the Magnuson-Moss Warranty

          Act;

       F. Any and all remedies provided pursuant their various state law claims;

       G. A declaration that Defendants must disgorge, for the benefit of the Class,

          all or part of the ill-gotten profits it received from the sale or lease of its

          Class Vehicles or make full restitution to Plaintiffs and Class Members;

       H. An award of attorneys’ fees and costs, as allowed by law;

       I. An award of pre-judgment and post-judgment interest, as provided by

          law;

       J. Leave to amend the Complaint to conform to the evidence produced at

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           trial; and
       K. Such other relief as may be appropriate under the circumstances.

                           DEMAND FOR JURY TRIAL
       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial
 by jury of all issues in this action so triable.
                                            Respectfully submitted,

                                         /s/Russell D. Paul
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